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           Exhibit 22
                                                                        FILED
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                                                                        MARYL. SWAIN
                                                                        BUTLER COUNTY
                                                                       CLERK OF COURTS
                          IN COMMON PLEAS COURT                        09/02/2021 03:56 PM
                            BUTLER COUNTY, OHIO                        CV 2021 08 1206


JULIE SMITH, as Guardian of                   )    CASE NO. CV 2021 08 1206
JEFFREY SMITH                                 )
                                              )    Judge Michael A. Oster, Jr.
         Plaintiff,                           )
                                              )
v.                                            )
                                              )
WEST CHESTER HOSPITAL, LLC                    )
                                              )
         Defendant.                           )

                      MEMORANDUM OF LAW
 IN OPPOSITION TO PLAINTIFF'S COMPLAINT FOR EMERGENCY MEDICAL
       DECLARATORY JUDGMENT AND EMERGENCY INJUNCTIVE
            RELIEF AND OBJECTION TO INJUNCTIVE RELIEF



          NOW COMES West Chester Hospital, by and through counsel, hereby requests the

Court deny the injunctive relief sought by Plaintiff, Julie Smith, in her August 26, 2021,

complaint seeking declaratory judgment and injunctive relief. Ohio law requires a

particularized process through which a party may seek and obtain injunctive relief in an

expedited manner. This process has not been followed by Plaintiff. Rather, Plaintiff has

improperly circumvented the process through which expedited injunctive relief can be

obtained, namely by failing to file a Motion for a Temporary Restraining Order ("TRO")

seeking injunctive relief. Irrespective of Plaintiff's procedural short-comings, West Chester

Hospital seeks to provide this Court with a response to Plaintiff's request of injunctive relief

and presumed, yet absent, motion for TRO, which has been scheduled for an evidentiary

hearing on Thursday, September 2, 2021, at 10:00 a.m. whereby this Court will determine the



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appropriateness of a preliminary injunction. In opposition to Plaintiffs requested injunctive

relief, West Chester Hospital states the following:

                                INTRODUCTION & BACKGROUND

          On August 26, 2021, Plaintiff filed her Complaint for Emergency Medical

Declaratory Judgment and Emergency Injunctive Relief seeking a declaratory judgment

from this Court forcing West Chester Hospital to administer Ivermectin to Jeffrey Smith,

Plaintiff's husband for which she is guardian of due to COVID-19 related illness and

disability.

          On July 22, 2021, Mr. Smith was admitted for treatment of a COVID-19 infection.

 Since July 24, 2021, West Chester Hospital has provided Intensive Care Unit medical

treatment to Mr. Smith, with Mr. Smith being on a ventilator since August 3, 2021. Mr.

 Smith was cleared of COVID-19 infection on or about August 10, 2021, and is presently

diagnosed with, among other things, acute hypoxic respiratory failure due to severe acute

respiratory distress syndrome.

          A Temporary Restraining Order ("TRO") was issued on August 26, 2021, directing

West Chester Hospital to provide Ivermectin pursuant to the prescription written by Dr. Fred

Wagshul. The TRO is set to expire on September 6, 2021, though a subsequent hearing for

preliminary injunction has been scheduled for September 2, 2021 at 10 a.m.

          Although Plaintiff has never filed a motion for TRO, an evidentiary hearing for the

Plaintiffs requested preliminary injunction has expeditiously been scheduled. Given the

timeline between the filing of Plaintiffs complaint and the scheduled hearing, West Chester

Hospital has promptly filed an answer in response to Plaintiff's allegations.



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                                          ARGUMENT

          In short, Plaintiffs request for preliminary injunctive relief disregards Ohio law,

medical guidance and scientific information, and the facts and circumstances smTounding Mr.

Smith's ongoing treatment at West Chester Hospital. Plaintiff's complaint seeking exceptional

and extraordinary injunctive relief has improperly circumscribed the proper procedure for such

a matter, limiting West Chester Hospital's ability to respond to Plaintiffs complaint and inform

the Court of the realities of the instant matter. Further, Plaintiff relies on hearsay news articles

in the form of assertions and limited studies purporting the efficacy and benefits of Ivermectin,

while innumerable public health bodies, government agencies, and medical science generally

provides directly contradictory guidance to not use Ivermectin for the treatment of COVID-19

or the resulting acute respiratory distress syndrome ("ARDS") continuing once the infection

has ceased. Finally, Plaintiff's requested administration of Ivermectin to treat post-infection

ARDS is contraindicative to the facts and circumstances of Mr. Smith's present status and the

medical expertise of his treating physicians at West Chester Hospital and may result in severe

detrimental harm to his medical condition.

I.       Preliminary Injunction Standard.

         In general, "[t]he purpose of a preliminary injunction is to preserve a status between

the parties pending a trial on the merits." Procter & Gamble Co. v. Stoneham (2000), 140

Ohio App.3d 260, 267, 747 N.E.2d 268. "The right to an injunction must be clear and the

proof thereof clear and convincing, and the right established by the strength of plaintiffs' own

case rather than by any weakness of that of his adversary." White v. Long (1967), 12 Ohio

App.2d 136, 140, 41 O.O.2d 200, 231 N.E.2d 337. In considering a preliminary injunction,



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the court considers whether "(1) the movant has shown a strong or substantial likelihood or

probability of success on the merits, (2) the movant has shown irreparable injury, (3)

the preliminary injunction could harm third parties, and (4) the public interest would be

served by issuing the preliminary injunction." Union Twp. v. Union Twp. Professional

Firefighters' Local 3412 (Feb. 14, 2000), Clermont App. No. CA99-08-082, 2000 WL

189959.

         As the Twelfth District Court of Appeals has stated, "[a] preliminary injunction is a

provisional remedy, which is defined as a 'remedy other than a claim for relief.' " N. Fairfield

Baptist Church v. Gl29, L.L.C., Butler App. No. CA2009-11-281, 2010-Ohio-2543, 2010

WL 2252490,, 16, citing R.C. 2505.02(A)(3); State ex rel. Butler Cty. Children Servs. Bd. v.

Sage (2002), 95 Ohio St.3d 23, 24, 764 N.E.2d 1027.

II.      Plaintiff Failed to Follow the Ohio Rules of Civil Procedure for the Requested
         Extraordinary Relief of a Temporary Restraining Order and Injunction.

         The improper and expeditious route by which Plaintiff has managed to obtain a TRO

and evidentiary hearing for injunctive relief runs roughshod over West Chester Hospital's

due process rights under the Ohio Rules of Civil Procedure. Plaintiff filed this action on a

Friday afternoon, but did not notify undersigned counsel for West Chester Hospital until

approximately thirty minutes before this Court held a hearing on the requested relief the

following Monday. No copy of the complaint was provided - formally or informally - to

West Chester Hospital until its counsel arrived at the Monday afternoon hearing. As the

docket reflects, the clerk of courts issued its summons the same day the Judgment Entry was

filed.   This lack of notice was no doubt an effort at gamesmanship, meant to provide a

strategic litigation advantage, given that Plaintiff's counsel and West Chester Hospital's


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counsel both appeared at a hearing where Mrs. Smith's petition for guardianship was heard in

the Butler County Probate Court, case no. PG21-08-0129. The Plaintiff filed this action

shortly thereafter, yet did not alert counsel for West Chester Hospital until minutes before the

August 23, 2021 hearing took place.

         Rule 65 allows a court to issue a TRO without notice only under limited and specific

circumstances: "A temporary restraining order may be granted without written or oral notice

to the adverse party or his attorney only if ... the applicant's attorney certifies to the court in

writing the efforts, if any, which have been made to give notice and the reasons supporting his

claim that notice should not be required." Civ.R. 65(A) (emphasis added). The plaintiff's

attorney failed to do any of that here.       Despite that, the trial court issued a temporary

restraining order without any meaningful notice to the hospital. This court should reverse the

temporary restraining order couched in the Judgment Entry of August 23, 2021.

         As the Supreme Court of Ohio has observed: the "'elementary and fundamental

requirement"' of due process "'in any proceeding ... is notice reasonably calculated, under

all the circumstances, to apprise interested parties of the pendency of the action and afford

them an opportunity to present their objections."' Ohio Valley Radiology Associates, Inc. v.

Ohio Valley Hosp. Ass 'n, 28 Ohio St. 3d 118, 124-25, 502 N.E.2d 599 (I 986) (quoting

Mullane v. Central Hanover Bank & Trust Co. 339 U.S. 306, 314, 70 S.Ct. 652, 94 L.Ed. 865

(1950)). The lack of notice-and the plaintiff's failure to explain why none was given or why

Rule 65 was not otherwise obeyed-deprived West Chester Hospital of even the minimal

process it was due under Ohio and federal law.




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         Rule 65's plain language provides mandatory requirements, not merely suggestions for

notice. N. Elec. Co. v. United Steelworkers of America, 28 Ohio App.2d 253, 259, 277

N.E.2d 59 (3d Dist.1971) ("We conclude that [the requirements of Rule 65(A)] are

mandatory. To hold otherwise would give little meaning to the requirements that a temporary

restraining order granted without notice must define the injury and state why it is irreparable

and why the order was granted without notice.") (holding trial court erred in issuing

injunction that failed to comply with rule's requirements regarding harm, irreparability, and

notice). The Judgment Entry merely reiterated the plaintiff's demand for judgment and an

order, the appearances of counsel for the parties, and ordered the hospital to administer the

plaintiff's requested medication. It did none of the things Ohio law requires, such as explain

why relief was granted without notice or why notice could not be provided. The Judgment

Entry also failed to define the injury that would occur in its absence or explain why it was

irreparable. In light of these deficiencies, the Judgment Entry of August 23, 2021 should be

reversed.

III.     Temporary restraining order should only preserve the status quo, not compel
         affirmative relief.

         The trial court's order is also improper because it grants affirmative relief-in effect,

it entered a judgment that accomplished the plaintiff's ultimate demand on mere minutes'

notice to the opposing party and after a half-hour hearing. But "[p ]arties should rarely be able

to obtain ex parte affirmative relief to accomplish the final object of their position in a

dispute." Deluca v. BankOhio Nat'! Bank, Inc., 74 Ohio App.3d 233, 243, 598 N.E.2d 781

(10th Dist.1991). The type of near-total relief the trial court ordered here is not within the

province of Rule 65. As Deluca further observed, "the nature of Civ.R. 65(A) temporary


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injunctive relief is to preserve the status quo ante," and so "is truly extraordinary and should

be awarded only with the very greatest caution." Deluca v. BankOhio Nat'! Bank, Inc., 74

Ohio App.3d 233, 598 N.E.2d 781 (10th Dist. 1991); see also CSIRW Westlake Indoor

Storage, L.L.C. v. Russo, 2016-Ohio-2845, 64 N.E.3d 396, , 23 (8th Dist.) (citing Gries

Sports Ents., Inc. v. Cleveland Browns Football Co., 26 Ohio St.3d 15, 496 N.E.2d 959

(1986)) ("A court issues a temporary injunction when it is necessary to preserve the status quo

of the case to prevent any actions of the parties from making null and unenforceable a final

judgment.") The order here did not simply preserve the status quo. Rather, it ordered West

Chester Hospital to undertake new, affirmative action at the request of Mr. Smith's wife and

purported new doctor, and contrary to the clinical judgment of his current medical team.

Even acknowledging for Mr. Smith's dire condition, Ohio law and procedure do not

contemplate awarding the sort of complete relief and final judgment incorporated by the

court's temporary restraining order, particularly absent the notice and process required by the

Civil Rules. For this additional reason, the Judgment Entry should be reversed.

IV.      Plaintifrs Assertions Regarding the Efficacy and Dangers of lvermectin
         Disregard Guidance Provided by Public Health Bodies and the Broader Scientific
         Community

          The mandatory injunctive relief requested by Plaintiff from this Court rejects the

reality of science and the medical community's current understanding of acceptable uses for

Ivermectin. There is no doubt that the consensus of the medical science community in this

country, and others, is that Ivermectin is neither safe nor effective to treat COVID-19

infections, let alone the resulting damage once a COVID-19 infection is cleared.




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          Governmental Health Bodies Oppose the Use of Ivermectin for COVID-19
          Treatment

          Governmental health bodies across this country and around the world have provided

clear and explicit guidance against the use Ivermectin for COVID-19 related treatment. Nearly

the same day that Plaintiff filed her complaint, the federal authorities in the Food and Drug

Administration ("FDA") announced: "You are not a horse. You are not a cow. Using the drug

Ivermectin to treat COVID-19 can be dangerous and even lethal." See FDA Tweet attached

hereto as Exhibit "A".

          The FDA has been forced to provide recurnng guidance against the use of

Ivermectin to prevent or treat COVID-19. On April 10, 2021, the FDA issued an FDA Letter

to Stakeholders: Do Not Use Ivermectin Intended for Animals as Treatment for COVID-19

in Humans. This letter was one of the FDAs first attempts to address the vast amount of

misinformation surrounding the medical administration of Ivermectin for COVID-19, which

includes a research article relied upon by Plaintiffs experts. This FDA Letter is attached

hereto as Exhibit B.

          Then on August 6, 2021, the FDA provided a frequently asked question ("FAQ")

section in response to irregular usage of Ivermectin. A copy of the FDA FAQ: COVID-19 and

Ivermectin Intended for Animals is attached hereto as Exhibit C. Within this FAQ the FDA

states: (1) "[w]hile there are approved uses for Ivern1ectin in people and animals, it is not

approved for the prevention or treatment of COVID-19"; (2) "[i]vermectin tablets are approved

for use in humans for the treatment of some parasitic worms (intestinal strongyloidiasis and

onchocerciasis) and Ivermectin topical formulations are approved for human use by

prescription only for the treatment of external parasites such as headlice and for skin conditions


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such as rosacea"; (3) "[a]ny use of Ivermectin for the prevention or treatment of COVID-19

should be avoided as its benefits and safety for these purposes have not been established"; and

(4), important to the instant matter, "[l]aboratory test abnormalities include decrease in white

cell count and elevated liver tests". Id. (emphasis added). Also on August 21, 2021, the FDA

distributed additional guidance via Twitter reiterating the information its previously provided.

Within its publication, the FDA states that Ivermectin is not approved for use in treating or

preventing COVID-19 and warned Ivermectin can negatively interact with other

medications, like blood-thinners.

          The CDC and National Institute of Health, a part of the U.S. Department of Health and

Human Services, have also issued guidance in opposition to any use of Ivermectin for

COVID-19 treatment. See CDC Health Alert, Rapid Increase in Ivermectin Prescriptions and

Reports of Severe Illness Associated with use of Product Containing lvermectin to Prevent or

 Treat COVID-19 (Aug. 26, 2021); NIH Publication, Antiviral Drugs That Are Approved or

 Under Evaluation for the Treatment of COVID-19 (last updated Jul. 8, 2021); copies of each

are attached hereto as Exhibits D & E. This guidance opposing the use of Ive1mectin

generally conforms with the guidance issued by the European Medicines Agency, the agency

of the European Union in charge of the evaluation and supervision of medicinal products, and

the World Health Organization regarding the use of Ivermectin for the prevention or treatment

of COVID-19. See generally, European Medicines Agency Publication, EMA advises against

the use of Ivermectin for the prevention or treatment or COVID-19 outside randomized

clinical trials (March 22, 2021 ); World Health Organization, Living Guideline: Therapeutics

and COVID-19, (July 6, 2021), copies of which are attached hereto as Exhibits F & G



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respectively.

          This immense volume of public health guidance against the use of Ivermectin for the

prevention and treatment of COVID-19 is consistent with the drug's FDA label describing its

pharmacology and approved uses, attached hereto as Exhibit H. Additionally, Merck & Co.,

Inc., the initial patent holder for Ivermectin under the brand name STROMECTOL, has

provided additional guidance reaffirming the proper use of Ivermectin and cautioning that

 "[n]o scientific basis for a potential therapeutic effect against COVID-19 from pre-clinical

studies; [n Jo meaningful evidence for clinical activity or clinical efficacy in patients with

COVID-19 disease, and; [a] concerning lack of safety data in the majority of studies

 [supporting the use of Ivermectin for the treatment of COVID-19]." See Merck Statement on

Ivermectin use During the COVID-19 Pandemic (Feb. 4, 2021), attached hereto as Exhibit

I.

V.       Plaintifrs Cited Studies Fail to Show the Efficacy of Ivermectin.

          Finally, in contradiction to the voluminous guidance provided by public health

authorities, the hearsay-laden studies and articles relied upon by Plaintiff are less than

definitive and often limited to the laboratory setting. This past summer, the National Institute of

Health ("NIH"), the United States agency responsible for medical research, examined many if

not all of the studies relied upon by the Front Line COVID-19 Critical Care Alliance and

Plaintiff ("FLCCC"). Through a detailed process, the NIH examined each study's design,

methods, and results, issuing a statement on the limitations and interpretation of each. Again

and again, the NIH found that: (1) the tested Ivermectin treatment "did not improve time to

resolution"; (2) "the clinical efficacy of [Ivermectin] is unknown"; (3) "no reduction in



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mortality was observed"; (4) "[Ivermectin] did not reduce risk of oxygen requirement, ICU

admission, invasive mechanical ventilation, or death in hospitalized patients"; (5) "[Ivermectin]

showed no effect on symptom resolution"; (6) "[Ivermectin] did not lead to faster recovery";

and (7) "no difference in viral clearance compared to those who received placebo", amongst

interpretations. See NIH Ivermectin Clinical Data - COVID-19 Treatment Guidelines (Jul. 19,

2021), attached hereto as Exhibit J. The NIH was unable to verify the efficacy of Ivermectin

for the treatment of COVID-19 related conditions, firmly contradicting the outlandish

assertions advanced by the FLCCC. A private review of many of the same studies touted by

FLCCC and Plaintiff came to the same conclusion, namely that it is uncertain whether

Ivermectin is safe or effective to use to prevent or treat COVID-19. See Popp, M, Stegemann,

M, Metzendm:f; M-1, Gould, S., Kranke, P., Meybohm, P., Skoetz, N, Weibel, S., Ivermectinfor

preventing and treating COVID-19, Cochrane Database of Systematic Reviews 2021, Issue

7. Art. No.: CD015017, attached hereto as Exhibit K.

          Beyond third-party disproval of Ivermectin treatment for COVID-19, studies that

have been previously relied upon by Plaintiff have either been retracted or called into

question by their own authors. Plaintiff's counsel has previously referenced the findings of

Dr. Andrew Hill in support of the administration of Ivermectin. However, Dr. Hill, as

recently as August 16, 2021, has expressed concern regarding the study, Meta-Analysis of

Randomized Trials of Ivermectin to Treat SARS-Co V-3 Infection, that he along with others

authored. Specifically, on August 16, Dr. Hill publicly retracted his study and tweeted that

 "[ o]ur meta-analysis of survival for Ivermectin had to be retracted after one of the main

studies was suspected of medical fraud." See Tweet of Dr. Andrew Hill (Aug. 16, 2021);



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Expression of Concern: "Meta-analysis of Randomized Trials of Ivermectin to Treat SARS-

 Co V-2 Infection", published Jul 6, 2021, copies of which are attached as Exhibits L & M.

Due to this, Dr. Hill concluded that "there is no statistically significant survival benefit for

Ivermectin. So, the original version should not be quoted." Id. Dr. Hill's retracted study is

included in Exhibit L to Plaintiff's complaint. This is precisely the same body of literature

and studies that Plaintiff currently relies on. A study by Ahmed Elgazzar, also referenced

within materials previously relied upon by Plaintiff, was withdrawn due to duplication of

patient records, inconsistencies in raw data, and records indicating that some participating

patients died before the study began. See Flawed Ivermectin preprint highlights challenges of

 COVID drug studies, Nature Portfolio (Aug. 2, 2021), attached hereto as Exhibit N.

          As previously stated, Plaintiffs asserted efficacy of Ivermectin disregards and

contradicts scientific realities. West Chester Hospital is not aware of a single public health

body in this nation in support of the use of Ivermectin to treat COVID-19 related conditions.

Further, Plaintiffs own admissions and understanding regarding the efficacy of Ivermectin are

inapplicable to the instant circumstances. Jeffrey Smith no longer has an active COVID-19

infection. Rather, Mr. Smith is gradually overcoming ARDS since the infection has been

cleared.

VI.      The Facts and Circumstances at Hand, Medical Expertise, and Mr. Smith's
         Current Conditions Contraindicate the Administration of Ivermectin

          Ohio law requires that West Chester Hospital establish and operate based on Medical

 Staff Bylaws and the policies, procedures, and protocols therein implemented. West Chester

Hospital has established such Medical Staff Bylaws and operated pursuant to the same.

Pursuant to these bylaws and in response to the COVID-19 pandemic, a clinical team at West


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Chester Hospital composed of doctors and medical professionals of numerous specialties and

backgrounds created West Chester Hospital's COVID-19 Protocol. The development of the

COVID-19 Protocol has been through numerous iterative improvements as the clinical team

strives to improve West Chester Hospital's COVID-19 care. To date, West Chester Hospital

has followed its internal operating procedures and protocols and will continue to do so. The

Judgment Entry of August 23, if maintained, would further force West Chester Hospital to

act in conflict with its protocols and bylaws.

          In addition to West Chester Hospital's bylaws and thorough credentialing process,

the Judgment Entry violated recently-enacted Ohio law protecting West Chester Hospital's

right to decline to perform or participate in any health care service which violates the moral,

ethical, or religious beliefs or principles held by it or its practitioners. See 134th G.A. Am.

 Sub. H.B. No. 110, enacting section 4743.10 of the Ohio Rev. Code. "Whenever a situation

arises in which a requested course of treatment includes a particular health care service that

conflicts with the moral, ethical, or religious beliefs or convictions of a medical practitioner,

the medical practitioner shall be excused from participating in the particular health care

service to which the practitioner has a conflict." Id.

          Pursuant to R.C. 4743.10, dispensing or administering a drug - such as Ivermectin -

constitutes a health care service. The ethical freedom granted therein extends not only to

practitioners, but also health care institutions such as West Chester Hospital.          Entities

protected by this law enjoy immunity for civil actions where they exercise their right of

conscience by declining to participate in a particular health care service. But not only does

this immunity protect against civil liability - it shields from ""any other adverse action as a



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result of declining to participate in or pay for a particular health care service on the basis of

conscience. Moreover, a violation of West Chester Hospital's rights under this statute gives

rise to an action for damages, injunctive relief, or any other appropriate relief. Id.

          Plaintiffs requested administration of Ivermectin to Mr. Smith via injunction violates

Ohio law and directly conflicts with West Chester Hospital's policies and procedures, the

medical expertise of his treating physicians, and the patient's present medical status. If the

Judgment Entry is not reversed, the desired injunctive relief would violate the rights of West

Chester Hospital and its attending physicians, and irreparably damage their ability to provide

quality medical services to this community. Further, forcing a medical professional to

administer a drug in opposition to their own medical expertise would require a physician to

 violate their Hippocratic Oath and jeopardize their medical license. Finally, administration

of Ivermectin is contraindicative to Mr. Smith's medical status.

VII.     Granting Plaintifrs Requested Relief Would Violate Public Policy

          Plaintiffs Complaint and the relief sought therein would violate public policy if granted.

What Plaintiff is seeking will open the floodgates of litigation, place the Courts in the position of

making day to day medical decisions, and any type of general release of liability in exchange for

contraindicative treatment is counter to the provision of safe and effective treatment.

          While Plaintiff alleges in her complaint, she is willing to sign a release in order for

West Chester Hospital to administer this medication, such assurance does not advance the

provision of safe and effective treatment and such a proposition violates public policy. When

an individual sees her physician, she needs to rely upon the proposition that the physician is

providing safe and effective treatment. To do a blanket release would invite a physician to



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not provide safe and effective treatment and thereby violate her Hippocratic Oath. It is

inviting a physician to do harm. What Plaintiff proposes is not protected by the rigorous

safeguards of the FDA Drug Development Process, otherwise known as clinical trials. (See

 https://www.fda.gov/patients/learn-abou t-drug-a nd-device-approvals/dmg-developrnent-

process ). This is not something a physician can or should do. It is not something this Court

should encourage. Public policy supports the safe and effective development of medications

and medical practices, not the practice of mad science at the expense of patient safety.

          As pointed out throughout Plaintiffs complaint, her affidavit, and the various

attachments thereto, Plaintiffs counsel was able to obtain the sought-after relief in Illinois

 State Court, specifically DuPage County case 2021-P-542. But that case was fraught with

improper filings by Plaintiffs counsel, improper jurisdiction of the third-party hospital, and

improper process, including the lack of an evidentiary hearing. Plaintiff states in her affidavit

 "Elmhurst Hospital appealed [the trial court's] Order and the Appellate Court recently

dismissed the appeal in its entirety, but more importantly, upheld Judge Orel's original order."

(Complaint, Exhibit A, Plaintiffs affidavit,, 36). What is notably missing from this assertion

is how the Illinois Court of Appeals for the Second District actually ruled. The Second District

ruled that the appeal was moot as the ward was no longer a patient at Elmhurst Hospital. See

In re Estate of Nurije Fype, 2021 IL App (2d) 210259-U,, 38 (July 27, 2021). There is no

proof or other legal support to be found in the Second District's order for approval of a

mandatory injunction requiring a hospital to administer an unproven and disputed medication

from a non-privileged physician (or in the case of Elmhurst, allowing a non-privileged

physician entry to administer said medication). The Second District's order of dismissal was



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based on mootness, not the merits of the trial court's order.

          The Second District, in discussing exceptions to the mootness doctrine, disagreed with

counsel for Elmhurst on the issues of the likelihood of recurrence of this type of suit. The

Second District stated Elmhurst's counsel had "demonstrated, at best, no more than a handful of

'similar' issues have arisen, not a 'flood' of cases." With all due respect to the Second District,

the situation presented to this Court proves they were incorrect then, incorrect now, and in fact

helped open the floodgates. Plaintiff devotes eight paragraphs of her affidavit and four

additional exhibits to the Elmhurst Hospital case, beginning with her discussion of a Chicago

Tribune article regarding the case. (Complaint, Exhibit A, Plaintiffs affidavit, Exhibits C-F.)

News sources have reported on that particular case. Plaintiff also devoted four paragraphs of

her affidavit, and two additional exhibits, to the case of an 80-year-old Buffalo woman.

(Complaint, Exhibit A, Plaintiffs Affidavit, Exhibit G, and Exhibit H). Plaintiff fu1iher

discusses the case of Glenna Dickinson in five paragraphs and two additional exhibits.

(Complaint, Exhibit A, Plaintiffs Affidavit, Exhibit I, and Exhibit J). Plaintiff spends two

paragraphs and one additional exhibit discussing Jeffery Smith. (Complaint, Exhibit A,

Plaintiffs Affidavit, Exhibit M). In total, Plaintiff spends approximately one-third of her

sixty-one-paragraph affidavit discussing other cases. These are not simply passing references

to other cases; they are the reason this case was filed. If this Court follows down the path

Plaintiff and Plaintiff's counsel wish it to, the snowball will gain momentum and there will

continue to be more of these cases in this and other jurisdictions based on unsafe and

ineffective science as discussed more fully below. Courts should not entertain this dubious

invitation to practice pseudo-medicine.



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          Since the filing of the instant complaint NewsChanne120, in Springfield, Illinois, ran a

story the evening of August 27, 2021, that included interviews of Plaintiff's counsel. (See

https://newschanne 120.com/news/local/family-of-auburn-man-hospital ized-with-covid-19-

takes-memorial-to-comi-to-get-Ivermectin to view video of Plaintiffs counsel).          Plaintiffs

counsel has described to this Court this type of litigation has been his life since the beginning

of the year. He has described being in Court all over the country. Plaintiff's counsel has

described to the Court his close association with the FLCCC. He advertises on their website

for those seeking legal questions. (See https://covidl9criticalcare.com/Ivermectin-in-covid-

 19/faq-on-Ivennectin/ under a dropdown labelled "Can the FLCCC help with legal

questions?"). He appeared on an FLCCC Expert Panel on May 6, 2021, describing his

experience litigating cases like the one at bar, including stating he had "five successes, we

have not had any failures." (See https://youtu.be/fWB4nDTr3wo). Plaintiff's counsel has also

discussed in open court that he had a Zoom hearing in a similar case in the State of New

Jersey. Plaintiff's counsel's website advertises various articles regarding his achievements in

relation to Ive1mectin. Plaintiff's counsel uses this information as a badge of honor, but this

Court should see warning signs instead. The floodgates are open in other areas of this State

and Country, and this Court needs to close them.

          The idea of litigating day to day medical care should shock and frighten the Court.

What Plaintiff, and future potential Plaintiffs, wish for this Court to do is change its J.D. into

an M.D. and exchange its black robe for a white coat. Plaintiff wants this Court to decide it

has the knowledge, experience, and know-how to make life or death medical decisions on a

day-to-day basis. Public policy dictates this Court not do that. This Court cannot and should



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not make day to day medical decisions for this patient or any patient. It has neither the

training and experience to determine, proactively, which treatments are safe and effective,

and which are not. As Plaintiff stated to Illinois Newschannel 20, "Let's just face it. When

you're on death's door, and you have no other options, you'll grasp at whatever you can get."

If a parent is faced with a severely ill child and disagrees with the trained medical

professionals' opinions, it is understandable for that parent to want to take all options to help

their child. But the Court should not be placed in a situation to order treatment that is not

indicated, is unsafe, is ineffective, and has not been supported by any major public health

body. These decisions are best left to the health care professionals on the front line of this or

any other health issue. Even in the best of circumstances, it is understood that two similarly

situated physicians with the same information could have differences of opinion on the

proper course of action. It is not in the interest of the public generally, and the individuals

specifically in this case, for the Court to be dragged into the situation and make a decision

with no training, education, or experience in making these day-to-day decisions. It is neither

safe nor effective.

                                        CONCLUSION

         Plaintiff has not articulated, let alone shown with conclusive evidence, that she is

entitled to the extraordinary injunctive relief she seeks. This Comi need not wade into the

highly contentious debate as to the medical efficacy of Ivermectin in treating COVID-19.

Plaintiff's procedural deficiencies alone warrant denial of the requested injunction. There is

no right to be treated by an unapproved medication, nor a duty of West Chester Hospital to

administer the same. Should this Court decline to reverse the Judgment Entry, irreparable



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harm to West Chester Hospital and its physicians will continue, and as a matter of public

policy, the will of Ohio's General Assembly will be utterly disregarded.   Defendant, West

Chester Hospital, prays that this Honorable Court enter judgment for West Chester Hospital

and against the Plaintiff and for such other and further relief as the Court deems just and

proper.

                                           Respectfully submitted,

                                           FROST BROWN TODD LLC

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                                                  Hospital, LLC dba West Chester
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                                        CERTIFICATE OF SERVICE

         I hereby certify that a copy of the foregoing Memorandum was served by Electronic

Mail this 2nd day of September 2021 upon the following:


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                                V,tny Yrn.; Shou'd Not Use lve,mectin to Treat o, Prevent COV!D-19




                                                                                                    EXHIBIT A
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FDA Letter to Stakeholders: Do Not Use lvermectin Intended
    for Animals as Treatment for COVID-19 in Humans
Espanol ( /animal-vetetinazylproduct-safety-infQrruation/carta-de-la-fda-las-partes-
interesadas-nQ-use-iyermectina-d,estipada-aniruales-cgma-tratamiento-p..ru:a).
April 10, 2020

Dear Stakeholder,

The FDA's Center for Veterinary Medicine has recently become aware of increased public
visibility of the antiparasitic drug ivermectin after the announcement of a research article that
described the effect ofivermectin on SARS-CoV-2 in a laboratory setting. The Antiviral
Research pre-publication paper, "The EDA-approved drug ivermes;tin inhibits the re:glicat:iQn Qf
SARS-CoV-2 in vitro (https: / /www.sciencedirect.com/science/artide{P.ii/SQ16635422o3rn1).
 E?Jhttp;L /www,fda.gov /about-fda/wcl;>site-policies/wcl;>site-Q.isc;laimer)," documents how
SARS-CoV-2 (the virus that causes COVID-19) responded to ivermectin when exposed in a petri
dish. This type of study is commonly used in the early stages of drug development. Ivermectin
was not given to people or animals in this study. Additional testing is needed to determine
whether ivermectin might be safe or effective to prevent or treat coronavirus or COVID-19.

Ivermectin tablets are approved for use in people for the treatment of some parasitic worms
(intestinal strongyloidiasis and onchocerciasis) and ivermectin topical formulations are
approved for human use by prescription-only for the treatment of external parasites such as
headlice and skin conditions such as rosacea. Ivermectin is FDA-approved for use in animals
for prevention of heartworm disease in some small animal species, and for treatment of certain
internal and external parasites in various animal species.

FDA is concerned about the health of consumers who may self-medicate by taking ivermectin
products intended for animals, thinking they can be a substitute for ivermectin intended for
humans. People should never take animal drugs, as the FDA has only evaluated their safety and
effectiveness in the particular animal species for which they are labeled. These animal drugs can
cause serious harm in people. People should not take any form of ivermectin unless it has been
prescribed to them by a licensed health care provider and is obtained through a legitimate
source.

Ivermectin is an important part of a parasite control program for certain species and should
only be given to animals for approved uses or as prescribed by a veterinarian in compliance with
the requirements for extra-label drug use. Due to potentially elevated interest in ivermectin

                                                                                         EXHIBIT B
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following the new research, some products may not be available. If you are having difficulty
locating a particular ivermectin product for your animal(s), the FDA recommends that you
consult with your veterinarian.

The FDA has established a cross-agency task force dedicated to closely monitoring for
fraudulent COVID-19 products that reaches out to major retailers to ask for their help in
monitoring online marketplaces. Products that claim to prevent, diagnose, treat, or cure COVID-
19 are subject to FDA investigation and potential enforcement action if they have not
demonstrated safety and effectiveness for that intended use. The task force has already worked
with retailers to remove dozens of these types of product listings online.

Please help us protect public health by alerting FDA of anyone claiming to have a product to
prevent or cure COVID-19 and to help safeguard human and animal health by reporting any of
these products to FDA-CQVID-19-Fraydulent-Produs;ts@fda,.hh~.gov (mailto:FDA-CQVID-19.:.
Fraudulent-Product~@fda,hhs.gQY). or 1-888-InfoFDA (1-888-463-6332).

We recognize this is a challenging time and urge you to continue practicing social distancing by
sharing this information electronically.

Thank you for your support. Please stay safe and healthy.

Dr. Steven Solomon
Director of FDA's Center for Veterinary Medicine

Additional Information

FAQ; CQYID-19 and Ivern;u,ctin Intended fQr Animals ( Lanimal-veterim1ryL12rodyct-safety_:
informationLfag_-covid-19-and-ivermectin-intenged-animals).

WhY. You Should Not :Use Ivermectin to Ireat Qr Prevent CQVID-19_( Lconsumers/consumer-
npdatesLwhy..:Y.ou-shoyld-not-use-ivermectin-treat-or-:grevent-covid-19).
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                                FAQ: covm~ 19 and lvermectin Intended for Animals
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Q: Should I take ivermectin to prevent or treat COVI0-19?
A: No. While there are approved uses for ivermectin in people and animals, it is not approved for the prevention or treatment of COVID-19. You
should not take any medicine to treat or prevent COVID-19 unless it has been prescribed to you by your health care provider and acquired from a
legitimate source.

A recently released resi;:auili amcie (https://pdf.scienC!:ilin:ctMllets,(;Qm/27w5LAJJ?Ll-s.2,P·S!U6'1354,~302011,/main pdf?X-Amz·
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RQlii<iesfo:!:hsite-<fuclaimerl described the effect of ivermectin on SARS-CoV-2 in a laboratory setting. These types of laboratory studies are
commonly used at an early stage of drug development. Additional testing is needed to determine whether ivermectin might be appropriate to prevent
or treat coronavirus or COVID-19.


Q: Is there an emergency use authorization for ivermectin in the U.S. to prevent or treat
coronavirus or COVID-19?
A: No. FDA has created a special emergency program for possible therapies, the CQronID'irnli T;rn,mnimt Acc;;elerati9!lhggram (L'.~g&/c9ronavirus-
~9.::.Q!Jlg§/s;orona:i(iru§-t;rnatment-a&1,;eleration-P.rogram-ctap) (CTAP). It uses every available method to move new treatments to patients as
quickly as possible, while at the same time finding out whether they are helpful or harmfuL We continue to support clinical trials that are testing new
treatments for COVJD so that we can gain valuable knowledge about their safety and effectiveness.


Q: What is ivermectin approved for in the U.S.?
A: Ivermectin tablets are approved for use in humans for the treatment of some parasitic worms (intestinal strongyloidiasis and onchocerciasis) and
ivermectin topical formulations are approved for human use by prescription only for the treatment of external parasites such as headlice and for skin
conditions such as rosacea.

Ivermectin is FDA-approved for use in animals for prevention of heartworm disease in some small animal species, and for treatment of certain
internal and external parasites in various animal species. People should never take animal drugs, as the FDA has only evaluated their safety and
effectiveness in the particular species for which they are labeled. Using these products in humans could cause serious harm.


Q: Is there any danger to humans taking ivermectin?
A: There are approved uses for ivermectin in people and animals but it is not approved for the prevention or treatment of COVJD-19. You should not
take any medicine to treat or prevent COVID-19 unless it has been prescribed to you by your health care provider and acquired from a legitimate
source.

Some of the side-effects that may be associated with ivermectin include skin rash, nausea, vomiting, diarrhea, stomach pain, facial or limb swelling,
neurologic adverse events (dizziness, seizures, confusion), sudden drop in blood pressure, severe skin rash potentially requiring hospitalization and
liver injury (hepatitis). Laboratory test abnormalities include decrease in white cell count and elevated liver tests. Any use of ivermcctin for the
prevention or treatment of COVID-19 should be avoided as its benefits and safety for these purposes have not been established. Data from clinical
trials are necessary for us to determine whether ivermectin is safe and effective in treating or preventing COVID-19.


Q: What should I do if the ivermectin products I purchase for use in my animals are not available
at my typical retailer?
A: Ivermectin is an important part of a parasite control program for certain species and should only be given to animals for approved uses or as
prescribed by a veterinarian in compliance with the requirements for extra-label drug use. Due to potentially elevated interest in ivermectin
following the new research, some products may not be available. If you are having difficulty locating a particular ivermectin product for your
animal(s), the FDA recommends that you consult with your veterinarian.


Q: What is the FDA doing to protect people from fraudulent COVID-19 products?

                                                                                                                                             EXHIBIT C
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A: We have established a cross-agency task force dedicated to closely monitoring for fraudulent COVID-19 products. We have reached out to major
retailers to ask for their help in monitoring on!ine marketplaces for fraudulent COVID-19 products. Products sold are subject to FDA investigation
and potential enforcement action if they claim to prevent, diagnose, treat, or cure COVID-19 and have not demonstrated safety and effectiveness for
that intended use. The task force has already worked with retailers to remove dozens of these types of product listings online.

The FDA and the Federal Trade Commission (FfC) issue warning letters to companies that violate federal law and pose significant risks to patient
health by selling unapproved products with fraudulent claims to treat or prevent COVID-19. Yi~ the warning~(/consullli:!:§/health-fr1,1ud-
scmns/fraudulent-ooomilyirµ§::!iise!Wl-2Ql9~9~PIQQJJct'ifflaming l',&tter Table) for more information.

Additional Information
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Distributed via the CDC Health Alert Network
August 26, 2021, 11 :40 AM ET
CDCHAN-00449

   Rapid Increase in lvermectin Prescriptions and Reports of Severe
   mness Associated with Use of Products Containing lvermectin to
                       Prevent or Treat COVID-19
Summary
lvermectin is a U.S. Food and Drug Administration (FDA)-approved prescription medication used to treat
certain infections caused by internal and external parasites. When used as prescribed for approved
indications, it is generally safe and well tolerated.

During the COVID-19 pandemic, ivermectin dispensing by retail pharmacies has increased, as has use of
veterinary formulations available over the counter but not intended for human use. FDA has cautioned
about the potential risks of use for prevention or treatment of COVID-19.

lvermectin is not authorized or approved by FDA for prevention or treatment of COVID-19. The National
Institutes of Health's (NIH) COVID-19 Treatment Guidelines Panel has also determined that there are
currently insufficient data to recommend ivermectin for treatment of COV!D-19. CHnica!Tria!s.gov has
listings of ongoing clinical trials that might provide more information about these hypothesized uses in the
future.

Adverse effects associated with ivermectin misuse and overdose are increasing, as shown by a rise in
calls to poison control centers reporting overdoses and more people experiencing adverse effects.


Background
The Centers for Disease Control and Prevention (CDC) confirmed with the American Association of
Poison Control Centers (AAPCC) that human exposures and adverse effects associated with ivermectin
reported to poison control centers have increased in 2021 compared to the pre~pandemic baseline. These
reports inctude increased use of veterinary products not meant for human consumption.

lvermectin is a medication that is approved by FDA in oral formulations to treat onchocerciasis (river
blindness) and intestinal strongyloidiasis. Topical formulations are used to treat head lice and rosacea.
lvermectin is also used in veterinary applications to prevent or treat internal and external parasitic
infections in animals. When used in appropriate doses for approved indications, ivermectin is generally
well tolerated.

Clinical trials and observational studies to evaluate the use of ivermectin to prevent and treat COVID-19
in humans have yielded insufficient evidence for the NIH COV!D-19 Treatment Guidelines Panel to
recommend its use. Data from adequately sized, well-designed, and well-conducted clinical trials are
needed to provide more specific, evidence-based guidance on the role of ivermectin in the treatment of
COVID-19.

A recent study examining trends in ivermectin dispensing from outpatient retail pharmacies in the United
States during the COVID-19 pandemic showed an increase from an average of 3,600 prescriptions per
week at the pre-pandemic baseline (March 16, 2019-March 13, 2020) to a peak of 39,000 prescriptions in
the week ending on January 8, 2021. 1 Since early July 2021, outpatient ivermectin dispensing has again



                                                                                                        EXHIBIT D
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         begun to rapidly increase, reaching more than 88,000 prescriptions in the week ending August 13, 2021.
         This represents a 24-fold increase from the pre-pandemic baseline. (figure)

         Figure: Estimated number of outpatient ivermectin prescriptions dispensed from retail
         pharmacies- United States, March 16, 2019--August 13, 2021*

         *Data are from the IQVIA National Prescription Audit Weekly (NPA Weekly) database. NPA Weekly
         collects data from a sample of approximately 48,900 U.S. retail pharmacies, representing 92% of all retail
         prescription activity. lvermectin dispensed by mail order and long-term care pharmacies, prescriptions by
         veterinarians, and non-oral formulations were not included.

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                                                                                        Week, Ending Date




         In 2021, poison control centers across the U.S. received a three-fold increase in the number of calls for
         human exposures to ivermectin in January 2021 compared to the pre-pandemic baseline.
         In July 2021, ivermectin calls have continued to sharply increase, to a five-fold increase from baseline.
         These reports are also associated with increased frequency of adverse effects and emergency
         department/hospital visits.

         ln some cases, people have ingested ivermectin-containing products purchased without a prescription,
         including topical formulations and veterinary products. Veterinary formulations intended for use in large
         animals such as horses, sheep, and cattle (e.g., "sheep drench," injection formulations, and "pour-on"
         products for cattle) can be highly concentrated and result in overdoses when used by humans. Animal
         products may also contain inactive ingredients that have not been evaluated for use in humans. People
         who take inappropriately high doses of ivermectin above FDA-recommended dosing may experience
         toxic effects.

         Clinical effects of iverrnectin overdose include gastrointestinal symptoms such as nausea, vomiting, and
         diarrhea. Overdoses are associated with hypotension and neurologic effects such as decreased
         consciousness, confusion, hallucinations, seizures, coma, and death. lvermectin may potentiate the
         effects of other drugs that cause central nervous system depression such as benzodiazepines and
         barbiturates.

         Examples of recent significant adverse effects reported to U.S. poison control centers include the
         following:
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   .,   An adult drank an injectable ivermectin formulation intended for use in cattle in an attempt to
        prevent COVID-19 infection. This patient presented to a hospital with confusion, drowsiness,
        visual hallucinations, tachypnea, and tremors. The patient recovered after being hospitalized for
        nine days.
   •    An adult patient presented with altered mental status after taking ivermectin tablets of unknown
        strength purchased on the internet. The patient reportedly took five tablets a day for five days to
        treat COVID-19. The patient was disoriented and had difficulty answering questions and following
        commands. Symptoms improved with discontinuation of ivermectin after hospital admission.

Recommendations for Clinicians and Public Health Practitioners
   •    Be aware that ivermectin is not currently authorized or approved by FDA for treatment of COVID-
        19. NIH has also determined that there are currently insufficient data to recommend ivermectin for
        treatment of COV!D-19.
   •    Educate patients about the risks of using ivermectin without a prescription, or ingesting ivermectin
        formulations that are meant for external use or ivermectin-containing products formulated for
        veterinary use .
   .,   Advise patients to immediately seek medical treatment if they have taken any ivermectin or
        ivermectin-containing products and are experiencing symptoms. Signs and symptoms of
        ivermectin toxicity include gastrointestinal effects (nausea, vomiting, abdominal pain, and
        diarrhea), headache, blurred vision, dizziness, tachycardia, hypotension, visual hallucinations,
        altered mental status, confusion, loss of coordination and balance, central nervous system
        depression, and seizures. !vermectin may increase sedative effects of other medications such as
        benzodiazepines and barbiturates. Call the poison control center hotline {1-800-222-1222) for
        medical management advice .
   .,   Educate patients and the public to get vaccinated against COVID-19. COVID-19 vaccination is
        safe and the most effective means to prevent infection and protect against severe disease and
        death from SARS-CoV-2, the virus that causes COVID-19, including the Delta variant.
   •    Educate patients and the public to use COVID-19 prevention measures including wearing masks
        in indoor public places, physical distancing by staying at least six feet from other people who
        don't live in the same household, avoiding crowds and poorly ventilated spaces, and frequent
        handwashing and use of hand sanitizer that contains at least 60 percent alcohol.

Recommendations for the Public
   .,   Be aware that currently, ivermectin has not been proven as a way to prevent or treat COVID-19.
   •    Do not swallow ivermectin products that should be used on skin (e.g., lotions and creams) or are
        not meant for human use, such as veterinary ivermectln products.
   •    Seek immediate medical attention or call the poison control center hotline (1-800-222-1222) for
        advice if you have taken ivermectin or a product that contains ivermectin and are having
        symptoms. Signs and symptoms include gastrointestinal effects (nausea, vomiting, abdominal
        pain, and diarrhea), headache, blurred vision, dizziness, fast heart rate, and low blood pressure.
        Other severe nervous system effects have been reported, including tremors, seizures,
        hallucinations, confusion, loss of coordination and balance, decreased alertness, and coma.
   •    Get vaccinated against COVID-19. COVID-19 vaccination is approved by FDA and is the safest
        and most effective way to prevent getting sick and protect against severe disease and death from
        SARS-CoV-2, the virus that causes COVID-19, including the Delta variant.
   .,   Protect yourself and others from getting sick with COVID-19. In addition to vaccination, wear
        masks in indoor public places, practice staying at least six feet from other people who don't live in
        your household, avoid crowds and poorly ventilated spaces, and wash your hands often or use
        hand sanitizer that has at least 60 percent alcohol.


For More Information
NlH COViD-19 Treatment lvermectin Guidelines

FDA Consumer Alert on Use of lvermectin to Treat or Prevent COVID-19
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FDA Med\iyatch Adverse Eve0,_~QQ!:t\D_g_Q[Qg[_gm

CDC Coronavirus (COVID-19) website

U.S. Government Coronavirus (COVID-19) website

American Association of Poison Control Centers

Press Release: American College of Medical Toxicolog'.I{ RfiltQI1s Data on Adverse Effects and Toxicitx;
from Unapproved Use of lvermectin for the Prevention or Treatment of COV!D-19

Treatments Your Healthcare Provider Might Recommend if You Are Sick


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The Centers for Disease Control and Prevention (CDC) protects people's health and safety by preventing
  and controlling diseases and injuries; enhances health decisions by providing credible information on
 critical health issues; and promotes healthy living through strong partnerships with local, national, and
                                        international organizations.



Categories of Health Afert Network messages:
Health Alert     Requires immediate action or attention, highest level of importance
Health Advisory May not require immediate action; provides important information for a specific incident or situation
Health Update    Unlikely to require immediate action; provides updated information regarding an incident or situation
HAN Info Service Does not require immediate action; provides general public health information

 # #This message was distributed to state and local health officers, state and local epidemiologists, state
        and local laboratory directors, public information officers, HAN coordinators, and clinician
                                              organizations##
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           COVID-19 Treatment Guidelines




Antiviral Drugs That Are Approved or Under
Evaluation for the Treatment of COVID-19
Last Updated: July 8, 2021


                               Summary Recommendations
  Remdesivir is the only Food and Drug Administration-approved drug for the treatment
  of COV!D-19. In this section, the COVID-19 Treatment Guidelines Panel (the Panel)

  provides recommendations for using antiviral drugs to treat COV!D-19 based on the
  available data. As in the management of any disease, treatment decisions ultimately
  reside with the patient and their health care provider. For more information on these
  antiviral agents, see I»J,R~?@.


  Remdesivir
  • See ThefaPftUIBsM§nagemJlf)t oHfosojtaiized Ai;lutts.with CQVl0;:19 for
     recommendations on using remdesivir with or without dexamethasone.


  lvermectin
  • There is insufficient evidence for the Panel to recommend either for or against the use of
     ivermectin for the treatment of COVID-19. Results from adequately powered, well-
     designed, and well-conducted clinical trials are needed to provide more specific,
     evidence-based guidance on the role of ivermectin in the treatment of COVID-19.


  Nitazoxanide
  • The Panel recommends against the use of nitazoxanide for the treatment of COVID-19,
     except in a clinical trial (Bila).


  Hydroxychloroquine or Chloroquine and/or Azithromycin
  • The Panel recommends against the use of chloroquine or hydroxychloroquine and/or
     azithromycin for the treatment of COVID-19 in hospitalized patients {Al) and in
     nonhospitalized patients (Alia).


  Lopinavir/Ritonavir and Other HIV Protease Inhibitors
  • The Panel recommends against the use of lopinavir/ritonavir and other HIV protease
     inhibitors for the treatment of COVID-19 in hospitalized patients {All and in
     nonhospitalized patients (Alli).


  Rating of Recommendations: A= Strong; B = Moderate; C = Optional
  Rating of Evidence: I= One or more randomized trials without major limitations; Ila= Other
  randomized trials or subgroup analyses of randomized trials; lib= Nonrandomized trials or
  observational cohort studies; Ill= Expert opinion


                                                                                                 EXHIBIT E
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Antiviral Therapy
Because SARS-CoV-2 replication leads to many of the clinical manifestations of COVID-
19, antiviral therapies are being investigated for the treatment of COVID-19. These drugs
inhibit viral entry (via the angiotensin-converting enzyme 2 [ACE2] receptor and
transmembrane serine protease 2 [TMPRSS21), viral membrane fusion and endocytosis,
or the activity of the SARS-CoV-2 3-chymotrypsin-like protease (3Clpro) and the RNA-
dependent RNA polymerase.1 Because viral replication may be particularly active early in
the course of COVID-19, antiviral therapy may have the greatest impact before the illness
progresses to the hyperinflammatory state that can characterize the later stages of
disease, including critical illness. 2 For this reason, it is necessary to understand the role
of antiviral medications in treating mild, moderate, severe, and critical illness in order to
optimize treatment for people with COVID-19.

The following sections describe the underlying rationale for using different antiviral
medications, provide the COVID-19 Treatment Guidelines Panel's recommendations for
using these medications to treat COVID-19, and summarize the existing clinical trial data.
Additional antiviral therapies will be added to this section of the Guidelines as new
evidence emerges.



  References                                                                                     +




www.covid19treatmentguidelines.nih.gov

An official website of the N9!ign9 l ln§titutes of He 9lth
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          EUROPEAN MEDICINES AGENCY
          SCIENCE MEDICINES HEALTH




EMA advises against use of ivermectin for
the prevention or treatment of COVID-19
outside randomised clinical trials
News 22/03/2021

EMA has reviewed the latest evidence on the use of ivermectin for the prevention and treatment
of COVID-19 and concluded that the available data do not support its use for COVID-19 outside
well-designed .~Jinical tr!~J~.

In the EU, ivermectin tablets are approved for treating some parasitic worm infestations while
ivermectin skin preparations are approved for treating skin conditions such as rosacea.
Ivermectin is also authorised for veterinary use for a wide range of animal species for internal
and external parasites.

Ivermectin medicines are not authorised for use in COVID-19 in the EU, and EMA has not
received any application for such use. 1

Following recent media reports and publications on the use of ivermectin, EMA reviewed the
latest published evidence from laboratory studies, observational studies, clinic::?1. triaJ? and meta-
analyses. laboratory studies found that ivermectin could block replication of SARS-CoV-2 (the
virus that causes COVID-19), but at much higher ivermectin concentrations than those achieved
with the currently authorised doses. Results from clinical studies were varied, with some studies
showing no benefit and others reporting a potential benefit. Most studies EMA reviewed were
small and had additional limitations, including different dosing regimens and use of concomitant
medications. EMA therefore concluded that the currently available evidence is not sufficient to
support the use of ivermectin in COVID-19 outside clinical trial§_.

Although ivermectin is generally well tolerated at doses authorised for other indications, side
effects could increase with the much higher doses that would be needed to obtain concentrations
of ivermectin In the lungs that are effective against the virus. Toxicity when ivermectin is used at
higher than approved doses therefore cannot be excluded.

EMA therefore concluded that use of ivermectin for prevention or treatment of COVID-19 cannot
currently be recommended outside controlled clinical trials. Further well-designed, randomised

                                                                                            EXHIBIT F
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studies are needed to draw conclusions as to whether the product is effective and safe in the
prevention and treatment of COVID-19.

This EMA public health statement has been endorsed by the COVID-19 EMA pandemic Task Force
(COVID-ETF), in light of the ongoing discussions on the use of ivermectin in the prevention and
treatment of COVID-19.


1 Czechia e and            e, have allowed the temporary use of the medicine for COVID-19
within the remit of their national legislation.

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Related content

      • Coronavirus disease (COVID-19)
      • COVID-19: latest updates
      • Public-health advice during COVID-19 pandemic


External links

      • Trial Site News: Slovakia Becomes the First EU Nation to Formally Approve Ivermectin for
        Both Prophylaxis and Treatment for COVID-19 Patients~

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Overview
The WHO Therapeutics and COVID-19: living guideline contains the Organization's most up-to-date
recommendations for the use of therapeutics in the treatment of COVID-19. The latest version of
this living guideline is available in gdf format (via the 'Download' button) and via an online Qlatform,
and is updated regularly as new evidence emerges.

This fifth version of the WHO guideline now contains seven recommendations, including a new
recommendation regarding interleukin-6 (IL-6) receptor blockers, including both tocilizumab and
sarilumab. This latest update was initiated in response to publication of the RECOVERY and
REMAP-CAP trials addressing IL-6 receptor blockers as a potential treatment for COVID-19. No
further updates to the previous existing recommendations were made in this latest version.

CORR!OErsQUM

The WHO Therapeutics and COVID-19: living guideline currently includes a:


• **NEW** strongsecomme)1AAtion wusellc<Lrecep59Lbfoc~(tocilizumabop,arilumab) in
  patients with severe or critical COVID-19 (published 6 July 2021);
• recommendation not to use ivermectin in patients with COVID-19 except in the context of a clinical
  trial (published 31 March 2021);
• strong r~£Qmmeudatign ag~ydroxy£hloroij_uine in patients with COVID-19 of any severity
  (published 17 December 2020);
• strong recommendation ag;!,inst loJ.f n ·rL ·      · in patients with COVID-19 of any severity
  (published 17 December 2020);
• tonditional recommendation ~gi!inst remdesivir in hospitalized patients with COVID-19 (published 20
  November 2020);
• strong recommendation for systemic corticosteroids in patients with severe and critical COVID-19
  (published 2 September 2020);
• conditional rc£,ommcndation i.lgainst SY.Stemic corticosteroids in patients with non-severe COVID-19
  (published 2 September 2020).
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Other COVID-19 therapeutics that are currently under consideration by WHO include colchicine,
monoclonal antibodies and anticoagulants. This guideline will be updated if/when sufficient new
evidence warrants this.

Guidelines regarding the use of drugs to prevent (rather than treat) COVID-19 are included in a
separate document, WHO Living guideline: Drugs to prevent COVID-19, that can be accessed via
an onlioe glatforru and in gdf format (or click 'PDF' in top right comer of online platform).

Guidelines regarding the clinical management of COVID-19 patients are included in a further
document, COVID-19 Clinical management: Living guideline, that can be accessed via an online
pJatfQrm and in_Qdf format (or click 'PDF' in top right corner of online platform).

To view previous (now outdated) versions of this guideline, please see the links below:


•   First version, published 2 September 2020 (accessible as :r-df only)
•   Second version, published 20 November 2020 (access as pdf or via 9J:ilin,1Lp.latfQrm)
•   Third version, published 17 December 2020 (access as t2df or via Q.nli.ne_rilatform)
•   Fourth version, published 31 March 2021 (access as t2df or via online lili!.tfotm)




This document was updated on 6 July 2021




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REFERENCE NUMBERS

WHO REFERENCE NUMBER: \X HO/2019-nCoV/therapeutics/2021.'.2

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     Drugs.com
     Kn{ff\'     Be




lvermectin Tablets
Dosage form: tablet
Drug class: Anthelmintics

Medically reviewed by Drugs.com. Last updated on February 19, 2021.



   On This Page

   Description

   Clinical Pharmacology

   Clinical Studies

   Indications and Usage

   Contraindications

   Warnings

   Precautions

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lvermectin Tablets Description
lvermectin is a semisynthetic, anthelmintic agent for oral administration. lvermectin is derived from
the avermectins, a class of highly active broad-spectrum, anti-parasitic agents isolated from the
fermentation products of Streptomyces avermitilis. lvermectin is a mixture containing at least 90% 5-
O-demethyl-22,23-dihydroavermectin A 1a and less than 10% 5-O-demethyl-25-de(1-
methylpropyl)-22,23-dihydro-25-(1-methylethyl)avermectin A 1a, generally referred to as 22,23-
dihydroavermectin 8 18 and B 1b, or H 2B 1a and H2 B 1b, respectively. The respective empirical formulas
are C48 H74O 14 and C47 H72 O 14 , with molecular weights of 875.10 and 861.07, respectively. The
structural formulas are:




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lvermectin is a white to yellowish-white, nonhygroscopic, crystalline powder with a melting point of
about 155"C. It is insoluble In water but is freely soluble in methanol and soluble in 95% ethanol.

lvermectin Tablets are available as 3-mg tablets containing the following inactive ingredients:
colloidal silicon dioxide, croscarmellose sodium, magnesium stearate, microcrystalline cellulose,
and prege!atinized starch.

lvermectin Tablets .. Clinical Pharmacology
Pharmacokinetics
Following oral administration of ivermectin, plasma concentrations are approximately proportional to
the dose. In two studies, after single 12-mg doses of ivermectin in fasting healthy volunteers
(representing a mean dose of 165 mcg/kg), the mean peak plasma concentrations of the major
component (H 2B 13} were 46.6 (±21.9) (range: 16.4 to 101.1) and 30.6 (±15.6) (range: 13.9 to 68.4)
ng/mL, respectivefy, at approximately 4 hours after dosing. lvermectin is metabolized in the liver,
and ivermectin and/or its metabolites are excreted almost exclusively in the feces over an estimated
12 days, with less than 1% of the administered dose excreted in the urine. The plasma half-life of
ivermectin in man is approximately 18 hours following oral administration.

The safety and pharmacokinetic properties of ivermectin were further assessed in a multiple-dose
clinical pharmacokinetic study Involving healthy volunteers. Subjects received oral doses of 30 to
120 mg (333 to 2000 mcg/kg) ivermectin in a fasted state or 30 mg (333 to 600 mcg/kg) ivermectin
following a standard high-fat (48.6 g of fat) meal. Administration of 30 mg ivermectin following a
high-fat meal resulted in an approximate 2.5-fold increase in bioavailability relative to administration
of 30 mg ivermectin in the fasted state.

In vitro studies using human liver microsomes and recombinant CYP450 enzymes have shown that
ivermectin is primarily metabolized by CYP3A4. Depending on the in vitro method used, CYP2O6
and CYP2E1 were also shown to be involved in the metabolism of ivermectin but to a significantly
lower extent compared to CYP3A4. The findings of in vitro studies using human liver microsomes
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suggest that clinically relevant concentrations of ivermectin do not significantly inhibit the
metabolizing activities of CYP3A4, CYP2O6, CYP2C9, CYP1A2, and CYP2E1.

Microbiology
lvermectin is a member of the avermectin class of broad-spectrum antiparasitic agents which have
a unique mode of action. Compounds of the class bind selectively and with high affinity to
glutamate-gated chloride ion channels which occur in invertebrate nerve and muscle cells. This
leads to an increase in the permeability of the cell membrane to chloride ions with hyperpolarization
of the nerve or muscle cell, resulting in paralysis and death of the parasite. Compounds of this class
may also interact with other ligand-gated chloride channels, such as those gated by the
neurotransmitter gamma-aminobutyric acid (GABA).

The selective activity of compounds of this class is attributable to the facts that some mammals do
not have glutamate-gated chloride channels and that the avermectins have a low affinity for
mammalian ligand-gated chloride channels. In addition, ivermectin does not readily cross the blood-
brain barrier in humans.

lvermectin is active against various life-cycle stages of many but not all nematodes. It is active
against the tissue microfilariae of Onchocerca volvulus but not against the adult form. Its activity
against Strongyloides stercoralis is limited to the intestinal stages.

Clinical Studies
Stongyloidiasis

Two controlled clinical studies using albendazole as the comparative agent were carried out in
international sites where albendazole is approved for the treatment of strongyloidiasis of the
gastrointestinal tract, and three controlled studies were carried out in the U.S. and internationally
using thiabendazole as the comparative agent. Efficacy, as measured by cure rate, was defined as
the absence of larvae in at least two follow-up stool examinations 3 to 4 weeks post-therapy. Based
on this criterion, efficacy was significantly greater for ivermectin (a single dose of 170 to 200
mcg/kg) than for albendazole (200 mg b.i.d. for 3 days). lvermectin administered as a single dose of
200 mcg/kg for 1 day was as efficacious as thiabendazole administered at 25 mg/kg b.i.d. for 3
days.


 Summary of Cure Rates for lvermectin Versus Comparative Agents in the Treatment of Strongyloidiasis

                                                                           Cure Rate• (%)

                                                         lvermectint                 Comparative Agent

*Number and % of evaluable patients
t170 to 200 mcg/kg
;t200 mg b.i.d. for 3 days
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§25 mg/kg b.i.d. for 3 days

 Albendazole::f: Comparative

 International Study                                  24/26 (92)                   12/22 (55)

 WHO Study                                           126/152 (83)                 67/149 (45)

 Thiabendazole§ Comparative

 International Study                                   9/14 (64)                   13/15 (87)

 US Studies                                           14/14 (100)                  16/17 (94)



In one study conducted in France, a non-endemic area where there was no possibility of reinfection,
several patients were observed to have recrudescence of Strongyloides larvae in their stool as long
as 106 days following ivermectin therapy. Therefore, at least three stool examinations should be
conducted over the three months following treatment to ensure eradication. If recrudescence of
larvae is observed, retreatment with ivermectin is indicated. Concentration techniques (such as
using a Baermann apparatus) should be employed when performing these stool examinations, as
the number of Strongyfoides larvae per gram of feces may be very low.

Onchocerciasis

The evaluation of ivermectin in the treatment of onchocerciasis is based on the results of clinical
studies involving 1278 patients. In a double-blind, placebo-controlled study involving adult patients
with moderate to severe onchocercal infection, patients who received a single dose of 150 mcg/kg
ivermectin experienced an 83.2% and 99.5% decrease in skin microfilariae count (geometric mean)
3 days and 3 months after the dose, respectively. A marked reduction of >90% was maintained for
up to 12 months after the single dose. As with other microfilaricidal drugs, there was an increase in
the microfilariae count in the anterior chamber of the eye at day 3 after treatment in some patients.
However, at 3 and 6 months after the dose, a significantly greater percentage of patients treated
with ivermectin had decreases in microfilariae count in the anterior chamber than patients treated
with placebo.

In a separate open study involving pediatric patients ages 6 to 13 (n=103; weight range: 17 to 41
kg), similar decreases in skin microfilariae counts were observed for up to 12 months after dosing.

Indications and Usage for lvermectin Tablets
lvermectin is indicated for the treatment of the following infections:

Strongyloidiasis of the intestinal tract
lvermectin is indicated for the treatment of intestinal (i.e., nondisseminated) strongyloidiasis due to
the nematode parasite Strongyloides stercoralis. This indication is based on clinical studies of both
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comparative and open--iabel designs, in which 64-100% of infected patients were cured foflowing a
single 200-mcg/kg dose of ivermectin (See CLINICAL PHARMACOLOGY, Clinical Studies).

Onchocerciasis
lvermectin is indicated for the treatment of onchocerciasis due to the nematode parasite
Onchocerca volvulus.

This indication is based on randomized, doubte-bUnd, placebo-controlled and comparative studies
conducted in 1427 patients in onchocerciasis-endemic areas of West Africa. The comparative
studies used diethylcarbamazine citrate (DEC-C).

NOTE: lvermectin has no activity against adult Onchocerca volvulus parasites. The adult parasites
reside in subcutaneous nodules which are infrequently palpable. Surgical excision of these nodules
(nodulectomy) may be considered in the management of patients with onchocerciasis, since this
procedure will eliminate the microfilariae-producing adult parasites,

Contraindications
lvermectin Tablets are contraindicated in patients who are hypersensitive to any component of this
product

Warnings
Historical data have shown that microfilaricidal drugs, such as diethylcarbamazine citrate (DEC-C),
might cause cutaneous and/or systemic reactions of varying severity (the Mazzotti reaction) and
ophthalmological reactions in patients with onchocerciasis. These reactions are probably due to
allergic and inflammatory responses to the death of microfilariae. Patients treated with ivermectin for
onchocerciasis may experience these reactions in addition to clinical adverse reactions possibly,
probably, or definitely related to the drug itself (See ADVERSE REACTIONS, Onchocerciasis).

The treatment of severe Mazzotti reactions has not been subjected to controlled clinical trials. Oral
hydration, recumbency, intravenous normal saline, and/or parenteral corticosteroids have been
used to treat postural hypotension. Antihistamines and/or aspirin have been used for most mild to
moderate cases.

Precautions

General
After treatment with microfilaricida! drugs, patients with hyperreactive onchodermatitis {sowda) may
be more likely than others to experience severe adverse reactions, especially edema and
aggravation of onchodermatitis.
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Rarely, patients with onchocerciasis who are also heavily infected with Loa loa may develop a
serious or even fatal encephalopathy either spontaneously or following treatment with an effective
microtHaricide. In these patients, the following adverse experiences have also been reported: pain
(including neck and back pain), red eye, conjunctiva! hemorrhage, dyspnea, urinary and/or fecal
incontinence, difficulty in standing/walking, mental status changes, confusion, lethargy, stupor,
seizures, or coma. This syndrome has been seen very rarely following the use of ivermectin. In
individuals who warrant treatment with ivermectin for any reason and have had significant exposure
to Loa lea-endemic areas of West or Central Africa, pretreatment assessment for loiasis and careful
posttreatment follow-up should be implemented.

Information for Patients
ivermectin Tablets should be taken on an empty stomach with water (See CLINICAL
PHARMACOLOGY, Pharmacokinetics).

Strongyloidiasis
The patient should be reminded of the need for repeated stool examinations to document clearance
of infection with Strongyloides stercoralis.

Onchocerciasis

The patient should be reminded that treatment with ivermectin does not kill the adult Onchocerca
parasites, and therefore repeated follow-up and retreatment is usually required.

Drug Interactions
Post-marketing reports of increased INR (International Normalized Ratio) have been rarely reported
when ivermectin was coadministered with warfarin.

Carcinogenesis, Mutagenesis, Impairment of Fertmty
Long-term studies in animals have not been performed to evaluate the carcinogenic potential of
ivermectin.

fvermectin was not genotoxic in vitro in the Ames microbial mutagenicity assay of Salmonella
typhimurium strains TA1535, TA1537, TA98, and TA100 with and without rat liver enzyme activation,
the Mouse Lymphoma Cell Line L5178Y (cytotoxicity and mutagenicity) assays, or the unscheduled
ONA synthesis assay in human fibroblasts.

tvermectin had no adverse effects on the fertility in rats in studies at repeated doses of up to 3 times
the maximum recommended human dose of 200 mcg/kg (on a mg/m 2/day basis).

Pregnancy
Teratogenic Effects
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Pregnancy Category C
lvermectin has been shown to be teratogenic in mice, rats, and rabbits when given in repeated
doses of 0.2, 8.1, and 4.5 times the maximum recommended human dose, respectively (on a
mg/m 2/day basis). Teratogenicity was characterized in the three species tested by cleft palate;
clubbed forepaws were additionally observed in rabbits. These developmental effects were found
only at or near doses that were maternotoxic to the pregnant female. Therefore, ivermectin does not
appear to be selectively fetotoxic to the developing fetus. There are, however, no adequate and
well-controlled studies in pregnant women. lvermectin should not be used during pregnancy since
safety in pregnancy has not been established.

Nursing Mothers
lvermectin is excreted in human milk in low concentrations. Treatment of mothers who intend to
breast-feed should only be undertaken when the risk of delayed treatment to the mother outweighs
the possible risk to the newborn.

Pediatric Use
Safety and effectiveness in pediatric patients weighing less than 15 kg have not been established.

Geriatric Use
Clinical studies of ivermectin did not include sufficient numbers of subjects aged 65 and over to
determine whether they respond differently from younger subjects. Other reported clinical
experience has not identified differences in responses between the elderly and younger patients. In
general, treatment of an elderly patient should be cautious, reflecting the greater frequency of
decreased hepatic, renal, or cardiac function, and of concomitant disease or other drug therapy.

Strcmgyloidiasis in lmmunocompromised Hosts
In immunocompromised (including HIV-infected) patients being treated for intestinal strongyloidiasis,
repeated courses of therapy may be required. Adequate and well-controlled clinical studies have not
been conducted in such patients to determine the optimal dosing regimen. Several treatments, i.e.,
at 2-week intervals, may be required, and cure may not be achievable. Control of extra-intestinal
strongyloidiasis in these patients is difficult, and suppressive therapy, i.e., once per month, may be
helpful.

Adverse Reactions

Strongyloidiasis
In four clinical studies involving a total of 109 patients given either one or two doses of 170 to 200
mcg/kg of ivermectin, the following adverse reactions were reported as possibly, probably, or
definitely related to ivermectin:
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Body as a Whole: asthenia/fatigue (0.9%), abdominal pain (0.9%)

Gastrointestinal: anorexia (0.9%), constipation (0.9%), diarrhea (1.8%), nausea {1.8%), vomiting
(0.9%)

Nervous System/Psychiatric: dizziness (2.8%}, somnolence (0.9%), vertigo (0.9%), tremor (0.9%)

Skin: pruritus (2.8%), rash (0.9%), and urticaria (0.9%).

In comparative trials, patients treated with ivermectin experienced more abdominal distention and
chest discomfort than patients treated with albendazole. However, ivermectin was better tolerated
than thiabendazole in comparative studies involving 37 patients treated with thiabendazole.

The Mazzotti-type and ophthalmologic reactions associated with the treatment of onchocerciasis or
the disease itself would not be expected to occur in strongyloidiasis patients treated with ivermectin
(See ADVERSE REACTIONS, Onchocerciasis).

Laboratory Test Findings

In clinical trials involving 109 patients given either one or two doses of 170 to 200 mcg/kg
ivermectin, the following laboratory abnormalities were seen regardless of drug relationship:
elevation in ALT and/or AST (2% ), decrease in leukocyte count (3% ). Leukopenia and anemia were
seen in one patient.

Onchocerciasis
In clinical trials involving 963 adult patients treated with 100 to 200 mcg/kg ivermectin, worsening of
the following Mazzotti reactions during the first 4 days post-treatment were reported:
arthralgia/synovitis (9.3%), axillary lymph node enlargement and tenderness (11.0% and 4.4%,
respectively), cervical lymph node enlargement and tenderness {5.3% and 1.2%, respectively),
inguinal lymph node enlargement and tenderness (12.6% and 13.9%, respectively), other lymph
node enlargement and tenderness (3.0% and 1.9%, respectively), pruritus (27.5%), skin
involvement including edema, papular and pustular or frank urticaria! rash (22.7%), and fever
(22.6%) (See WARNINGS).

In clinical trials, ophthalmological conditions were examined in 963 adult patients before treatment,
at day 3, and months 3 and 6 after treat~ent with 100 to 200 mcg/kg ivermectin. Changes observed
were primarily deterioration from baseline 3 days post-treatment. Most changes either returned to
baseline condition or improved over baseline severity at the month 3 and 6 visits. The percentages
of patients with worsening of the following conditions at day 3, month 3 and 6, respectively, were:
limbitis: 5.5%, 4.8%, and 3.5% and punctate opacity: 1.8%, 1.8%, and 1.4%. The corresponding
percentages for patients treated with placebo were: limbitis: 6.2%, 9.9%, and 9.4% and punctate
opacity: 2.0%, 6.4%, and 7 .2% (See WARNINGS).
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In clinical trials involving 963 adult patients who received 100 to 200 mcg/kg ivermectin, the
following clinical adverse reactions were reported as possibly, probably, or definitely related to the
drug in ~1 % of the patients: facial edema (1.2%), peripheral edema (3.2%), orthostatic hypotension
(1.1%}, and tachycardia (3.5%), Drug-related headache and myalgia occurred in <1% of patients
(0.2% and 0.4%, respectively). However, these were the most common adverse experiences
reported overall during these trials regardless of causality (22.3% and 19. 7%, respectively).

A similar safety profile was observed in an open study in pediatric patients ages 6 to 13.

The following ophthalmological side effects do occur due to the disease itself but have also been
reported after treatment with ivermectin: abnormal sensation in the eyes, eyelid edema, anterior
uveitis, conjunctivitis, limbitis, keratitis, and chorioretinitis or choroiditis. These have rarely been
severe or associated with loss of vision and have generally resolved without corticosteroid
treatment.

laboratory Test Findings

In controlled clinical trials, the following laboratory adverse experiences were reported as possibly,
probably, or definitety related to the drug in ~ 1% of the patients: eosinophilia (3%) and hemoglobin
increase ( 1%).

Post-Marketing Experience
The following adverse reactions have been reported since the drug was registered overseas:

Onchocerciasis

Conjunctiva! hemorrhage

AH Indications

Hypotension (mainly orthostatic hypotension), worsening of bronchial asthma, toxic epidermal
necrolysis, Stevens~Johnson syndrome, seizures, hepatitis, elevation of liver enzymes, and
elevation of bilirubin.

Overdosage
Significant lethality was observed in mice and rats after single oral doses of 25 to 50 mg/kg and 40
to 50 mg/kg, respectively. No significant lethality was observed in dogs after single oral doses of up
to 10 mg/kg. At these doses, the treatment-related signs that were observed in these animals
include ataxia, bradypnea, tremors, ptosis, decreased activity, emesis, and mydriasis.

In accidental intoxication with, or significant exposure to, unknown quantities of veterinary
formulations of ivermectin in humans, either by ingestion, inhalation, injection, or exposure to body
surfaces, the following adverse effects have been reported most frequently: rash, edema,
headache, dizziness, asthenia, nausea, vomiting, and diarrhea. Other adverse effects that have
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been reported include: seizure, ataxia, dyspnea, abdominal pain, paresthesia, urticaria, and contact
dermatitis.

In case of accidental poisoning, supportive therapy, if indicated, should include parenteral fluids and
electrolytes, respiratory support (oxygen and mechanical ventilation if necessary) and pressor
agents if clinically significant hypotension is present. Induction of emesis and/or gastric lavage as
soon as possible, followed by purgatives and other routine anti-poison measures, may be indicated
if needed to prevent absorption of ingested material.

lvermectin Tablets Dosage and Administration

Strongyloidiasis
The recommended dosage of lvermectin Tablets for the treatment of strongyloidiasis is a single oral
dose designed to provide approximately 200 mcg of ivermectin per kg of body weight. See Table 1
for dosage guidelines. Patients should take tablets on an empty stomach with water (See CLINICAL
PHARMACOLOGY, Pharmacokinetics). In general, additional doses are not necessary. However,
follow-up stool examinations should be performed to verify eradication of infection (See CLINICAL
PHARMACOLOGY, Clinical Studies).


 Table 1: Dosage Guidelines for lvermectin Tablets for Strongyloidiasis


                Body Weight (kg}                                             Single Oral Dose
                                                                          Number of 3-mg Tablets


                     15 to 24                                                    1 tablet

                     25 to 35                                                    2 tablets


                     36 to 50                                                    3 tablets

                     51 to 65                                                    4 tablets


                     66 to 79                                                    5 tablets

                                                                                200 mcg/kg



Onchocerciasis
The recommended dosage of !vermectin Tablets for the treatment of onchocerciasis is a single oral
dose designed to provide approximately 150 mcg of ivermectin per kg of body weight See Table 2
for dosage guidelines. Patients should take tablets on an empty stomach with water (See CLINICAL
PHARMACOLOGY, Pharmacokinetics). In mass distribution campaigns in international treatment
programs, the most commonly used dose interval is 12 months. For the treatment of individual
patients, retreatment may be considered at intervals as short as 3 months.
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 Table 2: Dosage Guidelines for lvermectin Tablets for Onchocerciasis

               Body Weight (kg}                                           Single Oral Dose
                                                                        Number of 3-mg Tablets

                     15 to 25                                                  1 tablet

                     26 to 44                                                  2 tablets

                    45 to 64                                                   3 tablets

                    65 to 84                                                   4tablets

                                                                              150 mcg/kg



How is lvermectin Tablets Supplied
lvermectin Tablets USP, 3 mg are white, round, flat, bevel-edged tablets debossed with "806" on
one side and plain on the other side. They are supplied as follows:
NOC 42799-806-01 unit dose packages of 20.

Storage
Store at temperatures below 30°C (86°F).

Manufactured for:
Edenbridge Pharmaceuticals, LLC
Parsippany, NJ 07054

Rev. 01/14

PRINCIPAL DISPLAY PANEL .. 3 mg Tablet Carton
NOC 42799-806-01

lvermectin
Tablets USP

3mg

20 Tablets
{2 Foil Strips of 10 tablets each)

Rx Only

Edenbridge
Pharmaceuticals
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IVERMECTIN
ivermectin tablet


 Product Information

 Product Type                      HUMAN PRESCRIPTION         Item Code (Source)               NDC:42799-
                                   DRUG LABEL                                                  806

 Route of Administration           ORAL                       DEA Schedule



 Active Ingredient/Active Moiety

 Ingredient Name                                       Basis of Strength                 Strength

 IVERMECTIN (IVERMECTIN)                               IVERMECTIN                        3mg



 Inactive Ingredients

 Ingredient Name                                                                   Strength

 SILICON DIOXIDE

 CROSCARIIIIELLOSE SODIUM

 MAGNESIUM STEA.RATE

 MICROCRYSTALUNE CELLULOSE

 STARCH, CORN



 Product Characteristics

 Color                     WHITE                Score                              no score

 Shape                     ROUND                Size                               6mm

 Flavor                                         Imprint Code                       806

 Contains



 Packaging

 #   Item Code                             Package Description
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  1   NDC:42799~806-01                        2 BLISTER PACK in 1 CARTON

  1                                            10 TABLET in 1 BLISTER PACK




  Marketing Information

  Marketing               Application Number or Monograph        Marketing Start   Marketing End
  Category                Citation                               Date              Date

  ANDA                    ANDA204154                             11/15/2014




 labeler - Edenbridge Pharmaceuticals, LLC (948715060)



Edenbridge Pharmaceuticals, LLC

Frequently asked questions
  " Can lvermectin be used to treat COVtD-19?
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        MERCK


Media > Company statements > Company statement


Merck Statement on lvermectin use During the COVID-19
Pandemic

                                                                                                      Save



February 4, 202111:45 am ET


KENILWORTH, N.J., Feb. 4, 2021- Merck (NYSE: MRK), known as MSD outside the United States
and Canada, today affirmed its position regarding use of ivermectin during the COVID-19 pandemic.
Company scientists continue to carefully examine the findings of all available and emerging studies
of ivermectin for the treatment of COVID-19 for evidence of efficacy and safety. It is important to
note that, to-date, our analysis has identified:

    No scientific basis for a potential therapeutic effect against COVID-19 from pre-clinical studies;
    No meaningful evidence for clinical activity or clinical efficacy in patients with COVID-19
    disease, and;
    A concerning lack of safety data in the majority of studies.

We do not believe that the data available support the safety and efficacy of ivermectin beyond the
doses and populations indicated in the regulatory agency-approved prescribing information.

Indications and Usage for STROMECTOl® (ivermectin)

lvermectin is approved in the United States under the brand name STROMECTOL STROMECTOL is
indicated for the treatment of intestinal (i.e., nondisseminated) strongyloidiasis due to the
nematode parasite Strongyloides stercoralis and for the treatment of onchocerciasis due to the
nematode parasite Onchocerca volvulus.

STROMECTOL has no activity against adult Onchocerca volvulus parasites.

SELECTED SAFETY INFORMATION FOR STROMECTOL ® (ivermectin)

Contraindications

STROMECTOL is contraindicated in patients who are hypersensitive to any component of this
product.
                                                                                                  EXHIBIT I
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Warnings and Precautions

Patients treated with STROMECTOL for onchocerciasis may experience cutaneous and/or systemic
reactions of varying severity (the Mazzetti reaction) and ophthalmological reactions.

After treatment with microfilaricidal drugs, patients with hyperreactive onchodermatitis (sowda)
may be more likely than others to experience severe adverse reactions, especially edema and
aggravation of onchodermatitis.

Rarely, patients with onchocerciasis who are also heavily infected with Loa loa may develop a serious
or even fatal encephalopathy either spontaneously or following treatment with an effective
microfilaricide. In these patients, the following adverse experiences have also been reported: pain
(including neck and back pain), red eye, conjunctiva! hemorrhage, dyspnea, urinary and/or fecal
incontinence, difficulty in standing/walking, mental status changes, confusion, lethargy, stupor,
seizures, or coma. ln individuals who warrant treatment with ivermectin for any reason and have
had significant exposure to Loa Joa-endemic areas of West or Central Africa, pretreatment
assessment for loiasis and careful post-treatment follow-up should be implemented.

STROMECTOL should be taken on an empty stomach with water.

Strongyloidiasis: The patient should be reminded of the need for repeated stool examinations to
document clearance of infection with Strongyloides stercorafis.

Onchocerciasis: The patient should be reminded that treatment with STROMECTOL does not kill
the adult Onchocerca parasites, and therefore repeated follow-up and retreatment is usually
required.

Adverse Reactions

Strongyloidiasis

In four clinical studies involving a total of 109 patients given either one or two doses of 170 to 200
mcg/kg of STROMECTOL, the following adverse reactions were reported as possibly, probably, or
definitely related to STROMECTOL: Body as a Whole: asthenia/fatigue (0.9%), abdominal pain
(0.9%); Gastrointestinal: anorexia (0.9%), constipation (0.9%), diarrhea (1.8%), nausea (1.8%),
vomiting (0.9%); Nervous System/Psychiatric: dizziness (2.8%), somnolence (0.9%), vertigo
(0.9%), tremor (0.9%); Skin: pruritus (2.8%), rash (0.9%), and urticaria (0.9%).

Onchocerciasis

In clinical trials involving 963 adult patients treated with 100 to 200 mcg/kg STROMECTOL,
worsening of the following Mazzotti reactions during the first 4 days post-treatment were reported:
arthralgia/synovitis (9.3%), axillary lymph node enlargement and tenderness (11.0% and 4.4%,
respectively), cervical lymph node enlargement and tenderness (5.3% and 1.2%, respectively),
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inguinal lymph node enlargement and tenderness (12.6% and 13.9%, respectively), other lymph
node enlargement and tenderness (3.0% and 1.9%, respectively), pruritus (27.5%), skin involvement
including edema, papular and pustular or frank urticaria I rash (22. 7%), and fever (22.6%).

In clinical trials, ophthalmological conditions were examined in 963 adult patients before treatment,
at day 3, and months 3 and 6 after treatment with 100 to 200 mcg/kg STROMECTOL Changes
observed were primarily deterioration from baseline 3 days post-treatment. Most changes either
returned to baseline condition or improved over baseline severity at the month 3 and 6 visits. The
percentages of patients with worsening of the following conditions at day 3, month 3 and 6,
respectively, were: limbitis: 5.5%, 4.8%, and 3.5% and punctate opacity: 1.8%, 1.8%, and 1.4%. The
corresponding percentages for patients treated with placebo were: limbitis: 6.2%, 9.9%, and 9.4%
and punctate opacity: 2.0%, 6.4%, and 7.2%.

In clinical trials involving 963 adult patients who received 100 to 200 mcg/kg STROMECTOL, the
following clinical adverse reactions were reported as possibly, probably, or definitely related to the
drug in 31% of the patients: facial edema (1.2%), peripheral edema (3.2%), orthostatic hypotension
{1.1%), and tachycardia (3.5%). Drug-related headache and myalgia occurred in <1% of patients
(0.2% and 0.4% respectively).

The following ophthalmological side effects do occur due to the disease itself but have also been
reported after treatment with STROMECTOL: abnormal sensation in the eyes, eyelid edema,
anterior uveitis 1 conjunctivitis, limbitis, keratitis, and chorioretinitis or choroiditis. These have rarely
been severe or associated with loss of vision and have generally resolved without corticosteroid
treatment.

Drug Interactions

Post-marketing reports of increased INR (International Normalized Ratio) have been rarely reported
when ivermectin was co-administered with warfarin.

Use in Specific Populations

lvermectin should not be used during pregnancy since safety in pregnancy has not been established.

lvermectin is excreted in human milk in low concentrations.Treatment of mothers who intend to
breast-feed should only be undertaken when the risk of delayed treatment to the mother outweighs
the possible risk to the newborn.

Safety and effectiveness in pediatric patients weighing less than 15 kg have not been established.

Clinical studies of STROMECTOL did not include sufficient numbers of subjects aged 65 and over to
determine whether they respond differently from younger subjects.
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In immunocompromised (including HIV-infected) patients being treated for intestinal
strongyloidiasis, repeated courses of therapy may be required. Adequate and well-controlled clinical
studies have not been conducted in such patients to determine the optimal dosing regimen.

About Merck

For 130 years, Merck, known as MSD outside of the United States and Canada, has been inventing
for life, bringing forward medicines and vaccines for many of the world's most challenging diseases
in pursuit of our mission to save and improve lives. We demonstrate our commitment to patients
and population health by increasing access to health care through far-reaching policies, programs
and partnerships. Today, Merck continues to be at the forefront of research to prevent and treat
diseases that threaten people and animals - including cancer, infectious diseases such as HIV and
Ebola, and emerging animal diseases - as we aspire to be the premier research-intensive
biopharmaceutical company in the world. For more information, visit                      and connect
with us on Twitter, Facebook, !nstagram, You Tube and Unked!n.

Forward·looking Statement of Merck & Co., Inc., Kenilworth, N.J., USA

This news release of Merck & Co., Inc., Kenilworth, N.J., USA (the "company") includes "forward-
looking statements" within the meaning of the safe harbor provisions of the U.S. Private Securities
Litigation Reform Act of 1995. These statements are based upon the current beliefs and
expectations of the company's management and are subject to significant risks and uncertainties. If
underlying assumptions prove inaccurate or risks or uncertainties materialize, actual results may
differ materially from those set forth in the forward-looking statements.

Risks and uncertainties include but are not limited to, general industry conditions and competition;
general economic factors, including interest rate and currency exchange rate fluctuations; the
impact of the global outbreak of novel coronavirus disease (COVID-19); the impact of
pharmaceutical industry regulation and health care legislation in the United States and
internationally; global trends toward health care cost containment; technological advances, new
products and patents attained by competitors; challenges inherent in new product development,
including obtaining regulatory approval; the company's ability to accurately predict future market
conditions; manufacturing difficulties or delays; financial instability of international economies and
sovereign risk; dependence on the effectiveness of the company's patents and other protections for
innovative products; and the exposure to litigation, including patent litigation, and/or regulatory
actions.

The company undertakes no obligation to publicly update any forward-looking statement, whether
as a result of new information, future events or otherwise. Additional factors that could cause
results to differ materially from those described in the forward-looking statements can be found in
the company's 2019 Annual Report on Form 10-K and the company's other filings with the Securities
and Exchange Commission (SEC) available at the SEC's Internet site (www,sec.gov).
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Please see Prescribing Information for STROMECTOl at
https://www.merck.com/product/usa/pi_circufars/s/stromecto!/stromectol_pi.pdf.

Media Contact:

Patrick Ryan 973 275-7075

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Peter Dannenbaum 908 740-1037




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We are committed to providing leading innovations for today and the future that save and improve lives
around the world.




for patients and health care professionals



Corporate responsibility



About Merck



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Table 2c. lvermectin: Selected Clinical Data
Last Updated: July 19, 2021

The Panel has reviewed other clinical studies of !VM for the treatment of COVID-19. 1•16 However. those studies have limitations that make
them less definitive and informative than the studies discussed here. The studies summarized below are those that have had the greatest
impact on the Panel's recommendations.


     Study Design                         Methods                              Results                     Limitations and Interpretation

  lvermectin Versus Placebo for Treatment of Mild COVID-19 17

  Randomized,             Key Inclusion Criteria:                 Number of Participants:               Key Limitations:
  double-blind,           • Positive SARS-CoV-2 PCR               • IVM (n = 200) and placebo (n =      • Relatively small sample size
  placebo-controlled            result or positive antigen test     198) in primary analysis            • Primary endpoint was modified
  trial in Cali,                result                                                                    during the trial due to lower than
                                                                  Participant Characteristics:
  Colombia (n = 476)      • Symptoms began s7 days                                                        expected event rates.
                                                                  • Median age was 37 years; 4% of
                                prior to randomization                                                  • The first 65 patients received a
                                                                    patients in lVM arm and 8% in
                              • Mild disease (defined as                                                  placebo that smelled and tasted
                                                                    placebo arm were aged l::65
                                receiving outpatient or                                                   different from IVM.
                                                                    years.
                                inpatient care, but not                                                 • The study enrolled a younger.
                                                                  • 39% of patients in IVM arm and
                                receiving HFNC oxygen or                                                  healthier demographic than those
                                                                    45% in placebo arm were male.
                                mechanical ventilation)                                                   who typically experience more
                                                                  • 79% of patients had no known
                                                                                                          serious cases of COVID-19.
                          Key Exclusion Criteria:                   comorbidities; median BMI in
                                                                                                        • Study included 4 hospitalized
                              • Asymptomatic disease                both arms was 26.
                                                                                                          patients (out of 398).
                              • Severe pneumonia                  • Median time from symptom
                                                                                                        • The IVM dose used in this study was
                              • Receipt of IVM within               onset to randomization was 5
                                                                                                          higher than the dose that is usually
                                previous 5 days                     days {IQR 4-6 days).
                                                                                                          administered (IVM 200 µg/kg per
                              • Hepatic                           • 62% of patients in IVM arm and
                                                                                                          day).
                                dysfunction/abnormal liver          55% in placebo arm were not
                                function tests                      hospitalized and had no             Interpretation:

                                                                    limitations of activities at        • A 5-day course of IVM did not
                          Interventions:
                                                                    baseline {ordinal scale 1); 38%       improve time to resolution of
                              • Oral IVM 300 µg/kg per day in
                                                                    and 44% were not hospitalized         symptoms in patients with mild
                                solution for 5 days, taken
                                                                    but had some limitations on           COVto-19.
                                primarily on an empty
                                                                    activities. or they were
                                stomach
                                                                    receiving oxygen at home, or
                              • Placebo
                                                                    both (ordinal scale 2).

                          Primary Endpoints:                      • 1% of patients in both arms
                                                                    were hospitalized at baseline.
                              • Time from randomization to
                                resolution of symptoms            Primary Outcomes:
                                within the 21-day follow-up
                                                                  • No difference in time to
                                period. Resolution of
                                                                    resolution of symptoms (median
                                symptoms was defined as the
                                                                    10 days in IVM arm vs. 12 days in
                                first day a patient reported a
                                                                    placebo arm; HR 1.07; 95% Cl,
                                score of O (no clinical
                                                                     0.87-1.32; P = 0.53)
                                evidence of infection) on an
                                                                  • Symptoms resolved in 82% of
                                8-point ordinal scale.
                                                                    patients in IVM arm and 79% in
                                                                     placebo arm by Day 21.

                                                                  Other Outcomes:

                                                                                                                                          EXHIBIT J
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  Study Design                  Methods                              Results                    Limitations and Interpretation

                                                        • No significant difference
                                                          between arms in proportion of
                                                          patients who showed clinical
                                                          deterioration of 2'!2 points on the
                                                          ordinal scale (3.5% in IVM arm
                                                          vs. 2.0% in placebo arm;
                                                          absolute difference -1.5%; 95%
                                                          Cl, -4.8% to 1.7%)
                                                        • No significant difference
                                                          between arms in the odds of
                                                          improvement in ordinal scale
                                                          score and the proportion of
                                                          patients who sought medical
                                                          care or required escalation in
                                                          care.
                                                        • 8% of patients in IVM arm and
                                                          3% in placebo arm discontinued
                                                          treatment due to an AE. None of
                                                          the reported SAEs were
                                                          considered to be related to
                                                          study interventions.


lvermectin Versus lvermectin Plus Doxycycline Versus Placebo for Treatment of COVID-19 18
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  Study Design                      Methods                               Results                       limitations and Interpretation

Randomized,             Key Inclusion Criteria:              Number of Participants:                Key limitations:
double-blind,           • Aged 18-65 years                   • IVM (n = 24; 2 withdrew). IVM        • Small sample size
placebo-controlled      • Laboratory-confirmed SARS-           plus DOX {n = 24; 1 withdrew),       • Unclear whether both IVM and DOX
trial of hospitalized     CoV-2 infection with fever,          and placebo {n = 24; 1 withdrew)       placebos were used.
adults in Dhaka,          cough, or sore throat                                                     • Excluded patients with chronic
Bangladesh (n = 72)
                                                             Participant Characteristics:
                        • Admitted to hospital within                                                 diseases.
                                                             • Mean age was 42 years.
                          previous 7 days                                                           • Disease appears to have been mild in
                                                             • 54% of patients were female.
                                                                                                      all patients; thus. the reason for
                        Key Exclusion Criteria:              • Mean time from symptom onset
                                                                                                      hospitalization is unclear.
                        • Chronic cardiac, renal, or liver     to assessment was 3.83 days.
                                                                                                    • Absolute changes in inflammatory
                          disease                            • No patients required
                                                                                                      markers were not presented, but
                                                               supplemental oxygen.
                        Interventions:                                                                were reportedly significant.

                                                             Primary Outcomes:                      • PCR results are not a validated
                        • IVM 12 mg PO once daily for 5
                                                                                                      surrogate marker for clinical efficacy.
                          days                               • Shorter mean time to virologic
                        • Single dose of IVM 12 mg PO          clearance with IVM than              Interpretation:
                          plus DOX 200 mg PO on Day            placebo (9.7 days vs. 12.7 days;
                                                                                                    • A 5-day course of IVM resulted in
                          1, then DOX 100 mg every 12          P = 0.02), but not with IVM plus
                                                                                                      faster virologic clearance than
                          hours for 4 days                     DOX (11.5 days; P = 0.27).
                                                                                                      placebo, but not a faster time to
                        • Placebo                            • Rates of virologic clearance
                                                                                                      resolution of symptoms (fever, cough,
                                                               were greater in IVM arm at Day
                        Primary Endpoints:                                                            and sore throat). Because time to
                                                               7 (HR 4.1; 95% Cl, 1.1-14.7; P =
                                                                                                      virologic clearance is not a validated
                        • Time to virologic clearance,
                                                               0.03) and at Day 14 (HR 2.7;
                                                                                                      surrogate marker for clinical
                          measured by obtaining an NP
                                                               95% Cl, 1.2-6.0; P = 0.02)
                                                                                                      efficacy, the clinical efficacy of IVM
                          swab for SARS-CoV-2 PCR on
                                                               compared to placebo, but not in
                                                                                                      is unknown.
                          Days 3, 7, and 14, then weekly
                                                               the IVM plus DOX arm (HR 2.3;
                          until PCR result was negative
                                                               95% Cl, 0.6-9.0; P = 0.22 and
                        • Resolution of fever and cough
                                                               HR 1.7; 95% Cl, 0.8-4.0; P=
                          within 7 days
                                                               0.19).
                                                             • No statistically significant
                                                               difference in time to resolution
                                                               of fever, cough, or sore throat
                                                               between IVM and placebo arms
                                                               (P= 0.35, P= 0.18, and P= 0.35,
                                                               respectively) or IVM plus DOX
                                                               and placebo arms (P = 0.09, P =
                                                               0.23, and P = 0.09, respectively).

                                                             Other Outcomes:

                                                             • Mean values of CRP, LOH,
                                                               procalcitonin, and ferritin
                                                               declined in all arms from
                                                               baseline to Day 7, but there
                                                               were no between-arm
                                                               comparisons of the changes.
                                                             • No between-arm differences in
                                                               duration of hospitalization (P=
                                                               0.93).
                                                             • No SAEs recorded.
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   Study Design                      Methods                               Results                    Llmitations and Interpretation

Effectiveness and Safety of Adding lvermectin to Treatment in Patients With Severe COVI0-19 19

Randomized, single-   Key Inclusion Criteria:             Number of Participants:                  Key Limitations:

blind trial of        • Hospitalized with PCR-            • IVM (n = 36) and SOC (n = 30)          • Small sample size
hospitalized adults      confirmed SARS-CoV-2             • 6 participants in IVM arm were         • Time from symptom onset to
in Turkey (n" 66)        infection                              excluded after genotyping.           intervention was not reported.
                      • ;;,1 of the following severity                                             • Study used nonstandard severity
                                                          Participant Characteristics:
                         criteria:                                                                   classification for COVID-19.
                                                          • Mean age was 58 years in IVM
                         o Tachypnea (::e30                                                        • Primary endpoint was difficult to
                                                                arm and 66 years in SOC arm.
                            breaths/min), Sp0 2 <90%                                                 characterize; it was presented in the
                                                          • 70% of patients were male in
                            on RA, or Pa02/Fi02 <300                                                 Methods section as a composite
                                                                IVM arm and 63% were male in
                            mm Hg in patients who                                                    endpoint, but each component was
                                                                SOC arm.
                            were receiving oxygen                                                    analyzed separately.
                                                          • Comorbidities (IVM vs. SOC):
                         o Presence of "specific"                                                  • Power analysis performed for
                                                                OM (30% vs. 33%), HTN (50%
                            radiologic findings                                                      virologic endpoint, not primary
                                                                vs. 40%), CAD (17% vs. 27%)
                         o Mechanical ventilation                                                    endpoint.

                         o Acute organ dysfunction        Primary Outcome:                         • Only 57% of patients in IVM arm and
                                                                                                     27% in SOC arm were evaluated for
                                                          • Clinical improvement at Day 5:
                      Key Exclusion Criteria:
                                                                                                     VLchanges.
                                                                14 of 30 patients (46.7%) in IVM
                      • Aged <18 years
                                                                arm, 11 of 30 (36.7%) in SOC       Interpretation:
                      • Pregnant or breast feeding
                                                                arm (P = 0.43)
                      • Autoimmune disease                                                         • A 5-day course of !VM in hospitalized

                      • Chronic liver or kidney           Secondary Outcomes:                        patients with severe COVID-19 did

                         disease                                                                     not result in clinical improvement at
                                                          Between-Arm Comparisons at Day
                      • lmmunosuppression                                                            the end of treatment, and no
                                                          10:
                      • SNP mutation in                                                              reduction in mortality was observed.
                                                          • Clinical improvement: 73.3% in
                         MDR1/ABC81 gene and/or                                                    • Faster improvement of oxygenation
                                                                IVM arm, 53.3% in SOC arm (P
                         haplotypes and mutations of                                                 and more pronounced reduction in
                                                                =0.10)
                         the CYP3A4 gene (affects                                                    inflammatory markers were observed
                                                          • IVM vs. SOC arm SOFA score at
                         IVM metabolism and toxicity)                                                in IVMarm.
                                                                Day 10: P= 0.50

                      Interventions:                      • Mean SpOi 95.4% in IVM arm,
                                                                93.0% in SOC arm (P = 0.032)
                       • IVM 200 µg/kg per day for 5
                                                          • Mean Pa0 2 /Fi02: 236.3 mm Hg
                         days plus SOC (HCQ plus
                                                                in IVM arm, 220.8 mm Hg in
                         favipiravir plus AZM}
                                                                SOC arm (P = 0.39)
                      • SOCalone
                                                          • Serum CRP, ferritin, and D-
                      Primary Endpoint:                         dimer levels were lower in IVM
                      • "Clinical response" at Day 5:           arm than in SOC arm (P= 0.02,

                         extubation (in mechanically            P= 0.005, and P"' 0.03,
                         ventilated patients},                  respectively).

                         respiratory rate <26
                                                          Within-Group Changes from
                         breaths/min, Sp02 >90% on
                                                          Baseline:
                         RA, Pa02/Fi02 >300 mm Hg
                                                          • Change in SOFA score to Day
                         (if patient was receiving
                                                                10; P = 0.009 in IVM arm, P =
                         oxygen), presence of ~2 of
                                                                0.88 in SOC arm
                         the 2-point reduction criteria
                                                          • Mean changes in Sp02 to Day 5:
                         in SOFA
                                                                89.9% to 93.5% (P = 0.005) in
                      Key Secondary Endpoints:                  IVM arm, 89.7% to 93.0% (P =
                                                                0.003) in SOC arm
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   Study Design                      Methods             Mortality Durwls~i'Jjpw-Up Period:        limitations and Interpretation
                                                         • 6 patients {20%) in IVM arm and
                      • Clinical response at Day 10:
                                                           9 {30%) in SOC arm (P = 0.37).
                        respiratory rate 22 to 24
                                                         • Average length of follow-up
                         breaths/min, Sp0 2 >95% on
                                                           was 3 months.
                         RA, absence of oxygen
                         requirement, and no need for
                         intensive care
                      • Changes in Sp02, Pa02/Fi02,
                         and levels of CRP, ferritin,
                         and D-dimer
                      • Mortality


Chloroquine, Hydroxychloroquine, or lvermectin in Patients With Severe COV!D-19 20

Randomized,           Key inclusion Criteria:            Number of Participants:               Key limitations:
double-blind, Phase   • Hospitalized with laboratory-    • CQ (n = 61), HCQ (n = 54), and      • Small sample size
2 trial of               confirmed SARS-CoV-2              IVM (n=53)                          • No placebo control
hospitalized adults      infection (PCR or lgM                                                 • No clear primary endpoint
                                                         Participant Characteristics:
in Brazil (n = 168)      positive}
                                                         • Mean age was 53.4±15.6 years.       Interpretation:
                      • -,1 of the following severity
                                                         • 58.2% of patients were male.        • Use of IVM did not reduce risk of
                         criteria:
                                                         • 78.9% of patients were                oxygen requirement, ICU admission,
                         o Dyspnea
                                                           Hispanic.                             invasive mechanical ventilation, or
                         o Tachypnea (>30
                                                         • 37.5% of patients had a BMI           death in hospitalized patients with
                            breaths/min)
                                                           >30.                                  severe COVID-19.
                         o Sp02 <93%
                                                         • Most common comorbidities
                         o Pa02 /Fi02 <300 mm Hg
                                                           were HTN (43.4% of patients)
                         o Involvement of >50% of
                                                           and DM (28.1%).
                            lungs on CXR or CT
                                                         • On admission, 76.5% of
                      Key Exclusion Criteria:              patients had respiratory failure,

                      • Aged <18 years old                 and 42.5% had "pneumonic

                      • Cardiac arrhythmia, including      syndrome."

                         prolonged QT interval
                                                         Outcomes:
                      • Previous use of CQ, HCQ, or
                                                         • No differences between arms in
                         IVM for >24 hours
                                                           proportion of patients who
                      Interventions:                       required supplemental oxygen

                      • CQ 450 mg twice daily on           (88.5% in CQ arm, 90.2% in

                         Day 0, then CQ 450 mg once        HCQ arm, and 88.4% in IVM

                         daily for 4 days                  arm) or mean number of days of

                      • HCQ 400 mg twice daily on          supplemental oxygenation (7.9

                         Day 0, then HCQ 400 mg            vs. 7.8 vs. 8.1 days)

                         once daily for 4 days           • No differences between arms in

                      • IVM 14 mg once daily for 3         proportion of patients admitted

                         days followed by placebo for       to the ICU (22.4% in CQ arm,

                         2days                             21.1% in HCQ arm, and 28.0% in
                                                            IVM arm) or proportion of
                      Endpoints:
                                                           patients who received invasive
                      • Need for supplemental              mechanical ventilation (20.6%
                         oxygen, invasive mechanical       vs. 21.1% vs. 23.5%)
                         ventilation, or ICU admission   • No differences between arms in
                      • Mortality                           proportion of patients who were
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  Study Design                    Methods                               Results                      Limitations and Interpretation

                                                             receiving concomitant
                                                             medications, including steroids
                                                             and anticoagulants
                                                           • No differences between arms in
                                                             death due to COVID-19
                                                             complications (21.3% in CQ arm,
                                                             22.2% in HCQ arm, and 23.0%
                                                             inlVMarmj
                                                           • Baseline characteristics that
                                                             were associated with mortality
                                                             included age >60 years (HR
                                                             2.44; 95% Cl, 1.40-4.30), DM
                                                             (HR 1.87; 95% Cl, 1.02-2.59),
                                                             BMl >33 (HR 1.95; 95% Cl, 1.07-
                                                             3.09), and Sp0 2 <90% (HR 5.79;
                                                             95% Cl, 2.63-12.7).
                                                           • No difference in rates of AEs
                                                             between arms


lvermectin Versus Placebo for Outpatients With Mild COVID-19 21

Open-label RCT of      Key Inclusion Criteria:             Number of Participants:               Key limitations:
adult outpatients in   • SARS-CoV-2 PCR positive           • lVM (n = 25) and control (n = 25)   • Small sample size
Lahore. Pakistan (n    • Mild disease                                                            • Open-label study
                                                           Participant Characteristics:
::50)                                                                                            • Authors reported the proportions of
                       Key Exclusion Criteria:             • Mean age was 40.6 years.
                                                                                                   patients with certain symptoms and
                       • Severe symptoms likely            • 62% of patients were male.
                                                                                                   comorbidities but did not provide
                         related to cytokine storm         • 40% of patients had diabetes,
                                                                                                   objective assessment of disease
                       • Malignancy, chronic kidney          30% were smokers, 26% had
                                                                                                   severity. This precludes the ability to
                         disease, or cirrhosis               hypertension, 8% had
                                                                                                   compare outcomes between arms.
                       • Pregnancy                           cardiovascular disease, and
                                                                                                 • Study classified outcomes at Day 7
                                                             12% had obesity.
                       Interventions:                                                              as "symptomatic" and

                                                           Outcomes:                               "asymptomatic," but did not account
                       • IVM 12 mg PO immediately,
                                                                                                   for symptom worsening or
                         followed by 12 mg doses at 12     • Proportion of asymptomatic
                                                                                                   improvement.
                         and 24 hours, plus                  patients at Day 7 was similar in
                         symptomatic treatment               IVM and control arms (64% vs.       Interpretation:
                       • Symptomatic treatment               60%; P = 0.500).
                                                                                                 • IVM showed no effect on symptom
                                                           • AEs were attributed to IVM in 8
                       Primary Endpoint:                                                           resolution in patients with mild
                                                             patients (32%).
                                                                                                   COVID-19.
                       • Symptoms reported on Day 7.
                         Patients were stratified as
                         asymptomatic or
                         symptomatic.


lvermectin in Patients With Mild to Moderate COVI0-19 22
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  Study Design                   Methods                             Results                     Limitations and Interpretation

Open-label, single-   Key Inclusion Criteria:          Number of Participants:               Key Limitations:
center, RCT of        • Aged ;?18 years                 • !VM (n = 32) and SOC (n = 30)      • Open-label study
outpatients with      • Laboratory-confirmed SARS-                                           • Small study
                                                       Participant Characteristics:
laboratory-             CoV-2 infection                                                      • Study enrolled young patients with
confirmed SARS-                                         • 71% of patients were male.
                      • s7 days of symptoms                                                    mild disease who were unlikely to
CoV-2 infection in                                      • Mean age was 39.2 years (SD
                      • Mild or moderate disease                                               progress to severe COVlD-19.
Bangladesh (n =62)                                        12.1 years).
                      Key Exclusion Criteria:           • 81% of patients had mild           Interpretation:

                      • Hypersensitivity to IVM           disease and 19% had moderate       • Compared to SOC, use of IVM did not
                      • Pregnancy or breastfeeding        disease.                             lead to faster recovery from mild to
                      • Use of HCQ or ·other            • Study provided no information        moderate COVID-19.
                        antimicrobials"                   on comorbidities.                  • The small sample size and large
                                                                                               number of comparisons make it
                      Interventions:                   Outcomes:
                                                                                               difficult to assess the clinical
                      • Single dose of IVM 200 µg/kg    • Mean overall recovery time was
                                                                                               efficacy of IVM in this population.
                      • soc                               5.3 days (SD 2.5 days) in IVM
                                                          arm and 6.3 days (SD 4.2 days)
                      Primary Endpoint:
                                                          in SOC arm. The difference was
                      • Full recovery from all
                                                          not statistically significant.
                        symptoms
                                                          Time to resolution of fever,

                      Secondary Endpoint                  shortness of breath, and fatigue
                                                          were no shorter in IVM arm.
                      • Conversion to negative RT-
                                                        • Negative SARS-CoV-2 PCR
                        PCR at DaylO
                                                          result at Day 10: 18 of 20
                                                          patients (90%) in IVM arm, 19 of
                                                          20 {95%) in SOC arm.


lvermectin Plus Doxycycline Versus Hyclroxychloroquine Plus Azithromycin for Asymptomatic Patients and Patients With Mild to
Moderate COVI0-1923
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  Study Design                     Methods                               Results                    Limitations and Interpretation

RCT of outpatients      Key Inclusion Criteria:            Number of Participants:              Key Limitations:

with SARS-CoV-2         • Laboratory-confirmed SARS-       • Group A (n = 60) and Group 8 (n    • Small sample size
infection with or         CoV-2 infection by RT-PCR          ::56)                              • Open-label study
without symptoms        • SpOz.!95%                                                             • No SOC alone group
                                                           Participant Characteristics:
in Bangladesh (n =      • Normal or near-normal CXR                                             • Study enrolled young patients
116)                                                       • Mean age was 33.9 years.
                        • No unstable comorbidities                                               without major risk factors for disease
                                                           • 78% of patients were male.
This is a preliminary                                                                             progression.
                        Interventions                      • 91 of 116 patients (78.5%) were
report that has not                                                                             • None of the comparative outcome
                        Group A:                             symptomatic.
yet been peer                                                                                     measures were statistically
reviewed.               • A single dose of IVM 200                                                significant.
                                                           Outcomes:
                          µg/kg plus DOX 100 mg twice
                                                           • PCR became negative in 60 of       Interpretation:
                          daily for 10 days
                                                             60 patients (100%) in Group A
                                                                                                • In this small study with a young
                        GroupB:                              and in 54 of 56 patients (96.4%)
                                                                                                  population, the authors suggested
                        • HCQ 400 mg on Day 1, then          in Group 8.
                                                                                                  that IVM plus DOX was superior to
                          HCQ 200 mg twice daily for 9     • Mean time to negative PCR
                                                                                                  HCQ plus AZM despite no
                          days plus AZM 500 mg once          result: 8.93 days (range 8-13
                                                                                                  statistically significant difference in
                          daily for 5 days                   days) in Group A, 9.33 days
                                                                                                  time from recovery to negative PCR
                                                             (range 5-15 days) in Group B (P
                                                                                                  result and symptom recovery
                        Primary Endpoints:
                                                             =0.2314).
                                                                                                  between patients who received IVM
                        • Time to negative PCR result.     • Mean time to symptom
                                                                                                  plus DOX and those who received
                          Asymptomatic patients were         recovery: 5.93 days (range 5-10
                                                                                                  HCQ plus AZM.
                          tested starting on Day 5, then     days) in Group A, 6.99 days
                          every other day until a            (range 4-12 days) in Group B (P
                          negative result occurred.          =0.071).
                          Symptomatic patients were        • In a subgroup analysis of
                          tested on their second             patients who were symptomatic
                          symptom-free day, then every       at baseline, the mean time to
                          other day until a negative         negative PCR result for Groups
                          result occurred.                   A and 8 were 9.06 days and
                        • Time to resolution of              9.74 days, respectively (P"
                          symptoms                           0.0714).
                                                           • Patients who received IVM plus
                                                             DOX had fewer AEs than those
                                                             who received HCQ plus AZM
                                                             (31.7% VS, 46.4%) in the
                                                             subgroup analysis.


Antiviral Effect of High-Dose lvermectin in Adults with COVID-19 24

Multicenter,            Key Inclusion Criteria:            Number of Participants:              Key Limitations:

randomized, open•       • Laboratory-confirmed SARS-       • IVM {n = 30) and SOC (n = 15)      • Small sample size
label, blinded trial      CoV-2 infection                  • After excluding patients with      • No clinical response data reported.
of hospitalized         • Hospitalized                       poor sample quality, those         • The Cmax level of 160 ng/mL used in
adults with mild to     • S5 days of symptoms                without a detectable VL at           the analysis appears to be arbitrary.
moderate COVID-19                                            baseline, and those who
                        Key Exclusion Criteria:                                                 Interpretation:
in Argentina (n = 45)                                        withdrew, 32 patients (20 IVM,
                        • Use of immunomodulators or                                            • Concentration-dependent virologic
                                                             12 SOC) were included in the
                          any agent with potential anti-                                          response was seen when using a
                                                             viral efficacy analysis
                          SARS-CoV-2 activity prior to                                            higher-than-usual dose of IVM (600
                                                             population.
                          enrollment                                                              µg/kg vs. 200 or 400 µg/kg once
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  Study Design                   Methods                             Results                     limitations and Interpretation

                      • Poorly controlled               Participant Characteristics:            daily), with minimal associated
                        comorbidlties                   • Mean age was 42.3±12.8 years          toxicities.

                                                          in IVM arm and 38.1±11.7 years      • The study results showed large
                     Interventions:
                                                          in SOC arm.                           interpatient variation of IVM Cmax•
                      • IVM 600 µg/kg once daily
                                                        • 50% of patients were male in          Larger sample sizes a re needed to
                        plus SOC for 5 days
                                                          IVM arm and 67% were male in          further assess the safety and
                      • soc
                                                          SOC arm.                              efficacy of using higher doses of IVM

                     Primary Endpaint:                                                          to treat COVID-19.
                                                        Primary Outcomes:
                      • VL reduction at Day 5. VL was
                                                        • By Day 5, a similar magnitude
                        quantified by NP swab at
                                                          of VL reduction was seen in
                        baseline, then at 24, 48, and
                                                          both arms.
                        72 hours and Day 5.
                                                        Other Outcomes:
                     PK Sampling:
                                                        • Patients with higher IVM
                      • Performed 4 hours after dose
                                                          concentrations had greater
                        on Days 1, 2, 3, 5, and 7 to
                                                          reductions in VL (r 0.44; P <
                        assess elimination
                                                          0.04).
                                                        • Treated patients were divided
                                                          into 2 groups based on IVM
                                                          Cmax: IVM >160 ng/mL (median
                                                          of 202 ng/mL) and <160 ng/ml
                                                          (median of 109 ng/ml).

                                                          o Median percentage of VL

                                                             reduction by Cmax
                                                             concentration vs. control {P =
                                                             0.0096) was 72% (!QR 59%
                                                             to 77%) in >160 ng/mL group
                                                             (n = 9), 40% (!QR 21% to

                                                             46%) in <160 ng/mL group (n
                                                             = 11), and 42% (IQR 31% to
                                                             73%) in SOC arm.
                                                           o Median viral decay rate (P =

                                                             0.04} was 0.64 day·1 in >160
                                                             ng/mL group, 0.14 day·1 in
                                                             <160 ng/mL group, and 0.13
                                                             day·1 in SOC arm.

                                                        • Percentages of AEs were
                                                          similar between the arms (43%
                                                          in IVM arm, 33% in SOC arm),
                                                          and AEs were mostly mild.


Effect of Early Treatment With lvermectin Versus Placebo on Viral load, Symptoms, and Humoral Response in Patients With Mild
COVID-19 25
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   Study Design                     Methods                            Results                      limitations and Interpretation

A single-center,         Key inclusion Criteria:          Number of Participants:               Key !..imitations:
randomized, double-      • Laboratory-confirmed SARS-     • IVM (n = 12) and placebo (n = 12)   • Small sample size
blind, placebo-            CoV-2 infection                                                      • PCR is not a validated surrogate
                                                          Participant Characteristics:
controlled pilot trial   • S72 hours of symptoms                                                  marker for clinical efficacy.
in Spain (n = 24)                                         • Mean age was 26 years (range
                         • No risk factors for severe                                           • PCR cycle threshold values were
                                                            18-54 years).
                           disease or COVID-19                                                    higher for patients who received IVM
                                                          • 50% of patients were male.
                           pneumonia                                                              than those who received placebo at
                                                          • All patients had symptoms at
                                                                                                  some time points, but these
                         Interventions:                     baseline; 70% had headache,
                                                                                                  comparisons are not statistically
                         • Single dose of IVM 400 µg/kg     66% had fever, 58% had
                                                                                                  significant.
                         • Nonmatching placebo tablet       malaise, and 25% had cough.
                                                                                                • Symptom results were not a
                           administered by a nurse who    • Median onset of symptoms was
                                                                                                  prespecified outcome and are of
                           did not participate in the       24 hours in IVM arm and 48
                                                                                                  unclear statistical and clinical
                           patient's care                   hours in placebo arm.
                                                                                                  significance.

                         Primary Endpoint:                Outcomes:
                                                                                                Interpretation:
                         • Positive SARS-CoV-2 PCR        • At Day 7, 12 patients (100%) in
                                                                                                • Patients who received IVM showed
                           result from an NP swab at        both groups had a positive PCR
                                                                                                  no difference in viral clearance
                           Day 7 post-treatment             (for gene N), and 11 of 12 who
                                                                                                  compared to those who received
                                                            received IVM (92%) and 12 of 12
                                                                                                  placebo.
                                                            who received placebo (100%)
                                                                                                • The small sample size and large
                                                            had a positive PCR (for gene E);
                                                                                                  number of comparisons make it
                                                            P" 1.0 for both comparisons.
                                                                                                  difficult to assess the clinical
                                                          • In a post hoc analysis, the
                                                                                                  efficacy of IVM in this population.
                                                            authors reported fewer patient-
                                                            days of cough and anosmia in
                                                            the IVM-treated patients, but no
                                                            differences in the patient-days
                                                            for fever, general malaise,
                                                            headache, and nasal
                                                            congestion.


lvermectin Plus Doxycycline Plus Standard Therapy Versus Standard Therapy Alone in Patients With Mild to Moderate COVID-19 26
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   Study Design                    Methods                                Results                       Limitations and Interpretation

Randomized,             Key Inclusion Criteria:              Number of Participants:                Key limitations:
unblinded, single-      • Diagnosis by clinical,             • IVM plus DOX plus standard           • Notblinded
center study of           radiological, and PCR testing        therapy (n = 70} and standard        • Patient deaths prevent an accurate
patients with           • Outpatients had mild or              therapy alone (n = 70)                 comparison of mean recovery time
laboratory-               moderate COVID-19, while                                                    between arms in this study, and the
                                                             Participant Characteristics:
confirmed SARS-           inpatients had severe and                                                   authors did not account for
CoV-2 infection in                                           • Median age was 50 years in IVM
                          critical COVID-19.                                                          competing mortality risks.
Baghdad, Iraq (n =                                             arm and 47 years in standard
                                                                                                    • Relies heavily on post hoc subgroup
                        Interventions:                         therapy arm.
140)                                                                                                  comparisons.
This is a preliminary   • IVM 200 µg/kg PO daily for 2       • 50% of patients were male in
                                                                                                    • Substantial imbalance in disease
report that has not
                          days. Jf patient required more       IVM arm and 53% were male in
                                                                                                      severity at baseline
yet been peer
                          time to recover, a third dose        standard therapy arm.
                                                                                                    • Authors noted that critical patients
reviewed.
                          was given 7 days after the         • In IVM arm, 48 patients had
                                                                                                      were not assigned to standard
                          first dose, plus DOX 100 mg          mild or moderate COVID-19, 11
                                                                                                      therapy arm; thus, the arms were not
                          twice daily for 5-10 days plus       had severe COVID-19, and 11
                                                                                                      truly randomized.
                          standard therapy {based on           had critical COV!D-19.
                                                                                                    • Unclear how many patients required
                          clinical condition).               • In standard therapy arm, 48
                                                                                                      corticosteroids.
                        • Standard therapy was based           patients had mild or moderate
                          on clinical condition and            COVID-19, 22 had severe
                          included AZM,                        COVID-19, and no patients had
                                                                                                    Interpretation:
                          acetaminophen, vitamin C,            critical COVID-19.
                                                                                                    • IVM may shorten the time to recovery
                          zinc, vitamin 03,
                                                             Outcomes:                                for patients with mild or moderate
                          dexamethasone 6 mg daily or
                                                             • Mean recovery time in IVM arm          disease, but the lack of control for
                          methylprednisolone 40 mg
                                                               was 10.1 days (SD 5.3 days) vs.        competing mortality causes in the
                          twice daily if needed, and
                                                               17.9 days (SD 6.8 days) for            study limits the ability to interpret
                          oxygen or mechanical
                                                               standard therapy arm (P <              the results.
                          ventilation if needed.
                                                               0.0001). This result was only
                        • All critically ill patients were
                                                               significant for those with mild
                          assigned to receive IVM plus
                                                               to moderate disease.
                          DOX.
                                                             • Disease progression occurred in
                                                               3 of 70 patients (4.3%) in IVM
                                                               arm and 7 of 70 (10.0%) in
                                                               standard therapy arm {P = 0.19)
                                                             • 2 of 70 patients (2.85%) in JVM
                                                               arm and 6 of 70 (8.57%) in
                                                               standard therapy arm died (P =
                                                               0.14)


lvermectin in Patients With Mild to Moderate COVID-19 27

Double-blind RCT in     Key Inclusion Criteria:              Number of Participants:                Key limitations:
patients with mild to   • Aged ~18 years                     • ITT analysis (safety): IVM 24 mg     • Small sample size
moderate COVID-19       • Positive SARS-CoV-2 RT-PCR            {n = 51), IVM 12 mg (n = 49), and
                                                                                                    Interpretation:
in India (n = 157)         or antigen test                     placebo {n "' 52)
                                                                                                    • Though the rate of negative RT-PCR
                        • Nonsevere COVID-19 (defined        • mlTT analysis (included only
                                                                                                       results was numerically higher in the
                           as Sp0 2 >90% on RA and no           those with positive NP/OP RT•
                                                                                                       !VM arms than in the placebo arm on
                          hypotension or need for               PCR result): IVM 24 mg (n = 40),
                                                                                                       Day 5, the result was not statistically
                           mechanical ventilation)              lVM 12 mg (n = 40), and placebo
                                                                                                       significant.
                                                                (n=45)
                        Key Exclusion Criteria:
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  Study Design        • CrCl <3°t&YJB!fs                                Results                   Limitations and Interpretation

                                                          • 64% of patients had mild           • No difference in clinical outcomes or
                      • Transaminases >5 times ULN
                                                            disease (including                   frequency of AEs.
                      • Ml or heart failure in previous
                                                            asymptomatic disease) and
                         90 days
                                                            36% had moderate disease
                      • QTc interval >450 ms
                      • Severe comorbidity                Participant Characteristics:
                                                          • Mean age was 35.5 years (SD
                      Interventions
                                                            10.4 years).
                      • Single dose of IVM 24 mg in
                                                          • 88.8% of patients were male.
                         alcohol-based elixir prepared
                                                          • Mean BMI was 25.
                         by pharmacy
                                                          • Median duration of symptoms
                      • Single dose of same elixir
                                                            was similar between the arms
                         with IVM 12 mg
                                                            (5 days; IQR 3-7 days).
                      • Single dose of same elixir
                                                          • 10% of patients received
                         without lVM (placebo)
                                                            concurrent antivirals (RDV.
                      Primary Endpoint:                     favipiravir, or HCQ). No

                      • Reduction of SARS-CoV-2 VL          difference in use of antivi rats

                         as measured by NP and OP           between arms.

                         swab at Day5
                                                          Primary Outcomes:
                      • Conversion to negative RT-
                                                          • Proportion of patients with
                         PCR at Day5
                                                            negative RT-PCR result on Day

                      Key Secondary Endpoints;              5: 47.5% in IVM 24 mg arm,

                      • Qualitative and quantitative        35.0% in IVM 12 mg arm, and

                         RT-PCR on Days 3 and 7             31.1% in placebo arm (P = 0.30)

                      • Time to cUnical resolution        • VL at enrollment did not impact

                      • Frequency of clinical               conversion to negative RT-PCR

                         worsening                          on Day 5.

                      • Clinical status at Day 14         • No significant difference in VL

                      • Number of hospital-free days        decline by Day 5 between the

                         at Day 28                          arms
                                                          • No difference in VL decline in
                                                            the mild or moderate disease
                                                            strata at Day 5

                                                          Secondary Outcomes:

                                                          • No difference between arms in
                                                            mean time to symptom
                                                            resolution or number of
                                                            hospital-free days at Day 28
                                                          • Proportions of patients with
                                                            clinical worsening were similar
                                                            across the arms: 7.5% in IVM 24
                                                            mg arm, 5.0% in IVM 12 mg arm,
                                                            and 11.1% in placebo arm (P =
                                                            0.65)
                                                          • No difference between arms in
                                                            frequency of A Es or SAEs


Efficacy and Safety of lvermectin and Hydroxych!oroquine in Patients With Severe COVI0-19 28
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   Study Design                     Methods                            Results                     limitations and Interpretation

Randomized,             Key Inclusion Criteria:            Number of Participants:             Key Limitations:

double-blind trial of
hospitalized adults
                        • laboratory-confirmed SARS-       • HCQ (n = 33), IVM {n = 36), and   • Smallstudy
with COVID-19
                          CoV-2 infection                    placebo (n = 37)
pneumonia in                                                                                   • length of follow-up period is unclear.
                        • Pneumonia, diagnosed by
Mexico (n = 106)                                           Participant Characteristics:        • The study was stopped prior to
                          CXR or high-resolution chest
This is a preliminary                                      • Mean age was 53 years {SD 16.9      achieving its target sample size.
                          CT scan
report that has not                                          years).
                        • Recently established                                                 Interpretation:
yet been peer                                              • 62% of patients were male.
                          hypoxemic respiratory failure                                        • In hospitalized patients with COVID-
reviewed.                                                  • 34% of patients had diabetes,
                          or deterioration of pre-                                               19 pneumonia who were not critically
                                                             32% had hypertension, and
                          existing lung or heart disease                                         ill, neither IVM nor HCQ decreased
                                                             72% had any comorbidity.
                                                                                                 the number of in-hospital days, rate
                        Key Exclusion Criteria:            • Mean BMI was 29.6 (SD 6.6).
                                                                                                 of respiratory deterioration, or
                        • Receipt of HFNC oxygen or
                                                           Outcomes:                             mortality.
                          invasive mechanical
                                                           • Median time to discharge due      • The small sample size and large
                          ventilation
                                                             to recovery was 7 days (IQR 3-9     number of comparisons make it
                        • Patients with QT intervals
                                                             days) in HCQ arm, 6 days {IQR       difficult to assess the clinical
                          ~soo ms were not eligible tor
                                                             4-11 days) in IVM arm, and 5        efficacy of IVM in this population.
                          HCQ but were eligible for
                                                             days {!QR 4-7 days) in placebo
                          IVM.
                                                             arm. The differences between
                        Interventions:                       arms were not statistically
                        • HCQ 400 mg twice daily on          significant.
                          Day 1, then HCQ 200 mg/kg        • Proportion of patients
                          twice dally for 4 days             discharged alive: 79% in HCQ
                        • Single dose of IVM 12 mg (in       arm, 75% in IVM arm, and 73%
                          patients weighing ,s80 kg) or      in placebo arm
                          18 mg (in those weighing >80     • Mortality: 6% of patients in
                          kg) plus calcium citrate for       HCQ arm, 14% in IVM arm, and
                           subsequent doses                  16% in placebo arm
                        • Calcium citrate placebo

                        Primary Endpoint:

                        • Time to discharge due to
                           recovery


lvermectin as Adjunctive Therapy to Hospitalized Patients With COVID-19 29
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   Study Design                       Methods                            Results                      Limitations and Interpretation

Randomized,               Key Inclusion Criteria:           Number of Participants:               Key Limitations:
double-blind,             • Symptoms suggestive of          • All 6 arms (n = 30 in each arm)     • Small study
placebo-controlled,         COVID-19 pneumonia, with                                              • Power estimation is confusing.
                                                            Participant Characteristics:
multicenter, Phase 2        chest CT compatible with                                              • Mortality was not listed as the
clinical trial of                                           • Average age was 56 years
                            mild to severe COVID-19 or                                              primary or secondary outcome.
hospitalized adults                                           {range 45-67 years).
                            positive RT-PCR result for                                            • It is unclear whether IVM patients
with mild to severe                                         • 50% of patients were mate.
                            SARS-CoV-2                                                              also received HCQ.
SARS-CoV-2                                                  • Disease stratification (based on
                                                                                                  • It is unclear whether the between-
                          Key Exclusion Criteria:             CT findings): negative (1%), mild
infection in 5                                                                                      group comparisons are between
facilities in Iran (n =   • Severe immunosuppression,         {14%), moderate (73%), and
                                                                                                    combined IVM groups and placebo
180)                        malignancy, or chronic kidney     severe (12%)
                                                                                                    plus SOC.
                            disease                         • Mean SpOg at baseline was
This is a preliminary                                                                             • Patients were stratified by disease
report that has not       • Pregnancy                         89%.
                                                                                                    severity based on CT findings. These
yet been peer                                                                                       categorizations are unclear and were
reviewed.                                                                                           not taken into account in outcome
                          Interventions:                    Primary Outcomes:
                                                                                                    comparisons.
                          • HCQ 200 mg/kg twice daily       • Durations of hypoxemia and          • The post hoc grouping of randomized
                            alone as SOC (standard arm}       hospitalization were shorter in       arms raises risk of false positive
                          • SOC plus 1 of the following:      IVM arms than placebo arm (P =        findings.
                             o Placebo                        0.025 and P = 0.006,
                                                                                                  Interpretation:
                            o Single dose of IVM 200          respectively), and mortality was
                                                              tower in the IVM arms {P=           • IVM appeared to improve laboratory
                                 µg/kg
                                                              0.001).                               outcomes and some clinical
                             o   IVM 200 µg/kg on Days 1,
                                                            • There was no difference in            outcomes (shorter duration of
                                 3,and 5
                                                              number of days of tachypnea {P        hypoxemia and hospitalization) and
                             o Single dose of IVM 400
                                                              = 0.584) or return to normal          lowered mortality.
                                 µg/kg
                                                              temperature (P = 0.102).            • The small size of the study, the
                            o IVM 400 µg/kg on Day 1,
                                                            • Significant differences in            unclear treatment arm assignments,
                                 then IVM 200 µg/kg on
                                                              change from baseline to Day 5         and the lack of accounting for
                                 Days 3and 5
                                                              in absolute lymphocyte count,         disease severity at baseline make it
                          Primary Endpoint:                                                         difficult to draw conclusions about
                                                              platelet count, erythrocyte
                          • Clinical recovery within 45       sedimentation rate, and CRP.          the efficacy of using IVM to treat
                            days of enrollment (defined     • Higher mortality was reported         patients with mild COVID-19.
                            as normal temperature,            in standard and placebo arms
                            respiratory rate, and Sp0 2       than IVM arms.
                            >94% for 24 hours)


Retrospective Analysis of lvermectin in Hospitalized Patients With COVID-19 30
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  Study Design                    Methods                             Results                   Limitations and Interpretation

Retrospective          Key Inclusion Criteria:          Number of Participants:              Key Limitations:
analysis of            • Positive NP swab with SARS-    • IVM (n = 173; 160 patients         • Not randomized
consecutive              CoV-2 RNA                        received a single dose, 13         • Little to no information on Sp02 or
patients with                                             patients received a second           radiographic findings
                       Interventions:
laboratory-                                               dose) and usual care (n =103)      • Timing of therapeutic interventions
confirmed SARS-        • Single dose of IVM 200
                                                                                               was not standardized.
                         µg/kg, repeated on Day 7 at    Participant Characteristics:
CoV-2 infection who                                                                          • Ventilation and hospitalization
were admitted to 4       the doctors' discretion; 90%   • Mean age was 60.2 years in IVM
                                                                                               duration analyses do not appear to
Florida hospitals (n     of patients also received        arm and 58.6 years in usual
                                                                                               account for death as a competing
=276)                    HCQ.                             care arm.
                                                                                               risk.
                       • Usual care: 97% of patients    • 51.4% of patients were mate in
                                                                                             • No virologic assessments were
                         received HCQ and most also       IVM arm and 58.8% were male
                                                                                               performed.
                         received AZM.                    in usual care arm.
                                                        • 56.6% of patients were Black in    Interpretation:
                       Primary Endpoint:
                                                          lVM arm and 51.4% were Black       • IVM use was associated with lower
                       • All-cause, in-hospital
                                                          in usual care arm.                   mortality than usual care. However,
                         mortality
                                                                                               the limitations of this retrospective
                                                        Outcomes:
                                                                                               analysis make it difficult to draw
                                                        • All-cause mortality was lower in
                                                                                               conclusions about the efficacy of
                                                          IVM arm than in usual care arm
                                                                                               using IVM to treat patients with
                                                          (OR 0.27; 95% Cl, 0.09-0.80; P
                                                                                               COVID-19.
                                                          = 0.03); the benefit appeared to
                                                          be limited to the subgroup of
                                                          patients with severe disease.
                                                        • No difference in median length
                                                          of hospital stay between arms
                                                          {7 days for both) or proportion
                                                          of mechanically ventilated
                                                          patients who were successfully
                                                          extubated (36% in IVM arm vs.
                                                          15% in usual care arm: P =0.07).


Observational Study on the Effectiveness of Hydroxychloroquine, Azithromycln, and lvermectin Among Hospitalized Patients With
COVID-19 31
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  Study Design                     Methods                             Results                      limitations and Interpretation

Retrospective           Key Inclusion Criteria:            Number of Participants:              Key I.imitations:
cohort study of         • Aged ~18 years                   • HCQ or CQ alone (n = 200), IVM     • Not randomized
hospitalized adults     • Symptomatic                        alone (n = 203), AZM alone (n =    • Unclear whether all patients received
with COVID-19 in        • Laboratory-confirmed SARS-         1,600), HCQ or CQ plus AZM (n =      IVM or other medications according
Peru (n = 5,683)          CoV-2 infection                    692), IVM plus AZM (n = 358),        to Peruvian guidelines referred to in
This is a preliminary   • No life-threatening illness at     and SOC (n = 2,630)                  the manuscript.
report that has not       admission                                                             • Dosing and timing of administration
                                                           Participant Characteristics:
yet been peer                                                                                     are unclear.
                        Key Exclusion Criteria:            • 63% of patients were male.
reviewed.
                        • Required oxygen at               • Mean age was 59.4 years            Interpretation:

                          admission                          (range 18-104 years).              • Compared to SOC, IVM alone was
                        • Use of tocilizumab, LPV /RTV,    • All patients had mild or             associated with increased risk of
                          orRDV                              moderate disease.                    death and/or ICU admission. Using
                                                                                                  IVM in combination with AZM was
                        Interventions:                     Outcomes:
                                                                                                  not associated with effects on
                        • One of the following             • Median follow-up time was 7
                                                                                                  mortality, ICU transfer, or oxygen
                          interventions administered         days. Mortality rate was 18.9%
                                                                                                  prescription compared to SOC.
                          within 48 hours of admission:      at the end of follow-up.

                          o HCQ or CQ alone                • IVM alone was associated with
                          o IVM alone                        increased risk of death and/or
                          o AZM alone                        ICU transfer compared to SOC
                          o HCQ or CQ plus AZM               (wHR 1.58; 95% Cl, 1.11-2.25).
                          o IVM plus AZM                   • IVM plus AZM did not have an
                          o SOC (e.g., supportive care,      effect on deaths or any
                             antipyretics, hydration)        secondary outcomes (all-cause
                                                             death and/or ICU transfer, all•
                        Primary Endpoint:
                                                             cause death and/or oxygen
                        • AU-cause mortality
                                                             prescription) compared to SOC.

                        Secondary Endpoint:                • HCQ or CQ plus AZM was
                                                             associated with a higher risk of
                        • All-cause mortality and/or
                                                             death (wHR 1.84; 95% Cl, 1.12-
                          transfer to ICU
                                                             3.02), death and/or ICU transfer
                                                             (wHR 1.49; 95% Cl, 1.01-2.19),
                                                             and death and/or oxygen
                                                             prescription (wHR 1.70; 95% Cl,
                                                             1.07-2.69) compared to SOC.


Retrospective Study of lvermectin Versus Standard of Care in Patients With COVI0-19 32
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  Study Design                     Methods                            Results                     limitations and Interpretation

Retrospective study     Key Inclusion Criteria:          Number of Participants:              Key limitations:
of consecutive adult    • Aged ~18 years                 • NM {n = 115) and SOC (n = 133)     • Not randomized
patients                • Positive NP swab with SARS·                                         • Disease severity at admission was
                                                         Participant Characteristics:
hospitalized in           CoV-2 RNA                                                             reported as mild or moderate, but
Bangladesh with                                          • Median age in IVM arm was 34
                        • "Free from any other serious                                          12% of patients in lVM arm and 9% in
laboratory-                                                years; 70% of patients were
                          pathological conditions"                                              SOC arm had Sp02 <94%
confirmed SARS·                                            male.
                                                                                              • Even though only 10% of patients
                        Interventions:                   • Median age in SOC arm was 35
CoV-2 infection (n =                                                                            developed pneumonia, 60% received
248)                    • Single dose of IVM 12 mg         years; 52% of patients were
                                                                                                antibiotics.
This is a preliminary     within 24 hours of hospital      male.
                                                                                              • Possibility of harm from concomitant
                          admission                      • All patients had mild or
report that has not                                                                             medications
yet been peer•          • soc                              moderate disease.
                                                         • 12% of patients had                Interpretation:
reviewed.
                                                           hypertension in both arms.         • Compared to SOC, IVM use was
                        Primary Endpoint:                • 17% of patients in IVM arm and       associated with faster rates of viral

                        • Not specified                    12% in SOC arm had DM.               clearance and better clinical
                                                                                                outcomes, including shorter hospital
                                                         Outcomes:
                                                                                                stay and lower mortality.
                                                         • Fewer patients in IVM arm had

                                                           evidence of disease progression
                                                           compared to SOC arm (P <
                                                           0.001): moderate respiratory
                                                           distress (2.6% vs. 15.8%),
                                                           pneumonia (0% vs. 9.8%),

                                                           ischemic stroke (0% vs. 1.5%).
                                                         • Fewer patients in IVM arm
                                                           required intensive care
                                                           management compared to SOC
                                                           arm (0.9% vs. 8.8%; P < 0.001).
                                                         • Fewer patients in IVM arm
                                                           required antibiotic therapy
                                                           (15.7% vs. 60.2%; P < 0.001) or

                                                           supplemental oxygen (9.6% vs.
                                                           45.9%; P < 0.001) compared to
                                                           SOC arm.

                                                         • Shorter median duration of viral
                                                           clearance in IVM arm compared
                                                           to SOC arm (4 vs. 15 days; P <
                                                           0.001).

                                                         • Shorter median duration of
                                                           hospital stay in IVM arm

                                                           compared to SOC arm (9 vs. 15
                                                           days; P < 0.001)
                                                         • Lower mortality in IVM arm
                                                           compared to SOC arm (0.9% vs.
                                                           6.8%; P < 0.05)
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   Study Design                       Methods                           Results                      limitations and Interpretation

Key: AE = adverse event; AZM = azithromycin; BM!= body mass index; CAD= coronary artery disease; Cmax = maximum concentration; CQ
= chloroquine; CrCI = creatinine clearance; CRP = C-reactive protein; CT= computed tomography; CXR = chest X-ray; CYP = cytochrome
P450; DM = diabetes mellitus; DOX = doxycycline; HCQ"' hydroxychloroquine; HFNG = high-flow nasal cannula; HTN = hypertension; ICU
= intensive care unit; lg= immunoglobulin; ITT= intention-to-treat; !VM = ivermectin; LDH = lactose dehydrogenase; LPV/RTV =
lopinavir/ritonavir; MDR1 = multidrug resistance mutation 1; Ml= myocardial infarction; mlTT = modified intention-to-treat; NP=
nasopharyngeal; OP= oropharyngeal; the Panel= the COVID-19 Treatment Guidelines Panel; Pa0 2 /Fi02 = ratio of arterial partial pressure
of oxygen to fraction of inspired oxygen; PCR =polymerase chain reaction; PK = pharmacokinetic; PO= orally; r"" correlation coefficient;
RA= room air; RCT = randomized controlled trial; RDV = remdesivir; RT-PCR = reverse transcriptase polymerase chain reaction; SAE=
severe adverse event; SNP = single-nucleotide polymorphism; SOC= standard of care; SOFA - sequential organ failure assessment; Sp0 2
= oxygen saturation; ULN = upper limit of normal; VL = viral load




    www.covid19trnatmentguide1ines.nih.gov

    An official website of the N<!tigm1l ln§titutes gf Heeltb
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                                                informed decisions.
                                                Better health.




 lvermectin for preventing and treating COVID-19

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Is ivermectin effective for COVH>-191

Key messages


We found no evidence to support the use of ivermectin for treating or preventing COVID-19 infection, but the
evidence base is limited.


Evaluation of ivermectin is continuing in 31 ongoing studies, and we will update this review with their results
when they become available.


What is ivermectin?


lvermectin is a medicine used to treat parasites such as intestinal parasites in animals and scabies in humans. It is
cheap and is widely used in regions of the world where parasitic infestations are common. It has few unwanted
effects.


Tests in the laboratory show ivermectin can slow the reproduction of the COVID-19 {SARS-CoV-2) virus but such
effects would need major doses in humans. Medical regulators have not approved ivermectin for COVID-19. It
should only be used as part of well-designed studies (called randomized controlled trials) evaluating potential
effects.


What did we want to find out?

We wanted to know if ivermectin reduces death, illness, and length of infection in people with COVID-19, or is
useful in prevention of the disease. We included studies comparing the medicine to placebo (dummy treatment),
no treatment, usual care, or treatments for COVID-19 that are known to work to some extent, such as remdesivir

                                                                                                       EXHIBITK
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or dexamethasone. We excluded studies that compared ivermectin to other drugs that do not work, such as
hydroxychloroquine, or that are not known to be effective against COVID-19.


We evaluated the effects of ivermectin in infected people on:


- people dying;
- whether people's COV!D-19 symptoms got better or worse;
- unwanted effects;
- hospital admission or time in hospital;
- viral clearance.


For prevention, we sought the effect on preventing COVID-19 and SARS-CoV-2 infection.


What did we do?


We searched for randomized controlled trials that investigated ivermectin to prevent or treat COVID-19 in
humans. People being treated with ivermectin had to have laboratory-test confirmed COVID-19 and be receiving
treatment in hospital or as outpatients.


We compared and summarized the results of the studies and rated our confidence in the evidence, based on
common criteria as to how reliable the evidence is.


What did we find?

We found 14 studies with 1678 participants that investigated ivermectin compared to no treatment, placebo, or
usual care.


For treatment, there were nine studies of people with moderate COVID-19 in hospital and four of outpatients with
mild COVID-19. The studies used different doses of ivermectin and different durations of treatment.


One study investigated ivermectin to prevent COVID-19.


We also found 31 ongoing studies, and there are 18 studies still requiring clarification from the authors or not yet
published.


Main results


Treating people in hospital with COVID-19

We don't know whether ivermectin compared with placebo or usual care, 28 days after treatment:


- leads to more or fewer deaths (2 studies, 185 people);
- worsens or improves patients' condition assessed by need for ventilation (2 studies, 185 people) or oxygen (1
study, 45 people);
- increases or reduces unwanted events (1 study, 152 people).
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Seven days after treatment, we don't know if ivermectin:


- increases or reduces negative COV!D-19 tests (2 studies, 159 people).


lvermectin compared to placebo or usual care may make little or no difference to improving patients' condition
28 days after treatment (1 study, 73 people) or to length of hospital stay (1 study, 45 people).


Treating outpatients with COVID-19

We don't know whether ivermectin compared with placebo or usual care:


- leads to more or fewer deaths 28 days after treatment (2 studies, 422 people);
- worsens or improves patients' condition 14 days after treatment assessed by need for ventilation (1 study, 398
people);
- increases or reduces negative COVID-19 tests seven days after treatment (1 study, 24 people}.


lvermectin compared to placebo or usual care may make little or no difference to improving outpatients'
condition 14 days after treatment (1 study, 398 people) or to the number of unwanted events 28 days after
treatment (2 studies, 422 people).


No studies looked at hospital admissions in outpatients.


Preventing COVll)-19

We don't know whether ivermectin leads to more or fewer deaths compared with no drug (1 study, 304 people);
no participant died 28 days after the drug. This study reported results for development of COVID-19 symptoms
(but not confirmed SARS-CoV-2 infection) and unwanted events, but in a way that we could not include in our
analyses. This study did not look at hospital admissions.


What are the limitations of the evidence?

Our confidence in the evidence is very low because we could only include 14 studies with few participants and
few events, such as deaths or need for ventilation. The methods differed between studies, and they did not report
everything we were interested in, such as quality of life.


How up to date is this evidence?

The evidence is up to date to 26 May 2021.




  Authors' conclusions:


  Based on the current very low- to low-certainty evidence, we are uncertain about the efficacy and safety of
  ivermectin used to treat or prevent COVID-19. The completed studies are small and few are considered high
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quality. Several studies are underway that may produce dearer answers in review updates. Overall, the
reliable evidence available does not support the use of ivermectin for treatment or prevention of COVID-19
outside of well-designed randomized trials.




Background:


lvermectin, an anti parasitic agent used to treat parasitic infestations, inhibits the replication of viruses in
vitro. The molecular hypothesis of ivermectin's antiviral mode of action suggests an inhibitory effect on
severe acute respiratory syndrome coronavirus 2 {SARS-CoV-2) replication in the early stages of
infection. Currently, evidence on efficacy and safety of ivermectin for prevention of SARS-CoV-2 infection
and COVID-19 treatment is conflicting.




Objectives:


To assess the efficacy and safety of ivermectin compared to no treatment, standard of care, placebo, or any
other proven intervention for people with COVID-19 receiving treatment as inpatients or outpatients, and for
prevention of an infection with SARS-CoV-2 (postexposure prophylaxis).




Search strategy:


We searched the Cochrane COVID-19 Study Register, Web of Science (Emerging Citation Index and Science
Citation Index), medRxiv, and Research Square, identifying completed and ongoing studies without
language restrictions to 26 May 2021.




Selection criteria:

We included randomized controlled trials (RCTs) comparing ivermectin to no treatment, standard of care,
placebo, or another proven intervention for treatment of people with confirmed COVID-19 diagnosis,
irrespective of disease severity, treated in inpatient or outpatient settings, and for prevention of SARS-CoV-2
infection.


Co-interventions had to be the same in both study arms.


We excluded studies comparing ivermectin to other pharmacological interventions with unproven efficacy.
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Data coHection and analysis:


We assessed RCTs for bias, using the Cochrane risk of bias 2 tool. The primary analysis excluded studies with
high risk of bias. We used GRADE to rate the certainty of evidence for the following outcomes l. to treat
inpatients with moderate-to-severe COVID-19: mortality, clinical worsening or improvement, adverse
events, quality of life, duration of hospitalization, and viral clearance; 2. to treat outpatients with mild
COVID-19: mortality, clinical worsening or improvement, admission to hospital, adverse events, quality of
life, and viral clearance; {3) to prevent SARS-CoV-2 infection: SARS-CoV-2 infection, development of COVID-19
symptoms, adverse events, mortality, admission to hospital, and quality of life.




Main results:


We found 14 studies with 1678 participants investigating ivermectin compared to no treatment, placebo, or
standard of care. No study compared ivermectin to an intervention with proven efficacy. There were nine
studies treating participants with moderate COVID-19 in inpatient settings and four treating mild COVID-19
cases in outpatient settings. One study investigated ivermectin for prevention of SARS-CoV-2 infection. Eight
studies had an open-label design, six were double-blind and placebo-controlled. Of the 41 study results
contributed by included studies, about one third were at overall high risk of bias.


lvermectin doses and treatment duration varied among included studies.


We identified 31 ongoing and 18 studies awaiting classification until publication of results or clarification of
inconsistencies.


lvermectin compared to placebo or standard of care for inpatient COVID-19 treatment

We are uncertain whether ivermectin compared to placebo or standard of care reduces or increases
mortality (risk ratio (RR) 0.60, 95% confidence interval (Cl) 0.14 to 2.51; 2 studies, 185 participants; very low-
certainty evidence) and clinical worsening up to day 28 assessed as need for invasive mechanical ventilation
(IMV) (RR 0.55, 95% Cl 0.11 to 2.59; 2 studies, 185 participants; very tow-certainty evidence) or need for
supplemental oxygen (O participants required supplemental oxygen; 1 study, 45 participants; very low-
certainty evidence), adverse events within 28 days {RR 1.21, 95% Cl 0.50 to 2.97; 1 study, 152 participants;
very low-certainty evidence), and viral clearance at day seven (RR 1.82, 95% Cl 0.51 to 6.48; 2 studies, 159
participants; very low-certainty evidence). lvermectin may have little or no effect compared to placebo or
standard of care on clinical improvement up to 28 days (RR 1.03, 95% Cl 0.78 to 1.35; 1 study; 73 participants;
low-certainty evidence) and duration of hospitalization (mean difference (MD) -0.10 days, 95% Cl -2.43 to
2.23; 1 study; 45 participants; low-certainty evidence). No study reported quality of life up to 28 days.


lvermectin compared to placebo or standard of care for outpatient covm~19 treatment

We are uncertain whether ivermectin compared to placebo or standard of care reduces or increases
mortality up to 28 days (RR 0.33, 95% Cl 0.01 to 8.05; 2 studies, 422 participants; very low-certainty evidence)
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     and clinical worsening up to 14 days assessed as need for IMV (RR 2.97, 95% Cl 0.12 to 72.47; 1 study, 398
     participants; very low-certainty evidence) or non-lMV or high flow oxygen requirement (0 participants
     required non-lMV or high flow; 1 study, 398 participants; very low-certainty evidence). We are uncertain
     whether ivermectin compared to placebo reduces or increases viral clearance at seven days (RR 3.00, 95% C!
     0.13 to 67.06; 1 study, 24 participants; low-certainty evidence). lvermectin may have little or no effect
     compared to placebo or standard of care on the number of participants with symptoms resolved up to 14
     days (RR 1.04, 95% Cl 0.89 to 1.21; 1 study, 398 participants; low-certainty evidence) and adverse events
     within 28 days (RR 0.95, 95% Cl 0.86 to 1.05; 2 studies, 422 participants; low-certainty evidence). None of the
     studies reporting duration of symptoms were eligible for primary analysis. No study reported hospital
     admission or quality of life up to 14 days.


     ivermedin compared to no treatment for prevention of SARS-CoV~l infection

     We found one study. Mortality up to 28 days was the only outcome eligible for primary analysis. We are
     uncertain whether ivermectin reduces or increases mortality compared to no treatment (O participants died;
     l study, 304 participants; very low-certainty evidence). The study reported results for development of COVID-
     19 symptoms and adverse events up to 14 days that were included in a secondary analysis due to high risk of
     bias. No study reported SARS-CoV-2 infection, hospital admission, and quality of life up to 14 days.




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   Popp M, Stegemann M, Metzendorf M-I, Gould S, Kranke P, Meybohm P, Skoetz N, Weibel S. lvermectin for preventing and treating
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                         Our meta-analysis of survival for ivermectin had to be
                         retracted after one of the main studies was suspected
                         of medical fraud. With the revised version, there is no
                         statistically significant survival benefit for ivermectin.
                         So the original version should not be quoted



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   Meta-analysis of randomized trials of ivermectin to treat SARS-CoV-2 infection



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   Abstract




   lvermectin is an antiparasitic drug being investigated for repurposing against SARS-CoV-2.
   lvermectin showed in-vitro activity against SARS-COV-2 at high concentrations. This meta-
   analysis investigated ivermectin in 24 randomized clinical trials (3328 patients) identified
   through systematic searches of PUBMED, EMBASE, MedRxiv and trial registries. lvermectin
   was associated with reduced inflammatory markers (C-Reactive Protein, d-dimer and ferritin)
   and faster viral clearance by PCR. Viral clearance was treatment dose- and duration-
   dependent In 11 randomized trials of moderate/severe infection, there was a 56% reduction
   in mortality (Relative Risk 0.44 [95%C! 0.25-0.77); p=0.004; 35/1064 (3%) deaths on
   ivermectin; 93/1063 (9%) deaths in controls) with favorable clinical recovery and reduced
   hospitalization. Many studies included were not peer reviewed and a wide range of doses
   were evaluated. Currently, WHO recommends the use of ivermectin only inside clinical trials.
   A network of large clinical trials is in progress to validate the results seen to date.




   Keywords: SARS-CoV2, COVID-19, lvermectin, Repurposed




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   Introduction




   The SARS-CoV-2 pandemic continues to grow, with over 350,000 new infections and over
   7,000 deaths recorded worldwide daily in May 2021 [1]. Protective vaccines have been
   developed, but current supplies are too low to cover worldwide demand in the coming
   months [2]. Researchers worldwide are urgently looking for interventions to prevent new
   infections, or prevent disease progression, and lessen disease severity for those already
   infected.




   While research on new therapeutic agents for COVID-19 is key, there is also great interest in
   evaluating the potential of already existing medicines against COVID-19, and many clinical
   trials are in progress to 're-purpose' drugs normally indicated for other diseases. The known
   safety profiles, shortened development timelines, and well-established markets (with low
   price points and higher capacity to deliver at scale} for most of the already existing
   compounds proposed for COVID-19 are particularly advantageous compared to new drug
   discovery in a pandemic situation. Three re-purposed anti-inflammatory drugs have shown
   significant survival benefits to date: the corticqsteroid dexamethasone in the UK
   RECOVERY trial [3], and the lnterleukin-6 (fl-6) receptor antagonist drugs, tocilizumab and
   sarilumab, in the REMAP-CAP trial and RECOVERY trial [4,5]. Other re-purposed
   antimicrobials such as, hydroxychloroquine, lopinavir/ritonavir, rerndesivir and interferon-
   beta, have shown no significantsurvival benefit in two large, randomized trials [3, 6] despite
   initial reports of efficacy, underscoring the need for caution when interpreting early clinical
   trial data.


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   Dexamethasone is recommended for use by the WHO and has proven survival benefits for
   oxygen-dependent patients with COVID-19, while tocilizumab and sarilumab improve
   survival for patients in intensive care [3, 4]. Preliminary data suggest that nitazoxanide and
   budesonide may have a role in mild infection {7,8]. However, there are no approved
   treatments for patients with mild SARS-CoV-2 infection, either to prevent disease
   progression or reduce viral transmission. Treatments increasing viral clearance rate may
   reduce the risk of onward transmission but this requires empirical demonstration.




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   lvermectin is a well-established anti-parasitic drug used worldwide for a broad number of
   parasites and also for topical use against rosacea. Antiviral activity of ivermectin has been
   demonstrated recently for SARS-CoV-2 in Vero/hSLAM cells [9J. However, concentrations
   required to inhibit viral replication in-vitro (EC50=2.2 - 2.8µM; EC 90=4.4µM) are not achieved
   systemically after oral administration of the drug to humans [9, 10].




   The drug is estimated to accumulate in lung tissues (2.67 times that of plasma} [11J, but this
   is also unlikely to be sufficient to maintain target concentrations for pulmonary antiviral
   activity [10, 12]. Notwithstanding, ivermectin is usually present as a mixture of two agents
   and although mainly excreted unchanged in humans, has two major metabotites{13].
   Current data are insufficient to determine whether the minor form or a circutating metabolite
   has higher direct potency against SARS-CoV-2, but it seems likely that it would need to be
   profoundly more potent than the reported values.




   lvermectin has also demonstrated immunomodulatory and anti-inflammatory mechanisms of
   action in preclinical models of several other indications. In-vitro studies have demonstrated
   that ivermectin suppresses production ofthe inflammatory mediators nitric oxide and
   prostaglandin E2 [14]. Furthermore, avermectin (from which ivermectin is derived)
   significantly impairs pro-inflammatory cytokine secretion (IL-1(3 and TNF-a) and increases
   secretion of the immunoreguiatory cytokine IL-10 [15]. lvermectln also reduced TNF-a, IL-1,
   and IL-6, and improved sutvivalin mice given a lethal dose of lipopolysaccharide [16].
   Preclinical evidence to support these immunomodulatory and anti-inflammatory mechanisms
   of action have also been generated in murine models [17, 18]. Finally, in Syrian golden
   hamsters infected with SARS-CoV-2, subcutaneous ivermectin demonstrated a reduction in
   the IL-6/IL~10 ratio in lung tissues. In this study, ivermectin also prevented pathological           0
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   deterioration [19]. Ultimately, various potential mechanisms of action for ivermectin against
   COV!D19 exist and are undergoing further investigation, as recently summarised in a review
   article {20].




   At standard doses, of 0.2-0.4mg/kg for 1-2 days, ivermectin has a good safety profile and
   has been distributed to billions of patients worldwide in mass drug administration programs.
   A recent meta-analysis found no significant difference in adverse events in those given

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   higher doses of ivermectin, of up to 2mg/kg, and those receiving longer courses, of up to 4
   days, compared to those receiving standard doses (21]. lvermectin is not licensed for
   pregnant or breast-feeding women, or children <15kg. The WHO Guidelines Group found
   that in 16 RCTs with 2407 participants ivermectin improved mortality outcomes compared
   with control but rated the quality of available evidence as low or very low [22]. Currently, the
   WHO does not recommend the use of ivermectin outside clinical trials.




   The objective of this systematic review and meta-analysis was to combine available results
   from new published or unpublished randomized trials of ivermectin in SARS-CoV-2. infection
   to inform current guidelines.

   Methods


   The systematic review and meta-analysis was conducted according to PRISMA guidelines.
   A systematic search of PUBMED and EMBASE was conducted to identify randomized
   control trials (RCTs) evaluating treatment with ivermectin for SARS-CoV-2 infected
   patients. Clinical trials with no control arm, or those evaluating prevention of infection were
   excluded alongside non-randomized trials and case-control studies. Key data extracted
   included baseline characteristics (age, sex, weight, oxygen saturation, stage of infection),
   changes in inflammatory markers, viral suppression after treatment, clinical recovery,
   hospitalization and survival. Data were extracted and cross-checked by two independent
   reviewers (HW and LE).



   Search strategy and selection criteria

   RCTs were eligible for inclusion if they compared an ivermectln-based regimen with a
                                                                                                          0
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   comparator or standard of care (SOC) for the treatment of SARS-CoV-2 infection. PRISMA
   checklist, PRISMA flow diagram, the search terms, and inclusion/exclusion criteria used are
   detailed in Supplementary Figure 1, Supplementary Tables 1, 2 and 3.




   Registry databases were searched up until the 12th of May 2021. Clinicaltrials.gov [23] was
   searched using key words COVID, SARS-CoV-2 and ivermectin to identify studies. The
   WHO International Clinical Trials Registry Platform (ICTRP) was accessed via the COVID-
   NMA Initiative's mapping tool (24] and Stanford University's Coronavirus Antiviral Research
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   Database (CoV-RDB) [25} to identify additional trials listed on other national, and
   international registries. literature searches via PubMed, Embase, and the preprint servers
   MedRxiv and Researchsquare were conducted to identity published studies. Duplicate
   registrations, non-randomised studies and prevention studies were excluded following
   discussion between the authors.




   Additionally, the research teams conducting unpublished clinical trials were contacted and
   requested to join regular international team meetings from December 2020 to May 2021. All
   results available from eligible unpublished studies were also included in this systematic
   review.




   All of the clinical trials included in this meta-analysis were approved by local ethics
   committees and all patients gave Informed consent.


   The primary outcome was all-cause mortality from randomization to the end of follow-up.
   Secondary outcomes included time to viral clearance, PCR negativity at day 7, clinical
   recovery, time to clinical recovery, mechanical ventilation, duration of hospitalization and
   number of hospitalizations. Changes in inflammatory markers, viral suppression, clinical
   recovery and hospitalization were also summarized tor individual trials where endpoints
   could not be combined.




   Data analysis

   Statistical analyses for all-cause mortality, time to viral clearance and clinical recovery were
                                                                                                      g
   conducted using published data summaries. For the mortality outcome, clinical trials with at       0
                                                                                                      tv

   least one death reported were included in this analysis. Furthermore, any hospitalization
   within 12 hours of randomization was excluded. Treatment effects were expressed as risk
   ratios (RR) for binary outcomes and mean difference (MD) for continuous outcomes. For
   each outcome, we pooled the Individual trial statistics using the random•effects inverse-
   variance model; a continuity correction of 0.5 was applied to treatment arms with no deaths.
   Heterogeneity was evaluated by /2. The significance threshold was set at 5% (two-sided) and
   all analyses were conducted using Revman 5.3. A funnel plot for the mortality outcome was


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   created to assess publication bias and small study effects; the p-value was estimated from
   the regression-based Harbord test for small study effects.




   All studies included in this analysis were assessed for risk of bias using the Cochrane
   Collaboration risk of bias standardized assessment tool [26]. The outcome of this
   assessment is given in Supplementary Table 3. Each study was assessed for risk of bias for
   the primary endpoint, viral load, and survival outcomes. The primary endpoint in the trials
   tended to be clinical recovery which is more subjective and likely to be influenced by
   knowledge of treatment arms. An assessment was also carried out on more objective
   endpoints including survival and viral load which are less likely to be influenced by this bias.
   Where information was not available in published papers, clinical trial investigators were
   proactively contacted to inform the risk bias analysis.




   Results

   24 RCTs involving a total of 3328 participants were included in this meta-analysis. The
   sample sizes of each trial ranged from 24 to 400participants. Of the 24 included studies,
   eight were published papers, nine were available as pre-prints, six were unpublished results
   shared for this analysis, and one reported results via a trial registry website.




   Overall, nine trials investigate<i ivermectin as a single dose (Table 1A) [27-35], 15 trials
   investigated multi-day dosing up to seven days (Table 1B) [36-50] , of which four trials were
   dose-ranging [28,39, 46, 48j. In the included trials, ivermectin was largely investigated in
   mild/moderate participants (15 trials). Overall, i8 trials were either single or double-blinded
                                                                                                         0
   and six were open~label.                                                                              :::,




   Evaluation of Studies.

   An evaluation of the quality of the studies included in this meta-analysis was conducted
   according to the Cochrane Collaboration tool to assess the risk of bias across the following
   outcomes: primary endpoints, viral load, and survival. For the primary outcome assessment,
   6/24 (25%) studies were assessed as high risk of bias [Supplementary table 3A]. However,
   in assessments of more objective outcomes, including viral load and mortality, the number of
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   high risk studies was lower. In the PCR assessment, 3/15 (20%) of the studies were
   assessed as high risk (Supplementary Table 3BJ. In the survival assessment, 1/11 (9%) of
   the studies were assessed as high risk of. [Supplementary Table 3CJ.




   Effects on Inflammatory Markers

   Five trials provided results of the effect of ivermectin on inflammatory markers including C-
   reactive protein (CRP), ferritin and d-dimer (Table 2). Four of these trials demonstrated
   significant reductions in CRP compared to control. Furthermore, in the Elgazzar trial {36J,
   ivermectin significantly reduced ferritin levels compared to control in the severe patient
   population while no significant difference was demonstrated in the mild/moderate population.
   The Okumus trial [4 7} showed significantly greater reductions in ferritin on day 10 of follow-
   up for ivermectin versus control. The Chaccour [35] and Ahmed{46} trfafs showed no
   significant difference in ferrltin count between ivermectin and contra¼. Elgazzar [36} showed
   significant differences in d-dimer between ivermectin and control in both the mild/moderate
   and severe populations. Okumus [47] showed significant differences ind-dimer on day 5
   whilst Chaccour [35J found no significant differences in ct-dimer between ivermectin and
   control, but with a smaller sample size.

   Effects on Viral Clearance




   Three different endpoints were used to analyze viral clearance: the percentage of patients
   undetectable on a set day (Table 3A), the number of days from randomization to negativity
   (Table 38), and other measures such as cycle time (Ct) values and dose-response
   correlations (Table 30). The Kirti {431 and Okumus [47] trials included viral load analysis only
   in a subset of patients. The effects of ivermectin on viral clearance were generally smaller
   when dosed on onfy one day. Several studies showed no statistically significant effect of
   ivermectin on viral clearance [28, 29, 34].




   The three studies randomizing patients to different doses or durations of ivermectin showed
   apparent dose-dependent effects on viral clearance. First, in the Babalola trial (n=60) [48},
   the 0Amg/kg dose showed trends for faster viral clearance than the 0.2mg/kg dose. Second,
   in the Mohan trial (n=125) [28J, the 0.4 mg/kg dose of ivermectln led to a numerically higher

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   percentage of patients with viral clearance by day five than the 0.2mg/kg dose. Third, in the
   Ahmed trial (n=72) [46], ivermectin treatment for five days led to a higher percentage of
   patients with viral clearance at day 13 compared with one day of treatment. Finally, in
   Krolewiecki (n=45) [50], PK/PD correlations showed significantly faster viral clearance for
   patients with PK exposures above 160ng/mL.




   The effect of ivermectin on viral clearance was most pronounced in the randomized trials
   evaluating doses of up to five days of ivermectin using doses of 0.4mg/kg. At these doses,
   there were statistically significant effects on viral clearance in all four randomized trials. In a
   meta-analysis of viral clearance with subgroups of dose duration, there were significant
   differences in time to viral clearance in favour of ivermectin (Mean Difference -3.00 days
   [95%CI -4.96, -1.03}; p=0.003, Figure 1A]. In a sensitivity analysis excluding high risk of bias
   studies, similar effects of ivermectin on time to viral clearance were seen [Supplementary
   Figure 2). Furthermore, in another analysis, ivermectin showed improved viral clearance at
   day 7 (Relative Risk 1.35 [95%CI 1.05-1. 75]; p=0.02, Figure 1B].




   Effects on Clinical Recovery and Duratfon.ofHospitalizatlon

   Definitions of clinical recovery varied across trials, as shown in Table 4. In Table 4A, three of
   the six trials showed significanUy faster time to clinical recovery on ivermectin compared to
   control. In four trials, ivermectin showed significantly shorter duration of hospitalization
   compared to control (Table. 48).

   In a meta-analysis of plin~I recovery with subgroups of dose duration, there were
   significant differences mtime to clinical recovery in favour of ivermectin (Mean Difference -
   1.58 days f95%CJ..2.80, -0.35); p=0.01, Figure 1CJ. Additionally, ivermectin showed a 29%
   improvement in clinical recovery in an analysis with subgroups of dose duration (RR 1.29
   [95%CI 'L12-1.47]; p=0.0003, Figure 1D].




   lvermectin demonstrated a shorter duration of hospitalization compared to control (Mean
   Difference -4.27 days [95%CI -8.60-0.06]; p=0.05, Figure 1E). lvermectin was not associated
   with a lower risk of hospitalization compared to control (RR 0.40 [95%CI 0.14-1.08]; p=0.07,
   Figure 1F). However, this analysis involved only four trials in 704 participants. In a sensitivity

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   analysis including any hospitalization within 12 hours of randomization, there were
   significantly fewer hospitalisations compared to control (RR 0 .32 [95%CI 0.13-0.80]; p=0.0 1,
   Supplementary Figure 3).




   Effects on Survival

   11 randomized trials reported that at least one person had died post-randomization and
   were included in the analysis (Table 5). Across these 11 trials in 2127 patients, there were
   35/1064 {3%) deaths in the ivermectin arms, versus 93/1063 (9%) deaths in the control
   arms. In a combined analysis using inverse variance weighting, ivermectin showed a 56%
   reduction in mortality (RR 0.44 [95%CI 0.25-0.77]; p=0.004, Figure 1G). Heterogeneity was
   moderate, 12 = 43%. There was a 70% improvement in survival in the subgroup of
   mild/moderate participants (RR 0.30 [95%CI 0.15-0.58]; p=0.0004). The total number of
   deaths was small, the analysis was based on 128 deaths and there was no significant
   difference between ivermectin and control in the severe subgroup (0.58 [95%CI 0.25-1.32};
   p=0.19).




   Consistent results were observed in an analysis excluding high risk of bias studies (RR 0.45
   (95%CI 0.24-0.82); p=0.01, Supplementary Figure 4). When only low risk of bias studies
   were included this result was also maintained (RR 0.31 [95%CI 0.10-0.90]; p=0.03,
   Supplementary Figure 5).




   Additional subgroup analysis of the mortality outcome with trials separated by dose-duration,
   blinding and control group showed consistent survival benefit and no significant subgroup
   differences were found (Supplementary Figures 6, 7 and 8).

   A leave-one-out sensitivity analysis was performed and no single study had a substantial
   effect on the overall effect size (Supplementary Table 4).




   A funnel plot for the mortality outcome showed no significant effects of publication bias: the
   treatment effects were similar in studies of different sizes, p== 0.618 (Supplementary Figure
   9).

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   lvermectin was not associated with lower risk of mechanical ventilation (RR 0.97 [95%CI
   0.57-1.67]; p=0.92, Figure 1H]. However, this estimate was based on five studies in 641
   participants including only 49 events.




   Discussion



   This systematic review and meta-analysis of 24 RCTs (n = 3328) showed ivermectln
   treatment reduces inflammatory markers, achieves viral clearance more quickly and
   improves survival compared with SOC. The effects of ivermectin on viral clearance were
   stronger for higher doses and longer durations of treatment. These effects were seen
   across a wide range of RCTs conducted in several different countries.




   The results from this analysis have emerged from the International lvermectin Project Team
                                                   ..       .
   meetings between December 2020 and May 2021. Independent research teams were
   conducting the trials across 16 countries and agreed to share their data, which was often
   unpublished, to accelerate the speed of reporting and to ensure their fragmented research,
   widespread across the world, could contribute to global learning. Viral clearance was
   evaluated by Polymerase Chain Reaction (PCR) assays in all the studies. We have only
   included randomized clinicaltriats in this meta-analysis. The 24 RCTs included were
   designed and conducted independently, with results combined in May 2021. However each
   individual trial was small and a wide range of population types included. Clinical recovery
   definitions differed between trials and there were no significant differences on survival in
   severe participants.                                                                                0
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   Secondary Endpoints

   Secondary endpoints for some RCTs included biomarkers of disease severity. Some of
   these provide evidence for an anti-inflammatory mechanism of action of ivermectin in SARS-
   CoV-2 infected patients. Previous meta-analyses have demonstrated that high levels of
   CRP, ferritin, d-dimer and lymphocytopenia are related to COVID-19 severity and hyper-
   inflammation {51, 52]. Studies of ll-6 receptor antagonists have been shown to reduce CRP
   and d-dimer levels in patients with COVID-19 [5}.

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    lvermectin may also have a role in short-term prevention of SARS-CoV-2 infection,
    suggested by pilot studies [53, 54]. This potential benefit also needs to be validated in larger
   randomized trials.




    Mechanism of action




   At the time of writing, knowledge gaps prevent a robust conclusion about the mechanism of
    action of ivermectin. lvermectin's broad-spectrum anti-viral effects have been proposed to be
    related to its impact on the NF-KB pathway and via binding to the host cell importin a/~ 1
    heterodimer, nuclear transport proteins responsible for nuclear entry of cargoes, and these
    effects in turn also prevent viral replication.




   As discussed in the introduction, the current in-vitro EC50 estimates (2.2µ, 2.4µM and 2.8µM
    depending on gene assay analyzed by RT-qPCR) are still 35 times higher than plasma
    concentrations following normal oral dosing. Even doses 8.5x fold the FDA recommended
    200µg/kg of 1.7mg/kg only reach plasma concentrations of 0.28µM [55}. The increased
    bioavailability in the fed state and higher concentrations seen in lung tissue compared to
    plasma is still below the current published EC50 results.




    However, EC5o results can vary greatly depending on lab methodology; eel! lineage, viral
    quantification methods, the strain of the virus cultured and the Multiplicity of infection used.
   This is an established phenomenon: viral polymorphisms of influenza demonstrated a 5-fold
   variation in EC 50 of different neuraminidase assays that looked at the susceptibility of field
   isolates of influenza virus against oseltamivir [56]. Specifically in SARS-CoV-2, ECs0s for
   previously repurposed drugs have varied significantly. Remdesivir, now licensed for SARS-
    CoV-2, performed > 10 fold better in hACE2 augmented A549 cells (0.115 µM) than Vero E6
   (1.2BµM) [57]. whereas other examples of repurposed drugs like sofosbuvir demonstrated
   over 10-fo!d variation in EC50 when used in Vero E6 cells versus HUH7 [58]. Consequently,
   the EC50 so far demonstrated for ivermectin against SARS-CoV-2 should be interpreted with
    caution as it is unlikely to be one set value and liable to change depending on the lab
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    methodology used. In vitro assays for ivermectin should be repeated for different cell types
    using different measures of activity.




    limitations

    A key limitation to this meta-analysis is the comparability of the data, with studies differing in
    dosage, treatment duration, and inclusion criteria. Furthermore, the standard of care used in
    the control arm differed between trials. In this meta-analysis, trials that used active controls
    such as hydroxychloroquine or lopinavir/ritonavir were combined together with those that
    used placebo or standard care. However, lopinavir/ritonavir and hydroxychloroquine have
    shown no overall benefit or harm in large randomized trials and meta-analyses. [7, 59-61)
    Furthermore, additional analyses in this paper separating trials by subgroups of standard
    care/ placebo and active control showed no significant difference between groups.




    Another limitation is that ivermectin was given in combination with doxycycline in three trials.
    Individual trials may not have power to detect treatment effects on rare endpoints such as
    survival. Outcome measures were not standardized; viral clearance was measured in most
    trials, but at different time points and with different PCR cycle thresholds. The reliability of
    PCR tests for quantification purposes has been the subject of substantive debate. Most
    studies were conducted in populations with only mild/moderate infection and some trials
    excluded patients with multiple comorbidities.




    For open label studies, there is a risk of bias in the evaluation of subjective endpoints such
    as clinical recovery and hospital discharge. However, the risk is lower for objective endpoints
    such as viral clearance and survival. We have attempted to control for publication bias by
    contacting each research team conducting the trials directly. This has generated more
    results than would be apparent from a survey of published clinical trials only but means that
    many of the included trials have not been peeMeviewed. Review and publication of RCTs
    generally takes three to six months. It has become common practice for clinical trials of key
    COVID-19 treatments to be evaluated from pre-prints, such as for the WHO SOLIDARITY,
    RECOVERY and REMAP-CAP trials [4,5, 7J.




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    These RCTs have been conducted in a wide range of countries, often in low-resource
    conditions and overburdened healthcare systems. larger RCTs are currently underway in
    Spain, South America, Africa and North America, with results from an additional 5000
    participants expected in Summer 2021 (Supplementary Table 5).




    Despite limitations, this analysis suggests a dose and duration-dependent impact of
    ivermectin on rate of viral clearance. These trials evaluated a wide range of ivermectin
    dosing, from 0.2mg/kg for 1 day to 0.6mg/kg for 5 days. This wide range of doses allowed an
    estimation of dose•dependency on viral clearance but reduces the number of patients
    included that were consistently administered the same dose for the same duration. The
    maximum effective dose of ivermectin is not yet clear and new clinical trials are evaluating
    higher doses, up to 1.2mg/kg for 5 days.




    The 56% survival benefit seen in this meta-analysis is based on 128 deaths, in 11 different
    clinical trials. This is a smaller total number of deaths than the RECOVERY trial, which led to
    the approval of dexamethasone and is based on 1592 deaths. However, the observed
    survival benefit of 56% in ivermectin is stronger than for other repurposed drugs, requiring a
    smaller sample size to be demonstrated. Emerging mortality results from larger studies of
    ivermectin will require careful evaluation and may change the conclusions from the current
    analysis.




    Several other repurposed medications have shown promise in early smaller trials for
    example sofosbuvir/daclatasvir, colchicine and remdesivir but the benefit was not seen later
    in larger trials. This meta-analysis of 24 RCTs in 3328 patients showed a 56% improvement
    in survival, faster time to clinical recovery and signs of a dose-dependent effect of viral
    clearance for patients given ivermectin versus control treatment. This benefit needs to be
    validated in larger confirmatory trials.




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    Patient Consent Statement: All of the clinical trials included in this meta~analysis were
   approved by local ethics committees and all patients signed informed consent.




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   B: Effects of ivermectin on time to viral clearance



   C: Effects of ivermectin on other measures of viral clearance



   Table 4: Effects on of ivermectin on clinical recovery and hospitalization



   A: Time to clinical recovery



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   Figure 1A: Forest plot of time to viral clearance by dose-duration.



   figure 1B: Forest plot of PCR negativity at day 7 *Kirti et al and Schwartz et al measured at
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   Figure 10: Forest plot of clinical recovery (binary) by dose duration                           2
                                                                                                   3




   Figure 1E: Forest plot of duration of hospitalization by dose



   Figure 1F: Forest plot of new hospitalizations in trials on outpatients



   Figure 1G: Forest plot of survival by severity



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Table 1: Trial Summaries


Table 1A: lvermectin trials with Dosing on day 1 only


    Study         Country      Sample Size    Daily dose      Duration           Patients    lvermectin Arm      Comparator Arm



Mahmud eta I    Bangladesh         363       12 mg           1 day (DB)   Mild/ moderate    !vermectin +        soc
[25! t                                                                                      Doxycycline + SOC


Mohan et al     India              125       0.2-0.4 mg/kg   1 day (DB}   Mild / moderate   lvermectin + SOC    Placebo + SOC

[26] t                                       (elixir)
                                                                                                                                          0



Chowdhury       Bangladesh         116       0.2 mg/kg       1 day (DB)   PCR positive      lvermectin +        HCQ + Azithromycin
                                                                                            Doxycycline
[271 t


Gonzalez [28]   Mexico             106       12mg            1 day {DB)   Severe            lvermectin          Placebo



Raad et al      Lebanon            100       0.2 mg/kg       1 day {SB)   Mild              lvermectin + SOC    soc
[29] t




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Asghar et al   Pakistan             86         0.2 mg/kg       1 day(OL)       Mild / moderate     lvermectin + SOC   soc
[32J t


Rezai et al    Iran                 69         0.2 mg/kg       1 day (DB)      Moderate I severe   lvermectin + SOC   soc
[31]"




Podder et al   Bangladesh           62         0.2 mg/kg       1 day (OL)      Mild                lvermectin + SOC   soc
[321 t


SAINT          Spain                24         0.4 mg/kg       1 day (DB)      Moderate            !vermectin         Placebo

[33) *



SOC:::: Standard of care; OL= open label; SB= single-blind; DB= double-blind




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Table 1B: lvermectin trials with multi-day dosing                                                                                            ~
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Study                 Country       Sample      Daily dose        Duration        Patients          lvermectin Arm      Comparator Arm       "',:i.
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Elgazzar et al        Egypt           400      0.4 mg/kg          5 days (OB)     Mild to severe    lvermectin + SOC    HCQ +SOC             g
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[36) t                                                                                                                                       "'?,
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Lopez-Medina et al    Colombia        398       0.3 mg/kg         5 days (DB)     Mild              !vermectin          Placebo
(37]*
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Chahla et al [38] •   Argentina       254       24mg              1 /week for 4   Mild              lvermectin + SOC    soc                  <
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                                                                  weeks (OL)                                                                 ff
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Niaee et al           Iran            180       0.2 - 0.4 mg/kg   1-3 days (DB)   Mild / moderate   lvermectin + SOC    SOC + Placebo        Ci
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[39] *                                                                                                                                       0
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Fonseca et al [40]*   Brazil          168       14mg              3 days (DB)     Severe            ivermectin          Hydroxychloroquine
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                                                                                                                        or Chloroquine       ,,,v
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Abd-Elsalam et al     Egypt           164       12mg              3 days (OL)     PCR Positive      lvermectin +SOC     soc                  ~
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[41] t                                                                                                                                        "'
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Hashim et al          Iraq            140       0.2 mg/kg         2-3 days (SB)   Symptomatic       lvermectin +        soc                  g
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                                                                                                    Doxycycline + SOC                         0
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Kirti et al [43] *        India                  112          12 mg                2 days (DB)          Mild I moderate       lvermectin + SOC          SOC + Placebo            :,
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Petkov et al [44] •       Bulgaria               100          0.4 mg/kg            3 days (DB)          Mild/ moderate        lvermectin                Placebo                  -
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Schwartz et al [45] t     Israel                  94          12-15mg              3 days (DB)          Mild/moderate         lvermectin                Placebo                  5-':
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Ahmed et al               Bangladesh              12          0.2 mg/kg            5 days (DB)          Mild                  lvermectin + SOC          SOC + Placebo            3
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[46]"                                                                                                                                                                           tl
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Okumus etal               Turkey                  60          0.2 mg/kg            5 days (DB)          Severe                lverrnectin + SOC         FAVI/HQ/AZI              a
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                                                                                                                                                        (SOC)                    Q.
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[47] t                                                                                                                                                                           lll
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Babalola et al            Nigeria                 60          0.1-0.2 mg/kg        2 /week (DB)         Mild                  lverrnectin + SOC         Placebo + LPV/r          u.
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[48] *
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Chachar et al             Pakistan               50           0.2 mg/kg            2 days (Ol)          Mild                  lvermectin + SOC          soc                      §:
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[49f                                                                                                                                                                             iii'
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Krolewiecki et al         Argentina               45          0.6 mg/kg            5 days (Ol)          Mild to               !verrnectin + SOC         soc                      <-:
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[50] t                                                                                                                                                                           U'
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• Denoted studies were evaluated as having fair or good overall quality of evidence using the Cochrane Risk of Bias Tool. See Supplementary Table 3 for further details.         ~-
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t Denoted studies were evaluated as having limited overall quality of evidence using the Cochrane Risk of Bias Tool. See Supplementary Table 3 for further details.             M
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SOC = Standard of care                                                                                                                                                          "'ft
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Table 2: Changes in inflammatory Markers

                                       CRP {mg/L)                            Ferritin (µgit)                          D-dimer (mg/l)

                          lvermectin        Control   p value   lvermectin         Control     pvalue    lvermectin         Control    p value

Elgazzar, Egypt (n=200, mild/moderate COVll>-19)

  Baseline                  48.4             50.6                  168               172                    4.8               5.4

  Day?                       4,8              8.3     p<0.001      95                 98        0.62        0.5               0.7      p<0.001

Elgazzar, Egypt (n•200, ievere COVll'.M9)

  Baseline·                 64.8             68.2                  420               334                    8.2               8.6

  Day?                      28.6             58.6     p<0.001      104               294       p<0.001      0.7               1.9      p<0.001

Okumus, Turkey (n=60)

  Baseline                  340.3           215.0                  683               747                    1.3               1.3
  Day5                      51.8            194.3     p<0.01       875               1028       0.12        5.9               3.6       0.22

  Day 10                    36.1             92.4     p<0.05       495               1207      p<0.01       0.7               1.5      p<0.05

Chaccour, Spain (n=24)*

                                                                                                                                               27
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  Baseline                     3.5                 3.0               165   156           0.3       0.3

  Day7                         1.0                 1.1     n.s••     125   199   n.s**   0.3       0.3

  Day 14                       0.8                 0.6     n.s..     152   145   n.s••   0.3       0.3   n.s••

Ahmed, Bangladesh (n=45, lvermectin 5 days)

  Baseline                    22.0             29.0                  269   222

  Day7                         3.0             14.0       p<0.05+    211   218   0.06+

Ahmed, Bangladesh (n= 46, lvermectin.1 day)

  Baseline                    26.0             29.0                  259   222

  Day7                        11.0             14.0        0.07+     213   218   0.17+

Iran Niaee (n=60, ivermectin- 0.2 mg)*

  Baseline                    200.0           270.0

  Oay5                        85.0            245.0      p<0.001++

Iran Niaee (n=60, fvermectin• 0.2, 0.2, 0.2 mg)*

  Baseline                   390.0            270.0

  Days                       200.0            245.0      p<0.001++

Iran Niaee {n=60, lvermectin• 0.4 mg)*

  Baseline                   250.0            270.0


                                                                                                                 28
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   Day5                            80.0              245.0         p<0.001++

Iran Niaee (n=SO, lvermectin- 0.4, 0.2, 0.2 mg)*

   Baseline                       340.0               270.0

   Day5                           170.0               245.0        p<0.001++

*Median presented, all other data mean.

•• 'n.s.' was used when no statistically significant difference was found, but the actual p-value was ot reported by the individual authors and could not be calculated by current authors

+p value compares within group changes from baseline to end point of ivermectin group. ++p value shows significance of total changes from baseline. All other p values compare ivermectin vs.
control

Normal ranges: CRP(<10mg/L), Ferritin(H-3361,1gll} D-dimer(<0.5mg!L).




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Table 3: Effects of ivermectin on viral clearance                                                                  ~
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Table 3A:                                                                                                          Ct
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Study           Country (n)            Daily dose   Duration     Viral load     Result           P value           ::r
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Number Detectable or Undetectable (%)                                                                              0
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Mahmud et al    Bangladesh,            12 mg        1 day (DB)   Undetectable   92% vs 80%       p < 0.001        !a:
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                n=363                                            Day 14                                            n.
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                                                                                                                   P}
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Asghar et al    Pakistan,              0.2 mg/kg    1 day        Undetectable   90% vs 44%       p < 0.001         ~

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                n=86                                             Day?                                             5p
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Mohan eta!      flldia,                0.2mg/kg     1 day        Undetectable   35% VS 31%       p::: 0.3          u
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                n=125                  Elixir                    Day5
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Mohan et al     India,                 0.4mg/kg     1 day        Undetectable   48% vs 31%       p =0.3           ':'.;:
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                n=125                  Elixir                    Days                                             0
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Kirti et al     India,                 12 mg        2 days       Undetectable   24% VS. 32%      p = 0.35
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                n=112                                            Day6                                             (JJ

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Podder et al     Bangladesh,        0.2 mg/kg     1 day (OL)    Day 10 PCR neg   90% vs 95%     p > 0.05

                 n=62


Okumus et al     Turkey,            0.2 mg/kg     5 days (OB)   Day 10 PCR       88% vs 38%    p = 0.01

                 n=60                                           Neg


Schwartz et al   Israel n=100       12~15mg       3 days (OB}   Day 10 PCR Neg   81% vs 60%     p=0.02
                                                                Ct>30




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Table 38: Effects of lvermectin cm Time to Viral Clearance                                                                  Ce'
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Study            Country (n)          Daily dose       Duration        Viral load        Result           P value           ~
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                                                                                         IVM VS Control                     ~
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Time to Viral Clearance (Days)                                                                                              Q
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Chowdhury        Bangladesh,                                                                                               3
                                      0.2 mg/kg         1 day (DB}     Time to PCR neg   9 vs 9.3 days    p = 0.23         g
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                 n=112                                                                                                      '"
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Elgazzar et al   Egypt,               0.4 mg/kg        5 days (OL)     Days detectable   5 vs 10 days     p < 0.001         cl.
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Mild/Moderate    n=200                                                                                                      g
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Elgazzar et al   Egypt,               0.4 mg/kg        5 days (OL)     Days detectable   6 vs 12 days     p < 0.001         w
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Severe           n=200                                                                                                     it
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Babaloa et al    Nigeria,             0.1 mg/kg        2 / week (DB)   Time to PCR neg   6 vs 9 days      p = 0.003        :::cr,
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                 n=60                                                                                                      Ci
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Babaloa et al    Nigeria,             0.2 mg/kg        2 /week (DB)    Time to PCR neg   4.7 VS 9 days    p = 0.003        n
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Ahmed et al*   Bangladesh, n=72   0.2 mg/kg   5 days (OB)   Time to PCR neg   10 VS 13 days     p = 0.02


Ahmed et al*   Bangladesh, n=72   0.2 mg/kg   1 days (DB)   Time to PCR neg   11.5 vs 13 days   p = 0.27


Petkov et al   Bulgaria n=100     0.4 mg/kg   3 days {DB)   Time to PCR neg   4.52 VS 5.06      p=0.341




                                                                                                           33
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Table 3C: Effect of ivermectin on other measures of viral clearance.



Study            Country (n)          Daily dose        Duration       Viral load   Result             P value
                                                                       endpoint
                                                                                    IVM vs Control

Other Measures of Viral clearance


Raad et al       Lebanon,             0.2 mg/kg         1 day          Day3         Ct values          p = 0.01

                 n=100                                                              30.1 ± 6.22

                                                                                    vs. 18.96 ± 3.26

Krolewiecki et   Argentina,           0.6 mg/kg         5 days         PK/PD        Dose-related       p = 0.02
al*
                 n=45

*Dose-response effect seen




                                                                                                                  34
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Table 4: Effects on of ivermectin on clinical recovery and hospitalization


Table 4A: Time to clinical recovery



       Study                Country      Daily dose      Duration         Endpoint             Results               P value

                                                                                           IVM vs control

Time to clinical recovery

Mohan etal              India         0.2mg/kg        1 day (SB)      Time to clinical   4.8 vs 4.6 days     p   =0.77
                                                                      recovery
                        n=125         Elixir

Mohan et at             India         0.4 mg/kg       1 day (SB)      Time to clinical   4.3 vs 4.6 days     p   =0.77
                                                                      recovery
                        n=125         Elixir

Hashim eta!             Iraq          0.2 mg/kg       2-3 days (SB)   Time to clinical   10.6 VS 17.9 days   p < 0.001
                                                                      recovery
                        n=140


Chowdhury et al         Bangladesh    0.2 mg/kg       1 day (DB)      Time 1o clinical   5.9 VS 6.9 days     p = 0.071
                                                                      recovery
                        n=116




                                                                                                                               35
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Podder et al          Bangladesh   0.2 mg/kg    1 day(OL)     Time to clinical   5.3 vs 6.3 days   p > 0.05
                                                              recovery
                      n=62


Rezai et al           Iran         0.2 mg/kg   1 days (OL)   Time to clinical    4.1 vs 5.2 days   p = 0.018
                                                             recovery
                      n=69


Lopez-Medina et al    Colombia     0.3 mg/kg   5 days (DB)   Time to clinical    10 vs 12 days     p=0.53
                                                             recovery
                      n=398




                                                                                                               36
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Table 48: Effect of ivermectin on duration of hospitalization



Study                   Country       Daily dose         Duration        Endpoint                Results      P value

                                                                                            IVM VS control

Duration of hospitalization


Rezai et al             Iran          0.2 mg/kg          1 days (OL)     Days in hospital   6.9 VS 8.4 days   p = 0.01

                        n=69


Raad et al              Lebanon       0.2 mg/kg          1 day (Ol)      Hospitalization    0% vs6%           p = 0.00

                        n=i00

Niaee et al             Iran          0.2 - 0.4 mg/kg    1-3 days (DB)   Days in hospital   6.5 vs 7.5 days   p = 0.006

                        n=165


Elgazzar et al          Egypt         0.4 mg/kg          5 days (Ol)     Days in hospital   5 vs 15 days      p < 0.001

Mild/moderate           n=200




Elgazzar et al          Egypt         0.4 mg/kg          5 days (Ol)     Days in hospital   6 vs 18 days      p < 0.001



                                                                                                                          37
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Severe                n=200




Ahmed et al           Bangladesh,   0.2 mg/kg   5 days (DB)   Days in hospital   9.6 VS 9.7       p=0.93
                      n=72


Ahmed et al           Bangladesh,   0.2mg/kg    1 days (DB)   Days in hospital   10.1 VS 9.7      p=0.93
                      n=72


Abd El-Salam et al    Egyptn=164    12 mg       3 days        Days in hospital   8.82 vs. 10.97   p=0.09

Gonzalez et al       Mexico         12mg        1 day         Days in hospital   6 vs 5           p=0.45
                     n=106




                                                                                                           38
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Table 4C: Number of Participants with clinical recovery by Day 7to 10 post"randomization



Study                 Country          Daily dose     Duration          Endpoint               Results      P value

                                                                                           IVM vs control

Number of Participants Recovered (%}


Chachar et al         Pakistan         0.2 mg/kg      2 days (Ol)       Day 7 Clinical     64%vs 60%        p =0.5
                                                                        recovery
                      n=50


Okumus et al          Turkey           0.2 mg/kg      5 days (DB)       Day 10 Clinical    73% vs 53%       p = 0.10
                                                                        improvement
                      n=60


Mahmud etal           Bangladesh       12 mg          1 day (DB)        Day 7 Clinical     61% VS 44%       p <0.03
                                                                        recovery
                      n=363


Petkov et al          Bulgaria         0.4 mg/kg      3 days (DB)       Day 7 Clinical     20% VS 14%       n/a
                      n=100                                             recovery


Elgazzar et al        Egypt,           0.4 mg/kg      5 days (OL)       Clinical           99% VS 74%       p<0.001
                                                                        improvement
Mild/Moderate         n=200




                                                                                                                       39
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Elgazzar et al   Egypt,      0.4 mg/kg     5 days (Ol)     Clinical      94% VS 50%    p<0.001
                                                           improvement
Severe           n=200


Chah!a et al     Argentina   24mg          1/ week for 4   Clinical      98% vs 87%    p=0.0007
                 n=254                     weeks (Ol)      improvement




                                                                                                       cr
                                                                                                       '<




                                                                                                  40
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Table 5: Effects of ivermectin on survival



         Trial                      Country                  Dosing             lvermectin      Control

      Mahmud eta!                   Bangladesh            0.2 mg/kg, 1 day         0/183            3/180


       Niaee et al                     Iran             0.2 mg/kg 1-3 days         4/120            11/60


      Hashim et al                     Iraq            0.2-0.4 mg/kg 2-3 days      2/70              6/70


      E!gazzar et al                  Egypt              0.4 mg/kg 5 days          2/200            24/200


      Okumusetal                      Turkey             0.2 mg/kg, 5 days         6/30              9/30


        Kirti et al                    India               12 mg, 5 days           0/55              4/57

       Rezai et al                     Iran               0 .2 mg/kg, 1 day        1/35              0/34


      Abd-E!salam                     Egypt              0.2 mg/kg, 3 days         3/82              4/82

                                                                                                                  0
                                                                                                                  ::,
        Gonzalez                      Mexico              0 .2 mg/kg, 1 day        5/36              6/37



                                                                                                             41
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        Lopez-Medina                 Colombia             0.3 mg/kg 5 days              0/200           1/198


          Fonseca                      Brazil               14mg 3 days                 12/53          25/115


Total                                                                        35/1064 (3%)       93/1063 (8.7%}




                                                                                                                 42
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                                                                          .FlgurelA

1A)                               lvermectin     Control                           Mean Difference                 Mean Difference
                                                                                                                                             0
Study or Subgroup               Mean SD Total Mean SD Total Weight                IV, Random, 95% CJ             IV, Random, 95% Cl          3
5.2.l Single-day dosing
Ahmed et al IVM+Doxy              11.5 4.2     24 12.7 3.6          24    12.2% -1.20 [-3.41, 1.01]


                                                                                                                       •
Bangladesh Chowdhury et al           9 l.S     60     9.7 2.2        56   14.2% -·0,70 [-1.39, ··0.0ll
Subtotal (95% Cl)                              84                   80    26.4% -0.74 [-1.40, -0.09}
Heterogeneity: Tau' "'0.00; Chi' "' 0.18, df = 1 (P = 0.67); !1 "' 0%
Test for overall effect: Z "" 2.21 (P"' 0.03}

5.2.2 Multi-day dosing
Ahmed et al IVM Sdays              9.7   5        24 12.7 3.6       24     11.8% -3.00 [-5.46, -0.54)      ---.-.--
Babalola et al 12mg                4.7 3.2        20    9.2 7.4     20      9.8% -4.so Hl.03, -0.97!
Babalola et al 6mg                      6    3    20    9.2 7.4     20      9.9%  -3.20 H:..70, o.30J    -----.-.--
Bulgaria Petkov et al                4.5 2.8      50    5.1 2.9     so 13.8% ··0.60 { 1.72, 0.52J                     ~--,.,,."'$:
                                                                                                                                     -·
Egypt Elgazzar Moderate                 s 1 100 10 4 100 14.1% -5.00 [-5.81, -4.191                       --~-

                                                                                                              •
Egypt Etgazzar Severe                   6    1 100       12   4 100        14.1% -6.00 (-6.81, -5.19]    ~



Subtotal (95% Cl)                                314               314 73.6% -3.74 [-5.77, -1.721
Heterogeneity: Tau 2 "" 5.22; Chf ·"' 63.30, df"" 5 (P < 0.00001): 12 "" 92%
Test for overall effect: Z "' 3.62 (P "' 0.0003)

Total (95% Cl)                                398                 394 100.0% -3.00 [-4.96, -1.03}                I■
Heterogeneity: Tau' = 6.94; Chi' = 139.86, df"' 7 (P < 0.00001); 12 "' 95%
                                                                                                                          0    2     4
Test for overall effect: Z = 2.99 (P = 0.003)                                                            Favours lvermectm Favours Control
Test for subqroup differences: Chi' = 7.61, df = l (P = 0.006), !2 = 86.9%
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                                                                         Figure lB

18)                              lvermectin    Control               Risk Ratio                                      Risk Ratio
. .~~~.r or Subiroup            Events Total Events Total Weight IV, Random, 95% Cl                             IV, Random, 95% Cl
3.7.l Single-day dosing
Ahmed et al IVM+Doxy                 7     24         3    24      3.7%        2.33 {0.68, 7.97)
India Mohan et al 0.2mg/kg          13     36       16     42     11.1%        0.95 [0.53, 1.69)                       ---+= -
India Mohan et al 0.4mg/kg
Pakistan Asghar et al
Subtotal (95% Cl)
Total events
                                    16
                                    37
                                           36
                                           41
                                          137
                                         73
                                                    16
                                                    20

                                                     55
                                                           42
                                                           45
                                                          153
                                                                  12.3%
                                                                 17.8%
                                                                 44.9%
                                                                               1.11 {0.69, l.98l
                                                                               2.03 [1.44, 2 .86]
                                                                               1.45 {0.95, 2.23)
                                                                                                                        T l
                                                                                                                          j
                                                                                                                              --
Heterogeneity: Tau 1 = 0.10; Chi 2 "'6.67, df = 3 (? = 0.08); 12 = 55%
Test for overall effect: Z == 1. 71 (P == 0.09)

3.7.2 Multi-day dosing
Ahmed et al IVM 5days               11     24        3     24      4.2%       3.67 [1.17, 11.52J
Bulgaria Petkov et al               40     50       37     50     22.1%        1.08 [0.87, 1.34!
India Kirti et al                   13     32       18     44     11.8%        0.99{0.57, 1.721
Israel Schwartz et al               33     49       21     45     17.0%        1.44 [1.00, 2.091
Subtotal (95% Cl)
Tota! events                          97
                                            155
                                                     79
                                                          163      55.1%

Heterogeneity; Tau 2 == 0.05; Chi' = 5.93, df"" 3 (P = 0.11); tl = 49%
Test for overall effect: Z = 1.45 (P == 0.15)
                                                                               1.26 (0.92, 1.71]
                                                                                                                         r
Total (95% Cl)
Total events                        170
                                           292
                                                  134
                                                         316 100.0%

Heterogeneity: Tau'= 0.06: Chi'"' 15.90, df = 7 (P"" 0.03); 12 "" 56%
                                                                               1.35 (1.05, 1.75]
                                                                                                                          •
                                                                                                    0.01     0.1          1          10        100
Test for overall effect: Z = 2.33 (P"" 0.02)                                                               Favours Control Favours lvermec:tin
Test for subgroup differences: Chi" = 0.29, df"" l (P"' 0.59), I' = 0%




                                                                                                                                                     44
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                                                                                 Figure lC

1C)                                                         lvermectin Control                 Mean Difference                          Mean Oifferenc:e
Study or Subgroup                    Mean Difference      SE    Total    Total Weight         IV, Random, 95% Cl                      IV, Random, 95% Cl
2.4.l Single-day dosing
Bangladesh Chowdhury et al                         -1 0.31         60          56     17.5% ··l.00 H.61. -0.39]
Bangladesh Podder et al                            ., l 0.88       30          32     13.4% ··LOO H.72, 0.72)
India Mohan et al 0.2mg/kg                        0.2 0.58         40          45     15.8%    0.20 [-0.94, 1.34]
India Mohan et al 0.4mg/kg                       -0.3 0.61         40          45     15.6%   -0.30 [-1.50, 0.90]
!ran Rezai et a!                                 -1.1 0.44         35          34     16.8% -1.10 !-1.96, -0.24J
Subtotal (95% Cl)                                                205          212     79.0% -0.7S [-1.21, -0.30J
Heterogeneity: Tau'"' 0.04; Chi' ""4.57, df "'4 (P"" 0.33); f "" 12%
Test for overall effect: 2 ,,., 3.22 (P"' 0.001)

2.4.2 Multi-day dosing
Colombia Lopez Medina et al                    "'2 1.53         200           198      8,7%   ··2.00 H.00, LOOJ
Iraq Hashim et a!                             7.3 L03             70           70     12.2% ••7.30 [-9.32, -5.28!
Subtotal (95% Cl)                                               270           268     21.0% -4.77 Hl-96, 0.42J
Heterogeneity: Tau' = 12.34; Chi' = 8.26, df = 1 (P = 0.004); I'= 88%
Test for overall effect; Z "' l.80 (P = 0.07)

Total (95% Cl)                                                      475     480 10(!.0% -1.58 [-2.80, -0.351                             ~I
                                                                                                                                                l
Heterogeneity: Tau 2 = 2.14; Chi'"" 43.40, df ~ 6 (P < 0.00001); 1z"" 86%                                    t··---··- · · ·•··•··➔-···•• j.. ....... ·+-.. .,·-- . .·---• 4
                                                                                                             -10                  .. 5    0            5                 10
Test for overall effect: l"" 2.52 (P"' 0.01)                                                                          favours lvermectin favours Control
Test for subqroup differences: Chi2 "' 2.28, df"' 1 (P .. 0.13}, 1' = 56.2%




                                                                                                                                                                           45
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                                                                      Figure 1D

10)                              Experimental  Control                Risk Ratio                            Risk Ratio
Study or Subgroup                Events Total Events Total Weight IV, Random, 95% Cl                   IV, Random, 95% Cl
2.1.1 Multi-day Dosing
Argentina Chahla et al              108      llO     124    144     19.4%     1.14 11.06, 1.22}                     .......
Bangladesh Chac:har et al            16       25      15     25      6.6%     1.07 [0.69, 1.65]
Bulgaria Petkov et al
Colombia Lopez-Medina et al
Egypt Elgazzar Moderate
                                     10
                                    164
                                     99
                                              50
                                             200
                                             100
                                                       7
                                                     156
                                                      74
                                                             50
                                                            198
                                                            100
                                                                     2.1%
                                                                    18.5%
                                                                    17.7%
                                                                              1.43 [0.59, 3.45J
                                                                              1.04 [0.94, 1.15]
                                                                              1.34 [1.19, 1.51]                 ·-· -             __ ..,.-·~·
                                                                                                                     ,..,
                                                                                                                                    _,
Egypt Elgazzar Severe                94      100      50    100     14.1%     1.88 [1.54, 2.30}
Turkey Okumus et al                  22       30      16     30     7.4%      1.38 {0.92, 2.05)
Subtotal (95% Cl)                           615             647    85.9%      1.28 [1.10, 1.481
Total events                          513            442
Heterogeneity: Taut = 0.03; Chi' "' 33.03, df"" 6 {P < 0.0001}; 12 = 82%
Test for overall effect: Z"" 3.17 (P"" 0.002)

2.1.2 Single-day dosing


                                                                                                                              •
Bangladesh Mahmud et al             111      183      80    180    14.1%      1.36 {1.12, 1.67]
Subtotal (95% Cl)                             UB            180    14.1%      1.36 (1.12, 1.671
Total events                          111             80
Heterogeneity: Not applicable
Test for overall effect: Z = 3.04 (P = 0.002)

Total (95% Cl)                              798             827 100.0%        1.29 [1.12, 1.47J
Total events                        624              522
Heterogeneity: Tau' = 0.02; Chi' .. 34.88, df""' 7 (P < 0.0001}; I' = 80%
                                                                                                                l             1.5        2
Test for overall effect: Z"' 3.65 (P"" 0.0003}                                                    Favours Control Favours lvermectin
Test for subqroup differences: Chi 2 = 0.27, df"' 1 (P"' 0.60), 11 = 0%




                                                                                                                                                46
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                                                                            Figure lE

1E)                              lvermectin          Control                 Mean Difference                                      Mean Difference
Study or Subgroup              Mean SD Total Mean SD Total Weight             IV, Random, 95% Cl                                IV, Random, 95% Cl
6.2.l Multi-day dosing
                                                                                                                                      .,. _J ·• · · ·
Ahmed et al IVM Sdays
Egypt Abd-Elsalarn et al
Egypt Elgazzar Moderate
Egypt Elgazzar Severe
                                 9.6
                                 8.8 4.9

                                   6
                                         s 24 9.7 4 24 16.2%
                                   s 1 100
                                         1
                                               82 10.97 5.2

                                              100
                                                     15
                                                     18
                                                          8
                                                          8
                                                              82
                                                             100
                                                             100
                                                                    16.8%
                                                                               -0.10 [-2.66, 2.46]
                                                                              -2.17 f-3.72, -0.621
                                                                    16.8% -10.00 [-11.58, -8.421
                                                                    16.8% -12.00 [-13.58, -10.42)
                                                                                                                     ~


                                                                                                               -~,. . rr-
                                                                                                                      .
                                                                                                                                     -
Subtotal (95% Cl)                            306             306   66.7%    -6.12 [-11.57, -0.67]
Heterogeneity: Tau 2 = 30.04; Chi'= 117.60, df = 3 (P < 0.00001); 11 "' 97%
Test for overall effect: Z "' 2.20 (P"" 0.03)

6.2.2 Single-day dosing


                                                                                                                                     ·-·
Ahmed et al !VM+Doxy            10.l      4    24    9.7    4       24     16.4%          0.40 [-1.86, 2.661
Iran Rezai et al                 6.9 3.1       34    8.4 3.3        35     16.9%         -1.50 [-3.01, 0.011
Subtotal (95% Cl)                              58                  59      33.3%        -0.74 [-2.57, 1.08)
Heterogeneity: Tau 2 ,,, 0.84; Chi' = l.87, df = 1 (P "' 0.17); 12 "' 4 7%
Test for overall effect: Z "' 0.80 (P "' 0.42)

Total (95% Cl)                              364                  365    100.0%          -4.27 Ht60, o.o6J
Heterogeneity: Tau "' 28.42; Chi "" 183.11, df = 5 (P < 0.00001); I'= 97%
                    1              1
                                                                                                                       -10      -5          0           5    10
Test for overall effect: l = 1.93 (P"" 0.05)                                                                            Favours lvermectin Favours Control
Test for subgroup differences: Chi2 = 3.36, df = 1 (P"" 0.07}, !2 "' 70.2%
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                                                                    Figure 1F

1F)                              lvermectin    Control                Risk Ratio                              Risk Ratio
Study or Subgroup               Events Total Events Total Weight IV, Random, 95% Cl                      IV, Random, 95% Cl
Bangladesh Chowdhury et al           0     60     2    56  11.2%     0.19 [0.01, 3.81}
Colombia Lopez-Medina et al           4   200     6 198 65.2%        0.66 [0.19, 2.30]
Israel Schwartz et al                0     49     3    45  11.8%     0.13 [0.01, 2.48]
Lebanon Raad et al                   0     50     3    50  11.8%     0.14 [0.01, 2.70J

Total (95% Cl)                            359                349 100.0%    0.40 [0,14, 1.08]
Total events                         4                  14
Heterogeneity: Tau 2 = 0.00; Chi 2 "' 1.88, df"' 3 (P"" 0.60); 12 "" 0%                        ----------------,-4--
                                                                                               0.005 0.1 1   10   200
Test for overall effect: Z = 1.80 (P = 0.07)                                                     Favours lvermectin Favours Control




                                                                                                                                      48
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                                                                        Figure 1G

1G)                                 lvetmectin          Control                       Risk Ratio
Study or Subgroup            ·-·-- EY!:ri_ts . I~t-~-- Events __ To~al___ Weight IV, Ran<l_om, 95% Cl
4.3.1 Severe ·    ·      ·
Brazil Fonseca et al                  12      53        25.   115     18.4%       1.04 [0.57, 1.911
Egypt Elgazzar Severe                   2    100        20    100      9.4%       0.10 {0.02, 0.42]
Mexico Gonzalez et al                   5     36         6   37 12.5%             0.86 [0.29, 2.56]
Turkey Okumus et al                       6   30         9   30    14.7%          0.67 [0.27, l.64J
Subtotal (95% Cl)                             219          282 SS.0%              0.58 {0.25, 1.321
Total events                            25           60
Heterogeneity: Tau 2 = 0.45; Chi'=- 8.90, df = 3 (P = 0.03); I'= 66%
Test for overall effect: Z = 1.30 (f' ~ 0.19)

4.3.2 Mild/moderate
Bangladesh Mahmud et al                  0   183      3    180      3.2%          0.14 [0.01, 2.70)                               -l
Colombia Lopez-Medina et al              0   200           198      2.8%          0.33 f0.Gl, 8.0SJ                   ·•··"·-·•··••·~······· ~~-
Egypt Abd-E!salam et al                   3    82     4     82      9.1%          0.75 [0.17, 3.25]                          --~-,.+---
Egypt Elgazzar Moderate                  0   100      4    100      3.2%          0.11 [0.0 l, 2.04]           ··-·••···•·••,- . . . j             ·•
India Kirti et al
Iran Niaee et al
Iran Rezai €! al
                                         0
                                         4
                                          l
                                               55
                                              120
                                               35
                                                      4
                                                     11
                                                      0
                                                            57
                                                            60
                                                            34
                                                                    3.3%
                                                                  12.4%
                                                                    2.8%
                                                                                  0.12 f0.01, 2.091
                                                                                  0.18 [0.06, 0.55)
                                                                                 2.92 [0.12, 69.20)
                                                                                                                     . . ~-·· - t                                       0

Iraq Hashim et al                        2     70     6     70      8.4%          0.33 [0.07, 1.60]
Subtotal (95% Cl)                            845          781     45.0%           0.30 10.15, 0.58!
Total events                            10           33
Heterogeneity: Tauz = 0.00; Chi' = 5.42, df ~ 7 (P ~ 0.61); I' ~ 0%
Test for overall effect: Z "" 3.57 (P = 0.0004)

Total (95% Cl)                             1064            1063 100.0%            0,44 !0.25, 0.77!
Total events                           35              93
Heterogeneity: Tau 2 = 0.35; Chi 2 "' 19.24, df = 11 (P = 0.06); I'= 43%
                                                                                                        0.01          0.1                  1            10   100
Test for overall effect: Z = 2.85 {P"' 0.004)
                                                                                                               favours lvermectin favours Control
Test for subgroup differences: Chi'= 1.54, df'" l (P"' 0.21), !' = 35.1%




                                                                                                                                                                   49
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                                                                      Figure lH

1H}                             lvermectin    Control                Risk Ratio                                       Risk Ratio
Study or Subgroup              Events Total Events Total Weight IV, Random, 95% Cl                               IV, Random, 95% Cl
Argentina Krolewiecki et al          1    30     0    15   3.0%    1. 5 5 [0.07, 35 .89}
Brazil Fonseca et al                12     53       24    115    78.5%      1.08 [0.59, 2.00}
Egypt Abd-Elsalam et al              3     82        3     82    11.9%      1.00 [0.21, 4.81]
India Kirti et al                    1     55        5     57      6.6%     0.21 [0.03. 1.721
India Mohan et al                    0    100        0     52                     Not estimable

Total (95% Cl)                            320               321 100.0%      0.97 [0.57, 1.67]
Total events                        17               32
Heterogeneity: Tau 2 = 0.00: Chi 2 == 2.26, df = 3 (P:::: 0.52); 12 = 0%
                                                                                                  0.01       0.1           1         10       100
Test for overall effect Z = 0.10 (P == 0.92)                                                             Favours lvermectin Favours Control




                                                                                                                                                     0
                                                                                                                                                     ::,




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                                                                                                             work. When he contacted researchers who
                                                                                                             specialize in detecting fraud in scientific pub·
                                                                                                             Ii cations, the group found other causes for
                                                                                                             concern, including dozens of patient records
                                                                                                             that seemed to be duplicates, inconsistencies
                                                                                                             between the raw data and the information in
                                                                                                             the paper, patients whose records indicate
                                                                                                             they died before the study's start date, and
                                                                                                             numbers that seemed to be too consistent to
                                                                                                             have occurred by chance.
                                                                                                                 In an editorial note, Research Square said
                                                                                                             that it has launched a formal investigation into
                                                                                                             the concerns raised by Lawrence and his col-
                                                                                                             leagues. According to the Egyptian newspaper
                                                                                                             Al·Sharouk, Egypt's minister of higher educa·
                                                                                                             tion and scientific research is also examining
                                                                                                             the allegations.
                                                                                                                 The paper was "withdrawn from the
                                                                                                             Research Square platform without informing
                                                                                                             or asking me", Elgazzar wrote in an e-mail to
                                                                                                             Nature. He defended the paper, and said of the
                                                                                                             plagiarism allegations that "often phrases or
People in Bolivia and elsewhere have been buying ivermectin as protection against COVID-19,                  sentences are commonly used and referenced"
                                                                                                             when researchers read one another's papers.


FLAWED PREPRINT                                                                                              Ripple effects
                                                                                                             Although dozens of ivermectin clinical trials

HIGHLIGHTS CHALLENGES                                                                                        have been launched over the past year3, the
                                                                                                             Elgazzar paper was notable for announcing


OF COVID DRUG STUDIES                                                                                        one of the first positive results, as well as for
                                                                                                             its size - it included 400 people with symp•
                                                                                                             toms ofCOVID-19-and the magnitude of the
Paper's withdrawal from online platform deals blow                                                           drug's effect. few therapies can claim such an
                                                                                                             impressive reduction in death rates. "It was a
to an anti-parasite drug's promise to treat COVID-19.                                                        significant difference, and that stood out;' says
                                                                                                             Andrew Hill, who studies repurposed drugs at
By Sara Reardon                                     about plagiarism and data manipulation, the              the University of Liverpool, UK. "It should have
                                                    preprint server Research Square withdrew the             raised red flags even then."
         hroughout the pandemic, the anti·          paper because of"ethical concerns".                         Before its withdrawal, the paper was




T        parasite drug ivermectin has attracted
         much attention, particularly in Latin
         America, as a potential way to treat
         COVID-19. But scientists say that
recent, shocking revelations of widespread
flaws in the data of a preprint study reporting
that the medication greatly reduces COVID-19
                                                       Ahmed Elgazzar at Benha University in
                                                    Egypt, who is one of the authors of the paper,
                                                    told Nature he was not given a chance to
                                                    defend his work before it was removed.
                                                       Early in the pandemic, scientists showed
                                                    that ivermectin could inhibit the coronavirus
                                                    SARS·CoV-2 in cells in laboratory studies 2• But
                                                                                                             viewed more than 150,000 times, cited more
                                                                                                             than 30 times and included in a number of
                                                                                                             meta-analyses that collect trial findings into
                                                                                                             a single, statistically weighted result. In one
                                                                                                             meta-analysis in the American Journal of
                                                                                                             Therapeutics that found ivermectin greatly
                                                                                                             reduced COVID·19 deaths4 , the Elgazzar paper
deaths have dampened ivermectin's promise           data on ivermectin's efficacy against COVID-19           accounted for 15.5% of the effect.
-and highlightthechallenges ofinvestigating         in people are still scarce, and study conclu-               One of the authors of the meta-analysis,
drug efficacy during a pandemic.                    sions conflict greatly, making the withdrawal            statistician Andrew Bryant at Newcastle Uni·
   "I was shocked, as everyone in the scientific    of a major trial particularly noteworthy.                versity, UK, says that his team corresponded
community probably were;' says Eduardo                 Although the World Health Organization                with E!gazzar before publishing the work to
Lopez-Medina, a paediatrician at the Centre         advisesagainsttakingivermectinasa COVlD-19               clarify some data. "We had no reason to doubt
for the Study of Paediatric Infections in Cali,     treatment outside clinical trials, the over-the-         the integrity ofElgazzar;' he said in an e-mail.
Colombia, who was not involved with the study       counter drug has become popular in some                  He added that in a pandemic setting, no one
and who has investigated whetherivermectin          regions of the world. Some view it as a stop·            can reanalyse all of the raw data from patient
can improve COVID-19 symptoms. "It was one          gap until vaccines become available in their             records when writing a review. Bryant went on
of the first papers that led everyone to get into   areas, even though it has not yet been proved            to say that his group will revise the conclusion
the idea iverrnectin worked" in a clinical-trial    effective. Scientists worry that it will also be         ifinvestigations find the study to be unrelia-
setting, he adds.                                   seen as an alternative to vaccines, which are            ble. However, even if the study is removed, the
   The paper summarized the results of a din-       highly effective.                                        meta-analysis would still show that ivermec·
ica Itrial seeming to show that ivermectin can         The paper's irregularities came to light when         tin causes a major reduction in deaths from
reduce COVID• 19 death rates by more than           Jack Lawrence, a master's student at the Uni-            COVID-19, he says.
90% (ref. I) -among the largest studies of the      versity oftondon, was reading it for a class                The paper's withdrawal is not the first scan-
drug's ability to treat COVID-19 so far. But on     assignment and noticed that some phrases                 dal to dog studies ofivermectin and COVID• 19.
14 July, after Internet sleuths raised concerns     were identical to those in other published               Hill thinks many of the other ivermectin trial

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News in focus
papers that he has scanned are likely to be
flawed or statistically biased. Many rely on
small sample sizes or were not randomized or                      BIDEN URGED TO BLOCK
well controlled, he says. And in 2020, an obser-
vational study ofthe drug was withdrawn after                     POLITICAL MEDDLING
scientists raised concerns about it and a few
other papers using data by the company Sur-
gisphere in Chicago, Illinois, that investigated
a range ofrepurposed drugs against COVID-19.
                                                                  IN US SCIENCE
"We've seen a pattern of people releasing infor-
                                                                  White House science office expected to deliver a
mation that's not reliable;' says Hill. "It's hard                review of scientific-integrity policies next month.
enough to do work on COVID and treatment
without people distorting databases."                             By Nidhi Subbaraman                                      nearly 50 representatives from several US
   Carlos Chaccour, a global-health researcher                                                                             agencies, to tackle the issue. The group has
at the Barcelona Institute for Global Health                                S researchers and science groups               so far met in closed·door sessions and with
in Spain, says it has been difficult to conduct
rigorous studies on ivermectin. That's partly
because funders and academics in wealthy
countries haven't supported them, and, he
suspects, have often dismissed trials of iver-
mectin because most of them have been done
in lower-income countries. furthermore, says
                                                                  U         appealed to President Joe Biden's
                                                                            administration last month to protect
                                                                            government science from political
                                                                            interference and to empower
                                                                  federal scientists to speak to the media and
                                                                  public. They made this request during public
                                                                  listening sessions hosted by the White House
                                                                                                                           scientific-integrity experts.
                                                                                                                             "This level of engagement has not really
                                                                                                                           happened before in the federal government
                                                                                                                           around the issue of scientific integrity;• says
                                                                                                                           Alondra Nelson, the OSTP's deputy director
                                                                                                                           for science and society, who co-chairs the task
                                                                                                                           force.
RodrigoZoni, a cardiologist at the Corrientes                     Office of Science and Technology Policy                    The current effort expands on a push
Cardiology Institute in Argentina, it is difficult                (OSTP) - the first such sessions held since              to protect scientific integrity that former
to recruit participants because many people                       the science office kicked off a massive project          president Barack Obama began a decade ago.
- particularly in Latin America - are already                     to bolster scientific integrity in the federal           Policies at US science agencies were the focus
taking the widely available drug in an attempt                    government.                                              of that OSTP•led drive, Nelson tells Nature,
to prevent COVID-19.                                                 After four years in which former president            but Bid en's project further aims to guide the
   Adding to the difficulty are conspiracy the·                   Donald Trump's administration sidelined                  use of evidence at all government agencies.
ories holding that ivermectin has been proved                     science and scientists in government
to work and that drug companies are depriving                     decisions, researchers were hopeful that                 Speaking up
the public of a cheap cure. Chaccour says he                      Biden would safeguard independent                        During three public listening sessions In
has been called 'genocidal' for doing research                    scientific work and communication. In                    July, attendees urged government agencies
on the drug rather than just endorsing it.                        January, he made moves in this direction                 to be transparent about how science is used
   Although the jury is still out on ivermectin,                  when he instructed the OSTP to review                    in policy and regulation, and recommended
many say the retraction speaks to the difficulty                  rules at all US agencies, with the goal of               that scientists be enabled to pursue their work
of assessing research during a pandemic. "I                       ensuring the existence of policies that                  without political interference- and be free to
personally have lost all faith in the results of                  "ban improper political interference in the              speak about it.
(ivermectin] trials published to date," says                      conduct of scientific research". The OSTP                   Andrew Rosenberg, director of the Center
Gideon Meyerowitz-Katz, an epidemiologist                         convened a task force in May, comprising                 for Science and Democracy at the Union of
at the University of Wollongong in Australia
who helped Lawrence to analyse the Elgazzar
paper. It's not yet possible to assess whether
ivermectin works against COVID-19, because
the data currently available are not of suffi-
ciently high quality, he says.
   Chaccour and others studying ivermectin
say that proof of whether the drug is effective
against COVID-19 rests on a handful oflarge,
ongoing studies, including a trial in Brazil with
more than 3,500 participants. By the end of
2021, says Zoni, around 33,000 people will
have participated in some kind of ivermectin
trial.
   "I think it is our duty to exhaust all potential
benefits;' says Chaccour, particularly given
that most countries still do not have wide-
spread access to vaccines. "Ultimately if you
do a trial and it fails, fine, but at least we tried."
1. Elgaz:zar, A. et al. Preprint at Research Square hnps,//doi.
   org/10.21203/rs.3.rs-100956jv3 (2020).
2. Caly, L., Oruce, J. D., Catton, M. G., Jans. D. A. &
   Wagstaff, K. M. Antiviral Res. 178, 104787 (2020).
3- Popp, M. et al. Cochrane Data. System. Rev. httpsJ/doi.
   org/10.1002/14651858.C0015017.pub2 (2021).                     Researchers have urged the White House to safeguard science against political interference.
4- Bryant, A. et al. Am. J. Ther. 28, e434-e460 (2021).



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